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Paqe 1
IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
MARTIN GWYNN,
Plaintiff,
v. CaSe NO.: 8:09-cv-02093
RABCO LEASING, INC.,
BRUCE D. RABON,
ALTON CATES, VIRGINIA HUNTER,
and HURRICANE PASS TRADERS,
INC.,
Defendants.
/
VOLUME I
DEPOSITION OF:
BRUCE RABON
TAKEN BY: Attorney for Plaintiff
DATE: Auqust 18, 2010
TIME: 9:04 a.m. - 5:57 p.m.
PLACE: Executive Rep©rting Services

13555 Automobile BOulevard
Clearwater, Florida 33762

Examination Of the witness taken before:

Jerry Lefler CSR RPR CRR CM
Executive Rep©rting Service
Ulmerton BuSineSS Center
13555 Automobile Boulevard, Suite 100
Clearwater, Florida 33762

 

 

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APPEARANCES:

Paqe 2

CARLOS A. LEYVA, ESQ.

Diqital BuSineSS Law Group, P.A.
1001 Starkey Road, #18

Larqe, Florida 33771

AttOrneyS for Plaintiff

ROBERT SMELTZER, ESQ.

LOWiS & Ge11en, LLP

200 W. Adams Street, Suite 1900
Cnicaqe, 1111nOiS 60606

Atterney for Virqinia Hunter

ALSO PRESENT:

Martin Gwynn
Virqinia Hunter

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10

11

12

13

14

 

Rabon

11

E X H 1 B 1 1 S

Gwynn's FRCP Ru1e 26 1nitia1 Disc1osures
Report from State of Florida website
Sample invoices

Letter dated April 26, 2000, re Kathy
Zimmerman and HPT

Bank ledger with copy of a check

Bank of America statement, Shorts Inc HPT
Transfer of funds document

Oriqinal Petition

Amended Petition

Packet of documents starting with
RAB0000380

Paqe 3

MARK

78
83
106

114

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137
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152
152

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1 THEREUPON, O9:O3:38a
2 BRUCE RABON O9:O3:38a
3 was adduced as the deponent herein, and being first 09:03:38a
4 duly sworn upon oath, was questioned and testified 09:03:38a
5 as follows: 09:03:38a
6 DIRECT EXAMINATION 09 : 03 : 38a
7 BY MR. LEYVA: 09:03:38a
8 Q. Good morning. My name is Carlos Leyva; 1 09:03:38a
9 represent Martin Gwynn. Mr. Rabon, 1 will be asking 09:03:42a
10 you questions, and the court reporter will take down my 09:03:46a
11 questions and your responses. 1'll try to let you 09:03:49a
12 finish answering a question before 1 ask another 09:03:51a
13 question. 1'll try to do a better job of that. 09:03:54a
14 Remember to answer the questions out loud. We 09:03:57a
15 all have a tendency to say, "Uh-huh," nod our heads. 09:04:01a
16 Those won't be appropriate answers, because the court 09:04:05a
17 reporter can't really capture that. 09:04:07a
18 1f you don't understand a question, please let 09:04:08a
19 me know. Do you understand that you're under oath? 09:04:12a
20 A. Yes. 09:04:20a
21 Q. When you're done here today, you have a right 09:04:20a
22 to read and sign your deposition, and please let us 09:04:23a
23 know before the end of our time together if you would 09:04:25a
24 like to read and sign, or waive it. Okay. 09:04:27a
25 1'm just going to go into some background 09:04:31a

 

 

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1 questions, and 1 will -- there is a chronology here. 1 09:04:34a
2 will try to clue you in as to where we're at in the 09:04:37a
3 chronology, if that's helpful to you. 09:04:41a
4 What is your full name? 09:04:43a
5 A. Bruce David Rabon. 09:04:44a
6 Q. Have you ever gone by another name or 09:04:46a
7 nickname? 09:04:47a
8 A. No. 09:04:49a
9 Q. Have you ever been deposed? 09:04:51a
10 A. No. 09:04:52a
11 Q. Have you ever testified in court? 09:04:54a
12 A. No. 09:04:55a
13 Q. Have you ever been a plaintiff or a defendant 09:04:58a
14 in another lawsuit? 09:05:00a
15 A. 1'm trying to remember the Robert Graham -- 1 09:05:12a
16 don't think so, no. 09:05:16a
17 Q. Well, can you tell me about the Robert Graham 09:05:19a
18 lawsuit? Was it a lawsuit? 09:05:22a
19 A. We sued them. 1 don't think that they ever 09:05:23a
20 filed suit against us, so 1'm -- 1 don't believe so. 09:05:29a
21 Q. So, 1 mean, in that case you were the 09:05:33a
22 plaintiff. There was -- 09:05:35a
23 A. Right. 09:05:37a
24 Q. -- a suit filed? 09:05:38a
25 A. We were. 09:05:39a

 

 

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1 Q. You guys were the plaintiff, and that suit 09:05:40a
2 settled; is that correct? 09:05:42a
3 A. Yes. 09:05:42a
4 Q. Okay. Are you take anything medication today? 09:05:42a
5 A. Blood pressure medication. 09:05:46a
6 Q. Okay. 09:05:48a
7 A. Cholesterol medication. 09:05:51a
8 Q. Okay. We're going to take a break about every 09:05:52a
9 hour and-a-half, all right. 1f you need to take a 09:05:55a
10 break, for whatever reason, sooner than that, we can. 09:05:57a
11 A. Thank you. 09:06:00a
12 Q. What's your date of birth? 09:06:01a
13 A. 10-11-57. 09:06:02a
14 Q. What's your current address? 09:06:06a
15 A. 212 Leeward 151and, Clearwater, Florida. 09:06:06a
16 Q. Your prior address? 09:06:12a
17 A. 107 Park Street, Safety Harbor, Florida. 09:06:14a
18 Q. Are you currently employed? 09:06:18a
19 A. No. 09:06:19a
20 Q. What was your last employment? 09:06:24a
21 A. Rabco Leasing. 09:06:26a
22 Q. And what position did you hold at Rabco 09:06:28a
23 Leasing? 09:06:30a
24 A. 1 was the President, owner. 09:06:30a
25 Q. And for how long? Just approximately. 09:06:33a

 

 

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1 A. 1n excess of 14 years. 09:06:39a
2 Q. Okay. Are you married? 09:06:41a
3 A. Yes. 09:06:43a
4 Q. Your spouse's name? 09:06:43a
5 A Kathy. 09:06:45a
6 Q. And it's Kathy Rabon? 09:06:48a
7 A. Right. 09:06:50a
8 Q. Okay. What year were you married? 09:06:50a
9 A. 1978. 09:06:54a
10 Q. That's a good question to get right, in case 09:06:59a
11 your wife reads the transcript. 09:07:01a
12 A. Thirty-two years. 09:07:03a
13 MR. SMELTZER: Off the record real quick. 09:07:05a
14 (Discussion held off the record.) 09:07:07a
15 MR. LEYVA: Okay. 09:07:39a
16 Q. Do you have children? 09:07:41a
17 A. Yes. 09:07:42a
18 Q. And your children's names? 09:07:42a
19 A. Chad Rabon, Casey Rabon. 09:07:44a
20 Q. Okay. Ever been arrested for a crime? 09:07:46a
21 A. No. 09:07:51a
22 Q. Ever filed personal bankruptcy? 09:07:52a
23 A. No. 09:07:54a
24 Q. Did you review any documents in preparation 09:07:56a
25 for your deposition? 09:07:58a

 

 

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1 A. Just my interrogatories, Jenna's 09:08:00a
2 interrogatories. 09:08:05a
3 Q. Okay. Have you signed any written statements 09:08:06a
4 or made any recorded statements related to this 09:08:12a
5 lawsuit? 09:08:14a
6 A. No. 09:08:15a
7 Q. Affidavits? 09:08:15a
8 A. No. 09:08:16a
9 Q. Okay. Did you read or listen to any recorded 09:08:16a
10 statements, look at any diagrams or photographs, or did 09:08:21a
11 somebody else read you any statements before the 09:08:25a
12 deposition? 09:08:27a
13 MR. SMELTZER: 1'll object to compound. 09:08:27a
14 BY MR. LEYVA: 09:08:31a
15 Q. Can you answer the question? Or 1 can break 09:08:31a
16 it up for you. 09:08:34a
17 A. Break it up. 09:08:34a
18 Q. Sure, sure. 09:08:35a
19 Did you read or listen to any recorded 09:08:36a
20 statements prior to the deposition? 09:08:40a
21 A. No. 09:08:44a
22 Q. Did you look at any diagrams or photographs 09:08:46a
23 prior to the deposition? 09:08:48a
24 A. 1 looked at my websites. 1 looked at the 09:08:51a
25 websites. 09:08:54a

 

 

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1 Q. That's fine. 09:08:55a
2 MR. SMELTZER: Just to clarify, are you 09:08:58a
3 talking about in preparation for the depo, or at 09:09:00a
4 any time prior? 09:09:02a
5 MR. LEYVA: No, no. Before the 09:09:03a
6 deposition, This is all in preparation for the 09:09:05a
7 deposition, all right. 09:09:07a
8 Q. And the last part. Did anybody -- did anyone 09:09:08a
9 read you any statements -- 09:09:15a
10 A. No. 09:09:16a
11 Q. -- in preparation for the deposition? 09:09:16a
12 A. No. 09:09:17a
13 Q. Okay. So, just in general, tell me everything 09:09:18a
14 you did to get ready for this deposition, 09:09:21a
15 A. 1 reviewed some of our websites. Again, read 09:09:24a
16 interrogatories, my answers, some of Jenna's answers, 09:09:28a
17 Q. Did you meet with your attorney? 09:09:32a
18 A. 1 have met with him. 09:09:34a
19 Q. Was there anyone else in the room when you met 09:09:36a
20 with your attorney? 09:09:39a
21 A. No. 09:09:44a
22 Q. Okay. 1'm going to ask you some questions 09:09:44a
23 about your education. Where did you go to high school? 09:09:48a
24 A. Dunedin High. 09:09:50a
25 Q. Dunedin High. Did you graduate from Dunedin 09:09:52a

 

 

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1 High? 09:09:55a
2 A. Yes. 09:09:55a
3 Q. Did you attend college or junior college? 09:09:55a
4 A. St. Petersburg Junior College. 09:09:57a
5 Q. Did you graduate? 09:10:00a
6 A. Yes. 09:10:01a
7 Q. What kind of courses did you take at 09:10:03a
8 St. Petersburg Junior College? 09:10:06a
9 A. 1t was an A.A. degree, so it was, you know, 09:10:07a
10 varied courses, all the -- English lit, comp, 09:10:10a
11 humanities, business courses, 1 took one accounting 09:10:14a
12 course, maybe two. 09:10:17a
13 Q. You -- 09:10:20a
14 A. Some advertising courses, That's why 1 have 09:10:21a
15 an A.A. degree from there. 09:10:24a
16 Q. That A.A. degree is in something, right? 1t's 09:10:25a
17 in business? 09:10:28a
18 A. 1t's not in business. 09:10:28a
19 Q. 1t's not in business? 09:10:29a
20 A. No. 09:10:30a
21 Q. You don't recall -- 09:10:30a
22 A. 1t was just a general A.A. degree, 09:10:30a
23 Q. Okay. 1'm going to ask this, but 1 think you 09:10:33a
24 described it. There wasn't any particular area of 09:10:41a
25 study or concentration -- 09:10:43a

 

 

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1 A. No. 09:10:45a
2 Q. -- in that A.A.? 09:10:46a
3 A. No. 09:10:47a
4 Q. Okay. 1'm going to transition now to work 09:10:47a
5 experience. 09:10:50a
6 During the last 30 years, how many employers 09:10:51a
7 have you worked for? 09:10:54a
8 A. The last 30 years? 09:10:55a
9 Q. Yes. 09:10:56a
10 A. One. Well, two. 09:10:57a
11 Q. And so, can you name those? 09:11:00a
12 A. Shorts, 1ncorporated, Rabco Leasing. 09:11:03a
13 Q. Those are the only two in the last 30 years? 09:11:06a
14 A. Yeah, that 1 can recall exactly. 09:11:08a
15 Q. Sure. Now, Mr. Short -- when you worked for 09:11:10a
16 Mr. Short, was it at William Short's Clothiers or one 09:11:21a
17 of the other companies? 09:11:25a
18 A. 1 worked for William Short Clothiers, and 1 09:11:30a
19 did work for Direct Menswear, so that would be a third 09:11:33a
20 one, another company that he had. 09:11:36a
21 Q. Okay. 09:11:38a
22 A. Yeah. 09:11:38a
23 Q. Did Mr. Short have controlling interest, to 09:11:38a
24 the best of your knowledge, in those -- 09:11:41a
25 A. 1'm not -- 09:11:43a

 

 

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Page 12

1 Q. -- companies? 09:11:44a
2 A. -- familiar if he had controlling interest or 09:11:44a
3 not. 09:11:46a
4 MR. SMELTZER: Wait until he finishes the 09:11:46a
5 whole, entire question. Wait so you guys won't 09:11:49a
6 be talking over each other. 09:11:51a
7 BY MR. LEYVA: 09:11:56a
8 Q. When you worked for Mr. Short, did you report 09:11:56a
9 to Mr. Short? Was he your boss? Was he your direct 09:12:01a
10 boss? 09:12:05a
11 A. When? 09:12:06a
12 Q. When you worked for William Short's Clothiers 09:12:07a
13 or one of the other companies, or the prior company. 1 09:12:10a
14 don't recall what you said -- 09:12:13a
15 MR. SMELTZER: 1'll object as compound. 09:12:14a
16 You might want to break that one up. 09:12:16a
17 MR. LEYVA: Okay, that's fine. 09:12:18a
18 Q. Let me break it down this way. When you 09:12:18a
19 worked for William Short's Clothiers, was Mr. Short 09:12:20a
20 your boss? Did you report to him? 09:12:24a
21 A. 1nitially, no. 09:12:28a
22 Q. Okay. Who did you report to initially? 09:12:29a
23 A. Dick Kahne and Mel Mealey. 09:12:31a
24 Q. Okay. And what titles or positions did they 09:12:35a
25 have? 09:12:38a

 

 

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1 A. Dick Kahne was the -- 1 guess he would have 09:12:39a
2 been called the general manager of the company. Mel 09:12:45a
3 Mealey was the supervisor of the retail stores. 09:12:47a
4 Q. Okay. 09:12:50a
5 A. 1 reported to Mel Mealey and Dick Kahne. 09:12:51a
6 Q. Okay. And after how many years -- 1'm just 09:12:54a
7 going to say WSC, if you don't mind. 09:13:00a
8 A. Uh-huh. 09:13:02a
9 Q. -- did you start reporting to Mr. Short? 09:13:03a
10 A. Maybe two to three years. 1 can't recall, 09:13:08a
11 it's so long ago, but maybe two to three years later. 09:13:13a
12 Q. Okay. And at that time when you started 09:13:15a
13 reporting directly to Mr. Short, what was your title? 09:13:17a
14 A. Probably general manager, if 1 had to guess. 09:13:20a
15 1 don't recall. 09:13:23a
16 Q. Okay. So, equivalent -- 09:13:23a
17 A. Or, you know, or store supervisor. 09:13:26a
18 Q. Do you recall whether or not that position was 09:13:30a
19 equivalent to your former boss's positions in the 09:13:32a
20 organization? 09:13:36a
21 A. No. 09:13:36a
22 Q. No? 09:13:37a
23 A. No. 09:13:37a
24 Q. You just started reporting to Mr. Short for 09:13:38a
25 other reasons, okay. 09:13:40a

 

 

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1 A. Right. 09:13:41a
2 Q. All right. Now, were you the founder of Rabco 09:13:41a
3 Leasing, 1nc.? 1 mean, did you create it? 09:13:46a
4 A. 1'm the original -- 1 didn't create it. 09:13:55a
5 Q. Okay. 1 mean, you may have had an attorney 09:14:02a
6 create it or a CPA create it. 09:14:04a
7 A. Right. 09:14:06a
8 Q. But did you initiate that? That's what 1 mean 09:14:06a
9 by the "founder." 09:14:08a
10 A. Yeah. 09:14:13a
11 Q. Okay. 09:14:14a
12 A. Yeah. 09:14:15a
13 Q. And at the time that Rabco Leasing, 1nc., was 09:14:17a
14 incorporated, were you the sole shareholder? 09:14:20a
15 A. No. 09:14:23a
16 Q. Okay. Can you tell me who the other 09:14:24a
17 shareholders were? 09:14:26a
18 A. Kathy Rabon. 09:14:27a
19 Q. Okay. 15 that it? 09:14:28a
20 A. Yes. 09:14:30a
21 Q. At the time it was founded, it was two. 09:14:30a
22 A. Right. 09:14:34a
23 Q. You and your wife were -- 09:14:34a
24 A. Right. 09:14:35a
25 Q. And have you and your wife remained sole 09:14:36a

 

 

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1 shareholders of Rabco Leasing, 1nc.? 09:14:39a
2 A. Yes. 09:14:41a
3 Q. Okay. There are no other shareholders? 09:14:42a
4 A. Right. 09:14:44a
5 Q. All right. Do you recall about, 09:14:44a
6 approximately, the time frame when Rabco was 09:14:53a
7 incorporated? 09:15:03a
8 A. Maybe the early '905. 1'm not really total 09:15:09a
9 sure about that. 09:15:12a
10 Q. Was it prior to the time that you went to work 09:15:13a
11 for WSC? 09:15:17a
12 A. No. 09:15:19a
13 Q. 1t was not? 09:15:20a
14 A. No. 09:15:21a
15 Q. Okay. And you may have said this, 1 may be 09:15:21a
16 repeating myself. At what year did you first start 09:15:26a
17 working for WSC? 09:15:29a
18 A. 1t could have been in the '705. 09:15:33a
19 Q. 1n the 70's? 09:15:38a
20 A. Uh-huh. 1 know 1 don't look that old, but 09:15:38a
21 yeah. 09:15:42a
22 Q. No, that's fine. 09:15:42a
23 So Rabco Leasing -- but you went to work for 09:15:44a
24 WSC after that. 1 mean, you incorporated Rabco 09:15:48a
25 after -- 09:15:51a

 

 

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Page 16

1 A. Exactly. 09:15:51a
2 Q. -- you first started working with WSC. 09:15:52a
3 A. Yes. 09:15:58a
4 Q. Did you remain a WSC WZ employee the entire 09:15:58a
5 time up to and including when the assets were 09:16:03a
6 purchased? And 1 have to ask you when the assets were 09:16:06a
7 purchased, but -- 09:16:10a
8 MR. SMELTZER: Let me object to the form. 09:16:12a
9 MR. LEYVA: That's fine. That's fine. 09:16:13a
10 Q. Here's what 1'm trying to get at. You 09:16:16a
11 indicated that you went to work for WSC in the '705. 09:16:20a
12 A. Correct. 09:16:23a
13 Q. And then you incorporated Rabco Leasing, 1nc., 09:16:24a
14 after that. 09:16:27a
15 A. Uh-huh. 09:16:27a
16 Q. Okay. When you incorporated Rabco Leasing, 09:16:28a
17 1nc., were you still a WZ employee of WSC? 09:16:31a
18 A. 1 can't recall if we were running simultaneous 09:16:38a
19 payrolls -- 1n other words, Rabco had one and William 09:16:46a
20 Short Clothiers had one -- so 1 don't know the answer 09:16:49a
21 to that question. 09:16:52a
22 Q. Okay. So you may have been a WZ employee of 09:16:53a
23 WSC or Rabco during that time, if you were running 09:16:56a
24 joint; is that -- 09:17:01a
25 A. Yes. 09:17:02a

 

 

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1 Q. -- what you're saying? You just don't know? 09:17:02a
2 A. Yes. 09:17:05a
3 Q. Because you were running multiple operations, 09:17:05a
4 concurrent. 09:17:07a
5 A. 1 don't recall if we were running two separate 09:17:08a
6 payrolls then. 09:17:11a
7 Q. Yes. Let me refer back to the time -- Well, 09:17:12a
8 let me ask you this: Approximately when were the 09:17:21a
9 assets purchased from WSC -- assets and liabilities? 09:17:25a
10 A. 2002ish, somewhere -- 09:17:32a
11 Q. Okay, that's fine. 09:17:35a
12 A. 2003, 2002 to '3. 09:17:36a
13 Q. So up until that time -- and 1 just want to 09:17:39a
14 clarify -- up until that time, you were either a WZ 09:17:42a
15 employee of WSC or of Rabco. 09:17:48a
16 A. Yes. 09:17:50a
17 Q. Okay. You were maintaining -- both companies 09:17:50a
18 were operational at the same time, is my point. 09:17:53a
19 A. Yes. 09:17:56a
20 Q. And during that time, prior to 2002, what 09:17:56a
21 goods and/or services did Rabco sell, produce? What 09:18:00a
22 business was Rabco in during that time? 09:18:04a
23 A. Retail clothing. 09:18:06a
24 Q. Retail clothing? 09:18:08a
25 A. Yes. 09:18:09a

 

 

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Page 18

1 Q. So you had retail stores? 09:18:09a
2 A. Yes. 09:18:11a
3 Q. Rabco had some retail stores and William 09:18:12a
4 Shorts, 1nc., had retail stores? 09:18:14a
5 A. Yes. 09:18:16a
6 Q. Okay. What kind of goods were sold at Rabco's 09:18:17a
7 retail stores during this time period? This is prior 09:18:30a
8 to 2002, 09:18:32a
9 A. Suits, coats, dress shirts, sports wear, 09:18:38a
10 shoes. 09:18:41a
11 Q. Was that different from the kind of goods that 09:18:43a
12 were sold at WSC? 1 mean, were they competing 09:18:46a
13 businesses? Did you sell the same kinds of goods, or 09:18:51a
14 were they different kinds of goods? 09:18:53a
15 A. WSC did sell some of that kind of merchandise 09:18:55a
16 as well, yes. 09:18:58a
17 Q. There was some overlap? 09:18:59a
18 A. Yes. 09:19:00a
19 Q. How much overlap? 09:19:00a
20 A. Quite a bit. 09:19:02a
21 Q. Quite a bit? 09:19:02a
22 A. Right. 09:19:03a
23 Q. Okay. So, since Rabco's founding, what 09:19:04a
24 positions have you held at Rabco? 09:19:18a
25 A. At Rabco? 09:19:20a

 

 

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1 Q. Yet. 09:19:25a
2 A. President. 09:19:26a
3 Q. You've always been President? 09:19:28a
4 A. Store cleaner, take out the garbage guy. 09:19:29a
5 Q. You were always in charge? 09:19:32a
6 A. Right. 09:19:34a
7 Q. You never reported to anybody else at Rabco, 09:19:34a
8 is what 1'm trying to get at. 09:19:37a
9 A. Exactly. 09:19:38a
10 Q. Yes. Approximately -- and 1 know this is 09:19:39a
11 tough to remember -- but approximately in what year did 09:19:49a
12 Rabco first become profitable? 09:19:53a
13 A. 1 don't recall that. 09:19:58a
14 Q. You don't recall if it was prior to 2002? 09:20:00a
15 After 2002? 09:20:03a
16 A. 1 can't. 1 absolutely cannot recall that. 09:20:04a
17 Q. Okay. And we may have covered this, but 1 09:20:07a
18 don't know if we covered this specifically. What was 09:20:19a
19 your position, title, when you first started working at 09:20:22a
20 WSC? 09:20:26a
21 A. Salesman. 09:20:26a
22 Q. You were a salesman? 09:20:27a
23 A. Uh-huh. 09:20:28a
24 Q. Okay. 09:20:29a
25 A. Yes. Sorry. 09:20:30a

 

 

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Page 20

1 Q. Were employees at WSC assigned formal job 09:20:35a
2 titles, or it was salesman/store manager, sort of 09:20:40a
3 generic? 09:20:47a
4 A. There were store managers. 09:20:48a
5 Q. Right. 09:20:50a
6 A. 1 was a salesman. 09:20:50a
7 Q. Okay. There wasn't titles of V.P. of 09:20:51a
8 Marketing, V.P. of Advertising, those kinds of titles? 09:20:54a
9 A. No. 09:20:58a
10 Q. Okay. Who was your last boss when you worked 09:20:58a
11 for WSC? 09:21:04a
12 A. Bill Short. 09:21:08a
13 Q. During your employment at WSC, you were 09:21:13a
14 promoted -- 1 think you indicated you were promoted 09:21:16a
15 once. Or at least it seemed like a promotion. 09:21:20a
16 How many times were you promoted while you 09:21:23a
17 worked at WSC? 09:21:24a
18 A. Perhaps once, yeah. 09:21:28a
19 Q. Okay. 09:21:30a
20 A. 1 don't -- yeah. 09:21:30a
21 Q. That's fine. So you started working, you had 09:21:31a
22 some other boss. 09:21:34a
23 A. Right. 09:21:35a
24 Q. And then you started working for Mr. Short. 09:21:35a
25 A. Yes. 09:21:37a

 

 

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1 Q. And at that time, was that a promotion for you 09:21:38a
2 when you started reporting directly to Mr. Short? 09:21:41a
3 A. Perhaps it was a promotion. 09:21:45a
4 Q. Was there an increased salary? 09:21:48a
5 A. Perhaps not. 09:21:49a
6 Q. Okay. All right. Did you ever supervise 09:21:51a
7 other employees, as their boss, in the positions that 09:21:57a
8 you've held at WSC? 09:21:59a
9 A. Ask that one more time, 09:22:01a
10 Q. 1n the positions that you held at WSC -- 1 09:22:03a
11 think you described two so far. You had your initial 09:22:07a
12 job and then when you started reporting to Mr. Short. 09:22:10a
13 Did you supervise other employees? Were you other 09:22:13a
14 employees' boss? Did other employees report to you? 09:22:19a
15 A. Yes. 09:22:22a
16 Q. And if so, whom? 09:22:23a
17 A. Ray Shuster, William Harvey, Martin. 09:22:28a
18 Q. Yep. 09:22:46a
19 A. You know, those are the ones -- 1 can't 09:22:46a
20 remember all their names. 09:22:50a
21 Q. Did Ms. Hunter report to you at WSC? 09:22:52a
22 A. Yeah. 09:22:57a
23 Q. Okay. So as her role as a bookkeeper at WSC, 09:22:59a
24 she reported to you? 09:23:03a
25 A. Yes. 09:23:04a

 

 

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1 Q. And these other individuals, were they store 09:23:05a
2 managers? Sales people? 09:23:08a
3 A. Let me go back to the question with Jenna. 09:23:11a
4 She would report to me and Bill Short. 09:23:13a
5 Q. Okay. So she had dual sort of reporting. 09:23:15a
6 A. Right. 09:23:18a
7 Q. That's fine. These other individuals, 09:23:18a
8 including Martin, that you named, were they sales 09:23:20a
9 people? Store managers? 1 mean, what roles did they 09:23:22a
10 play? 09:23:26a
11 A. Sales people, store managers, Director of 09:23:27a
12 Retail Operations. 09:23:33a
13 Q. Okay. So at that point when you had this 09:23:35a
14 staff, you had personnel that were working in multiple 09:23:38a
15 stores? 09:23:41a
16 MR. SMELTZER: Well, 1'll object to the 09:23:42a
17 question because you said "at that point." 1 09:23:43a
18 don't think we've established a time frame. 09:23:47a
19 MR. LEYVA: Okay. 09:23:51a
20 Q. Let me back up. The point 1'm talking about 09:23:51a
21 is when you first had people reporting to you at WSC. 09:23:53a
22 A. Yes. 09:23:57a
23 Q. And you enumerated several -- listed several 09:23:57a
24 people that reported to you. 09:24:01a
25 A. Yes. 09:24:02a

 

 

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1 Q. Okay. And apart from Ms. Hunter, those other 09:24:02a
2 people that reported to you, what job titles and/or 09:24:10a
3 functions or responsibilities did they have? 09:24:14a
4 A. Store salesmen, store managers, receiving 09:24:17a
5 department people, 09:24:22a
6 Q. Okay. And were these -- was your staff spread 09:24:24a
7 across stores? 09:24:30a
8 A. Yes. 09:24:32a
9 Q. Retail stores? 09:24:33a
10 A. Yes. 09:24:34a
11 Q. Okay. And how many stores at that time, do 09:24:34a
12 you remember? 09:24:39a
13 A. At what time? 09:24:49a
14 Q. At the time when you first acquired this 09:24:55a
15 staff, when you first had people reporting to you. 09:24:57a
16 A. Three. 09:25:03a
17 Q. There were three stores? 09:25:04a
18 A. Uh-huh. Yes. 09:25:05a
19 Q. Okay. Now, is it true that Mr. Gwynn was a 09:25:06a
20 WSC employee at the same time that you were a WSC 09:25:18a
21 employee? 1 mean, there was an overlap, right? 09:25:21a
22 A. Yes. 09:25:24a
23 Q. Yes, okay. And who did -- to the best of your 09:25:25a
24 knowledge, who did Mr. Gwynn report to at WSC when he 09:25:31a
25 was first hired? 09:25:33a

 

 

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1 A. Bill Short. 09:25:36a
2 Q. Okay. So is it fair to say that Mr. Short was 09:25:37a
3 the person that directly hired Mr. Gwynn? 09:25:44a
4 A. As 1 recall, yes. 09:25:47a
5 Q. Were you present at Mr. Gwynn's interview? 09:25:50a
6 A. Yes. 09:25:54a
7 Q. You were. Okay. 09:25:55a
8 A. At least one that 1 recall of. 09:25:57a
9 Q. Okay. And do you recall for what purpose or 09:25:59a
10 for what job Mr. Gwynn was hired? 09:26:05a
11 A. He was hired, as 1 recall, he was going to -- 09:26:10a
12 1 think he ran our Gulf View Mall store, as 1 recall. 09:26:18a
13 We had a store up at Gulf View Square Mall. 09:26:22a
14 Q. So he was hired to be a store manager, in that 09:26:25a
15 capacity? 09:26:29a
16 A. Right, yes. 09:26:30a
17 Q. Okay. And 1 think you answered this question. 09:26:30a
18 He started working at that particular store you just 09:26:36a
19 indicated? 09:26:38a
20 A. As 1 recall, yes. 09:26:39a
21 Q. Okay. 09:26:40a
22 A. He -- yes. 09:26:41a
23 Q. Do you recall -- and you may not. At the time 09:26:46a
24 that Mr. Gwynn was hired, he was hired as a WZ 09:26:50a
25 employee; do you recall? 09:26:53a

 

 

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Page 25

1 A. Yes. 09:26:55a
2 Q. Do you recall, in the interview, whether or 09:26:56a
3 not it was -- that the interview or the job was 09:26:59a
4 structured as kind of a try before you buy, kind of a 09:27:05a
5 temporary, "We're going to see if this works out" type 09:27:09a
6 job? 09:27:12a
7 A. 1 don't recall that. 09:27:12a
8 Q. You don't recall? 09:27:13a
9 A. No. 09:27:14a
10 Q. Okay. 1'm going to move on, transition here 09:27:14a
11 to some of your store concepts. Or WSC's store 09:27:21a
12 concepts. 09:27:25a
13 How was the concept of the WSC division Max 09:27:26a
14 Slacks developed? 09:27:29a
15 A. 1 don't understand your question. 09:27:34a
16 Q. Let me try it this way. What kinds of goods 09:27:37a
17 did Max Slacks sell? 09:27:41a
18 A. For lack of a better word, old man's clothing. 09:27:46a
19 Q. Okay. 09:27:52a
20 A. Polyester pants, bright pink, yellow, green 09:27:52a
21 sport coats, adjustable pants. 09:27:57a
22 Q. Those were in fashion at the time, 1 think, 09:27:59a
23 right? 09:28:02a
24 A. For old people, 09:28:02a
25 Q. Right. So that was -- that's what 1 meant by 09:28:03a

 

 

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1 "concept." That was the target market -- 09:28:05a
2 A. Right. 09:28:07a
3 Q. -- for that concept, for Max Slacks. 09:28:08a
4 A. Yes. 09:28:11a
5 Q. Okay. And who was the store manager that 09:28:12a
6 first ran the first Max Slacks store? 09:28:16a
7 A. Martin. 09:28:36a
8 Q. Okay. Mr. Gwynn? 09:28:39a
9 A. Uh-huh. 09:28:40a
10 Q. And where was that first Max Slacks store 09:28:41a
11 located? 09:28:43a
12 A. 1f 1 recall, it was Largo Mall. 09:28:44a
13 Q. Okay. Do you recall how long this particular 09:28:48a
14 first store, Max Slacks, how long it remained open? 09:28:54a
15 A. No. 09:28:57a
16 Q. Okay. Did that particular store eventually 09:28:58a
17 move to another location? 09:29:01a
18 A. What do you mean "move to"? 09:29:07a
19 Q. Well, assuming it was in Largo Mall -- 09:29:11a
20 A. Right. 09:29:15a
21 Q. -- did it shut down operations in Largo Mall 09:29:16a
22 and move to another mall? 09:29:18a
23 A. 1t closed and another one opened. 09:29:20a
24 Q. Yes, that's what 1'm referring to. And that 09:29:21a
25 other one that opened, it was another Max Slacks; is 09:29:23a

 

 

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that correct?

A.

Q.

A.

Q.

Yes.
And where did that Max Slacks --
1 believe that was Seminole Mall.

Okay. Were there any other Max Slacks stores

that were opened?

A. Yes.

Q. And where were they located?

A. One was 300 south Belcher Road, Clearwater,
Florida.

Q. 15 that the only other one?

A. 1 think so. As 1 recall, yes.

Q. Okay.

A. 1'm just not totally sure.

Q. That's fine. Did Mr. Gwynn supervise the
activities -- 1 think we were down to two Max Slacks

stores now that we've identified --

A.

A.

Q.

Okay.

-- that operated concurrently. 15 that true?
Yes.

One in Seminole and one on Belcher.

Yes.

Was Mr. Gwynn's role and responsibility to

supervise those two stores?

A.

Yes.

Page 27

09:29:28a

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1 Q. Do you recall what Mr. Gwynn was paid during 09:30:28a
2 the time he operated the Max Slacks stores? 09:30:30a
3 A. No. 09:30:34a
4 Q. Do you recall whether his compensation was 09:30:35a
5 structured as salary plus commission, or just salary? 09:30:38a
6 A. 1 don't recall that. 09:30:41a
7 Q. Okay. To the best of your knowledge -- Well, 09:30:46a
8 let me ask you this first: Did you have NCR registers, 09:30:53a
9 cash registers, at Max Slacks stores? 09:30:58a
10 A. 1 don't recall them being NCR registers. 09:31:04a
11 Q. Okay. 09:31:08a
12 A. That's National Cash Register Company. 09:31:08a
13 Q. Yes. 09:31:11a
14 A. 1 don't recall them being that name. 09:31:12a
15 Q. Okay. But they were cash registers of a 09:31:15a
16 particular manufacturer? 09:31:20a
17 A. Yes. 09:31:21a
18 Q. Maybe not NCR. 09:31:21a
19 A. Yes. 09:31:23a
20 Q. Okay. Now, these particular cash registers, 09:31:23a
21 did they ever malfunction and have to be replaced? 09:31:32a
22 A. 1t's electronic. Yes. 09:31:35a
23 Q. They did? Yes. 09:31:37a
24 And did you replace them with the same 09:31:39a
25 manufacturer, or did you replace them with something 09:31:43a

 

 

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1 else? 09:31:46a
2 A. 1 don't recall. 09:31:46a
3 Q. Okay. So, to the best of your knowledge, 09:31:48a
4 these cash registers were not replaced by a point of 09:31:55a
5 sales system that Mr. Gwynn integrated as part of his 09:32:00a
6 Taking Care of Business business? 09:32:04a
7 A. That isn't what you asked. 09:32:06a
8 Q. 1'm asking that. 09:32:08a
9 A. So, what's the question? 09:32:08a
10 Q. My question is: These cash registers, when 09:32:09a
11 they malfunctioned, do you recall them being replaced 09:32:12a
12 by a system that Mr. Gwynn developed and leased to Max 09:32:15a
13 Slacks? 09:32:19a
14 A. 1 recall leasing some computer equipment for 09:32:20a
15 cash registers from Gwynn, yes. 09:32:27a
16 Q. Okay. That was my question. 09:32:29a
17 A. Okay. 09:32:31a
18 Q. And do you recall if Mr. Gwynn was paid 09:32:32a
19 approximately $171 a month per store for these 09:32:37a
20 registers? 09:32:41a
21 A. 1 recall it because it was brought up the 09:32:42a
22 other day, and 1 had completely forgotten about it. 09:32:44a
23 Q. Okay. And do you recall whether Mr. Gwynn was 09:32:47a
24 paid as an independent contractor, this $171 a month, 09:32:54a
25 to his Taking Care of Business fictitious name, or was 09:32:58a

 

 

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1 he paid as part of his salary? 09:33:01a
2 A. He was 1099ed. 09:33:03a
3 Q. Okay. He was 1099ed for the taking care of 09:33:05a
4 business? 09:33:08a
5 A. For -- 09:33:09a
6 Q. For the cash register leasing. 09:33:09a
7 A. 1t was paid to Martin Gwynn on a 1099 form. 09:33:14a
8 Q. Okay. But, at the same time, he still 09:33:17a
9 maintained his responsibilities as store managers of 09:33:20a
10 Max Slacks? 09:33:22a
11 A. Yes. 09:33:24a
12 Q. And was a WZ employee at the time -- 09:33:24a
13 A. Yes. 09:33:26a
14 Q. -- correct? 09:33:27a
15 So he was a WZ employee; he had this other 09:33:27a
16 business where he got paid as a 1099 contractor, 09:33:30a
17 MR. SMELTZER: Object to the form. 09:33:33a
18 MR. LEYVA: Would you like me to repeat the 09:33:35a
19 question? 09:33:37a
20 THE DEPONENT: Right. 09:33:37a
21 BY MR. LEYVA: 09:33:38a
22 Q. Okay. 1 just wanted to clarify, 1 think 09:33:38a
23 you've answered it. 09:33:40a
24 He was paid as a 1099 contractor, right, for 09:33:41a
25 this registers that he leased to Max Slacks stores? 1 09:33:45a

 

 

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1 believe that's what you said. 09:33:49a
2 A. The equipment -- 09:33:51a
3 Q. Right. 09:33:53a
4 A. -- like any other type equipment that we might 09:33:53a
5 procure from any -- from an outside source. 09:34:01a
6 Q. Correct. That's all 1'm saying. 1 think you 09:34:04a
7 indicated that he got paid for that -- 09:34:06a
8 A. Right. 09:34:08a
9 Q. -- on a 1099. 09:34:09a
10 A. Right. 09:34:10a
11 Q. Okay. And my follow-up question was, during 09:34:11a
12 that time that he got paid as a 1099, he was still a WZ 09:34:14a
13 employee -- 09:34:17a
14 A. Yes. 09:34:18a
15 Q. Okay. We're good. 09:34:19a
16 Mr. Rabon, during Mr. Gwynn's tenure as 09:34:30a
17 Operations Manager of the Max Slacks stores, who did 09:34:33a
18 Mr. Gwynn report to? 09:34:36a
19 A. 1'd say Bill Short. 09:34:48a
20 Q. Okay. Did WSC have a store in New Port 09:34:50a
21 Richey? 09:35:06a
22 A. Yes. 09:35:07a
23 Q. Was that New Port Richey store converted into 09:35:08a
24 a Max Slacks-type store? 1 mean, 1 can clarify if you 09:35:12a
25 would like. 09:35:23a

 

 

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1 A. Please. 09:35:24a
2 Q. Yes. 1 think we previously covered that Max 09:35:25a
3 Slacks sold polyester suits to old people, or something 09:35:27a
4 like that, right? That was the target demographic. 09:35:32a
5 A. Right. 09:35:35a
6 Q. That was the target market. 09:35:35a
7 My question was, was the WSC store that 09:35:37a
8 existed in New Port Richey, was it converted into that 09:35:40a
9 type of store that sold those types of goods? 09:35:43a
10 A. 1t always had those types of goods in it. 09:35:45a
11 Q. Okay. Prior to the Max Slacks concept, 09:35:51a
12 A. Correct. 1t's New Port Richey. 09:35:54a
13 Q. Yes. 1'm talking about New Port Richey, yes. 09:35:55a
14 A. Right. 09:35:58a
15 Q. So it always existed in that form? 09:35:58a
16 A. Right. 09:36:00a
17 Q. Okay. Now 1 want to switch gears here to a 09:36:01a
18 point in time where WSC started closing stores. 09:36:11a
19 A. Uh-huh. 09:36:14a
20 Q. Can you tell me the reason why the stores 09:36:15a
21 started to close? 09:36:19a
22 A. Leases were coming up, rents were going to go 09:36:23a
23 way up. 09:36:28a
24 Q. Right. 09:36:29a
25 A. Bill Short was the majority stockholder and he 09:36:31a

 

 

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1 was wanting to begin his retirement. 09:36:34a
2 Q. Right. Now, you said Bill Short was the 09:36:38a
3 majority stockholder. Were you aware of the other 09:36:44a
4 stockholders in WSC? 09:36:48a
5 A. Yes. 09:36:50a
6 Q. And they were? 09:36:50a
7 A. Bruce Rabon, Kathy Rabon. 09:36:51a
8 Q. And no others? That was the complete list? 09:36:56a
9 A. Yes. 09:36:59a
10 Q. Okay. So, at the time of the transfer of 09:36:59a
11 assets between WSC and Rabco, Bill Short, yourself and 09:37:04a
12 your wife were the only shareholders of WSC; is that 09:37:13a
13 correct? 09:37:17a
14 A. Yes. 09:37:17a
15 Q. And you and your wife were the only 09:37:18a
16 shareholders of Rabco -- 09:37:21a
17 A. Yes. 09:37:22a
18 Q. -- at that time? 09:37:22a
19 A. Yes. 09:37:23a
20 Q. Okay. Did Mr. Gwynn assist in -- for the 09:37:23a
21 reasons that you enumerated, did he assist in the 09:37:33a
22 closing of the stores? 09:37:36a
23 A. As did other employees, yes. 09:37:40a
24 Q. Right. That was part of his responsibilities. 09:37:42a
25 1f Mr. Short made a decision to close a store, on some 09:37:45a

 

 

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1 occasion, Mrs. Gwynn facilitated that closing of the 09:37:49a
2 store, 09:37:52a
3 A. 1t's possible. 1t's possible that he could 09:37:55a
4 have been involved in that. 09:38:00a
5 Q. Okay. How did a store get closed? You just 09:38:01a
6 sold off inventory? You transferred inventory? 09:38:07a
7 A. Well -- 09:38:09a
8 Q. How did that work? 09:38:09a
9 MR. SMELTZER: Wait until he's done. 09:38:10a
10 THE DEPONENT: Ask the question again, 09:38:16a
11 please. 09:38:17a
12 BY MR. LEYVA: 09:38:17a
13 Q. Tell me about the process, the store closing 09:38:17a
14 process. How was that done? Did you sell off 09:38:20a
15 inventory? Transfer inventory to another store? 09:38:22a
16 A. Both. 09:38:24a
17 Q. Okay. So you tried to dispose -- get rid of 09:38:24a
18 the inventory, obviously, before you closed it down. 09:38:28a
19 A. Yes. 09:38:32a
20 Q. Yeah. Were there like fire sales on the 09:38:33a
21_ merchandise, to get people to buy before you closed? 09:38:36a
22 A. Some of the merchandise, 09:38:40a
23 Q. Okay. During the time of these store 09:38:41a
24 closures, was WSC experiencing difficult financial 09:38:51a
25 times? 1 mean, were these hard times for WSC from a 09:39:01a

 

 

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1 revenue perspective, from a cost perspective? 09:39:06a
2 A. 1 don't recall that. 09:39:08a
3 Q. Okay. So at no time during these closures did 09:39:09a
4 you ever consider seeking employment elsewhere other 09:39:14a
5 than WSC? 09:39:18a
6 A. Yes. 09:39:21a
7 Q. Yes, you never considered -- 09:39:22a
8 A. 1 did consider. 09:39:23a
9 Q. Oh, you did consider. 09:39:24a
10 A. Right. 09:39:25a
11 Q. And for what reasons? 09:39:26a
12 A. 1 was getting a little bit tired of retail, 09:39:29a
13 wanting something a little more stable. 09:39:33a
14 Q. You just wanted to do something different at 09:39:35a
15 that time? 09:39:38a
16 A. Yes. 09:39:39a
17 Q. Okay. Did Mr. Gwynn purchase a heat press, 09:39:39a
18 heat transfers and T-shirts and run a T-shirt business 09:39:47a
19 within the Max Slacks store at Seminole? Do you recall 09:39:51a
20 that? 09:39:54a
21 MR. SMELTZER: Object as to compound. 09:39:54a
22 THE DEPONENT: Can you ask the question? 09:39:58a
23 MR. LEYVA: Absolutely. 09:40:00a
24 Q. Did Mr. Gwynn run a T-shirt business within 09:40:02a
25 the Max Slacks store at Seminole that was separate 09:40:07a

 

 

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1 from, accounted for, paid for separate from the 09:40:10a
2 Seminole store? 09:40:15a
3 A. 1 don't recall it being a separate business. 09:40:15a
4 Q. Okay. Was he compensated differently for the 09:40:17a
5 sale of these T-shirts and -- 09:40:20a
6 A. 1 don't recall that. 09:40:21a
7 Q. Okay. 1'm going to back up to the first part 09:40:23a
8 of it. 09:40:28a
9 Do you recall that he bought a heat press and 09:40:29a
10 heat transfers to create T-shirts? 09:40:31a
11 A. No. 1 remember a heat press. 1 have no idea 09:40:34a
12 who paid for it. 09:40:38a
13 Q. Okay. So, there was a -- you remember a heat 09:40:39a
14 press -- 09:40:42a
15 A. Yes. 09:40:42a
16 Q. -- being bought. 09:40:42a
17 A. Right. 09:40:44a
18 Q. You don't recall who purchased it? 09:40:44a
19 A. 1 don't recall a heat press. 09:40:50a
20 Q. Okay. What was it you said you did recall? 09:40:54a
21_ We can have the court reporter read it back. 09:41:03a
22 A. Read it back. 09:41:07a
23 (Record read at this point.) 09:41:08a
24 THE DEPONENT: And now 1'm saying 1 don't 09:41:29a
25 actually recall a heat press. 09:41:31a

 

 

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1 MR. LEYVA: Okay. 09:41:33a
2 Q. So, do you recall a heat transfer? 09:41:33a
3 A. A heat transfer? What do you -- what is a 09:41:36a
4 "heat transfer" to you? What is that? 09:41:41a
5 Q. 1 have no idea what a heat transfer is, but 09:41:44a
6 what 1 would guess it is, is a way that you transfer 09:41:47a
7 some -- something on a T-shirt. 09:41:50a
8 A. 1 recall images being printed on some sort of 09:41:54a
9 paper -- 09:41:59a
10 Q. Okay. 09:42:00a
11 A. -- that you could buy at Staples, and someone 09:42:01a
12 could iron on with an iron, a home iron, on a shirt. 1 09:42:05a
13 remember that. 09:42:12a
14 Q. Yeah. 1 mean, 1 don't know anything about 09:42:12a
15 heat presses or heat transfers, but that sounds like 09:42:16a
16 that could have been it. 1 mean, that was the process, 09:42:19a
17 right? Somebody ironed on -- 09:42:22a
18 A. Right. 09:42:23a
19 Q. -- something to a T-shirt -- 09:42:23a
20 A. Right. 09:42:25a
21 Q. -- some design, and that T-shirt got sold. 15 09:42:25a
22 that correct? 15 that how you recall it? 09:42:28a
23 A. Yes. 09:42:31a
24 Q. Okay, that's fine. 09:42:31a
25 Now, 1 think you've already answered the 09:42:38a

 

 

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1 question. Either you don't recall how Mr. Gwynn was 09:42:44a
2 compensated or how -- 09:42:47a
3 A. 1 don't recall that, no. 09:42:48a
4 Q. Did Mr. Gwynn do this with -- or were these 09:42:49a
5 T-shirts sold in the Seminole store with WSC management 09:42:54a
6 approval? 09:42:57a
7 A. Yes. 09:43:00a
8 Q. Okay. When did Mr. Gwynn first start 09:43:09a
9 reporting to you directly at the WSC Countryside store? 09:43:14a
10 A. When? 09:43:33a
11 Q. The time period would have been when all but 09:43:44a
12 two of the WSC stores had been closed. There were two 09:43:51a
13 WSC stores left. 1'm assuming one was Countryside, one 09:43:57a
14 was elsewhere, at about that time, 09:44:01a
15 Was that the time that Mr. Gwynn started 09:44:04a
16 reporting to you directly? 09:44:06a
17 A. That very well could have been the time, 09:44:09a
18 Q. Okay. Do you recall approximately what year 09:44:11a
19 that may have been? 09:44:19a
20 A. Mid '905. Mid '905. 09:44:24a
21 Q. Okay. 09:44:29a
22 A. Perhaps. 09:44:29a
23 Q. And what were Mr. Gwynn's duties and/or 09:44:31a
24 responsibilities at the WSC Countryside store when he 09:44:34a
25 reported to you? What was he responsible for? 09:44:39a

 

 

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1 A. Well, selling on the floor. 09:44:44a
2 Q. Okay. 1 mean, so he was a retail sales guy? 09:44:47a
3 A. Helping me run the store, 09:44:51a
4 Q. Okay. 09:44:53a
5 A. You know, 1 don't recall a title, 09:44:54a
6 Q. Right. So he had multiple responsibilities. 09:44:58a
7 He sold stuff on the floor. 09:45:02a
8 A. As did everybody. 09:45:03a
9 Q. Yes. Which is not unusual with a small 09:45:04a
10 company -- 09:45:06a
11 A. That's right. 09:45:06a
12 MR. SMELTZER: You guys are talking over 09:45:08a
13 each other. 09:45:09a
14 THE DEPONENT: 1 know it. 09:45:10a
15 MR. SMELTZER: Just wait until Carlos comes 09:45:10a
16 up for air. Then you can start. 09:45:12a
17 MR. LEYVA: You could be waiting a long 09:45:17a
18 time, 09:45:19a
19 MR. SMELTZER: Carlos sometimes seems like 09:45:20a
20 he's coming up for air, but he's not yet. Like 09:45:22a
21 all of us. 09:45:25a
22 BY MR. LEYVA: 09:45:32a
23 Q. During this same time period, 1 believe, did 09:45:32a
24 Mr. Gwynn, while he reported to you at the WSC 09:45:35a
25 Countryside store -- That's the time period 1'm 09:45:39a

 

 

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1 referring to -- did he perform various advertising 09:45:41a
2 functions such as creating and distributing fliers, 09:45:46a
3 postcards, booklets, marking collateral, to help sales? 09:45:50a
4 A. Ask that again, please. 09:45:57a
5 Q. Okay. At the time period that he reported to 09:45:59a
6 you at the WSC Countryside store, you said he was a 09:46:01a
7 sales guy, he was on the floor, he helped you run the 09:46:04a
8 business. He had multiple hats that he wore. 09:46:07a
9 As part of what he did, did he perform some 09:46:11a
10 advertising/marketing-related functions such as 09:46:14a
11 creating and distributing fliers, postcards, booklets? 09:46:20a
12 Marketing collateral. 09:46:25a
13 A. Not solely on his own. 09:46:26a
14 Q. Okay. Did he contribute to that effort? 09:46:28a
15 A. Yes. 09:46:31a
16 Q. Who else participated in that effort? 09:46:31a
17 A. Me. 09:46:33a
18 Q. So it was you and Martin -- 09:46:33a
19 A. Right. 09:46:36a
20 Q. -- that put that stuff together and got it out 09:46:36a
21 there? 09:46:39a
22 A. Yes. 09:46:40a
23 Q. Okay. And again, approximately what time 09:46:40a
24 frame was that? 09:46:49a
25 A. As 1 recall -- 09:46:51a

 

 

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1 Q. Mid '905? 09:46:52a
2 A. Perhaps the mid '905. 09:46:53a
3 Q. And how long did that Countryside store last, 09:46:54a
4 was it in existence? 09:46:59a
5 A. Maybe until the late '905, 2000ish. 09:47:00a
6 Q. So approximately five years. 09:47:04a
7 A. Yes. 09:47:06a
8 Q. More or less. 09:47:06a
9 A. Yes. 09:47:07a
10 Q. Okay. During that entire time, Mr. Gwynn 09:47:07a
11 reported to you at the Countryside store? 1 mean, he 09:47:12a
12 was -- during these four years. 09:47:17a
13 A. Well, he -- as 1 recall, it's very likely that 09:47:19a
14 he reported to both me and Bill Short. 09:47:30a
15 Q. Okay, that's fine. During this entire time? 09:47:33a
16 A. Yes. 09:47:36a
17 Q. So he had -- he had a dotted line or some kind 09:47:36a
18 of line, reporting line, to Mr. Short as well? 09:47:40a
19 A. Yes. 09:47:43a
20 Q. And do you recall why there was that split? 09:47:44a
21 MR. SMELTZER: 1'll object to the form. 09:47:56a
22 THE DEPONENT: Ask the question again, 09:47:59a
23 MR. LEYVA: Yeah. 09:48:01a
24 Q. 1'm just interested as to -- he reported to 09:48:01a
25 you directly at the store, 1 think we've established 09:48:04a

 

 

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1 that, correct? 09:48:07a
2 A. Yes. 09:48:07a
3 Q. You said at the time, these five years from 09:48:08a
4 1995 to 2000, approximately five years, that he had 09:48:10a
5 some sort of reporting to Mr. Short as well. 09:48:14a
6 A. Yes. 09:48:16a
7 Q. And my question is, why was the reporting 09:48:17a
8 function, to the best of your knowledge, split that 09:48:21a
9 way? Why did he report to you for some things and to 09:48:23a
10 Mr. Short for some things? 09:48:26a
11 A. 1 wouldn't know the answer to that question. 09:48:28a
12 Q. Okay. Now, these fliers, postcards, booklets, 09:48:29a
13 this marketing collateral that you and Mr. Gwynn 09:48:42a
14 created, at this time, between 1995 and 2000, were they 09:48:44a
15 distributed via the 1nternet or, you know, what we call 09:48:51a
16 now "snail mail"? How were they gotten out to the 09:48:56a
17 public, to the consuming public? 09:48:59a
18 MR. SMELTZER: 1'm sorry. What kind of 09:49:00a
19 things distributed? 1 missed the first part of 09:49:02a
20 that. 09:49:06a
21 MR. LEYVA: That's fine. 09:49:06a
22 Q. 1 believe Mr. Rabon said that Mr. Gwynn and 09:49:08a
23 himself created certain marketing collateral -- fliers, 09:49:10a
24 postcards, booklets, advertising marketing stuff, 09:49:18a
25 right, to improve the sales of the store, 1 think. 15 09:49:22a

 

 

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1 that correct? 09:49:24a
2 A. Just like any advertising. 09:49:26a
3 Q. Right, exactly. And you guys -- you and 09:49:27a
4 Martin jointly participated in the creation of that 09:49:30a
5 collateral. 09:49:32a
6 A. Yes. 09:49:34a
7 Q. That stuff. Okay. 09:49:34a
8 And so my question was, during this time, was 09:49:35a
9 that collateral, that stuff, distributed electronically 09:49:39a
10 via E-mail or via the U.S. mail? 09:49:43a
11 A. U.S. mail. 09:49:47a
12 Q. Okay. And 1 may have confused you, and -- 09:49:47a
13 some of us refer to that as "snail mail" now. 09:49:52a
14 A. Right. you can't electronically send a paid 09:49:54a
15 piece of paper, 1 don't think. 09:50:00a
16 Q. Well, you can today, That's what 1 meant. 09:50:00a
17 The 1nternet was starting at that time, right? 09:50:04a
18 1t really hadn't taken off, 1 don't think, but it was 09:50:09a
19 around in 1995. So 1 was just trying to clarify: Was 09:50:12a
20 this done, you know, via paper or over the 1nternet? 09:50:14a
21 Okay. 09:50:19a
22 Do you recall that you and/or Mr. Gwynn 09:50:20a
23 jointly produced a postcard for holiday 1998 featuring 09:50:26a
24 four Big Rock Fish T-shirts? 09:50:30a
25 A. Yes, Big Rock T-shirts. 09:50:37a

 

 

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1 Q. Yes. 09:50:39a
2 A. Yes. 09:50:40a
3 Q. Now, was Big Rock a brand name? A supplier? 09:50:41a
4 1 mean -- 09:50:47a
5 A. Yes. 09:50:48a
6 Q. Okay. They supplied T-shirts. 09:50:48a
7 A. Yes. 09:50:52a
8 Q. A kind of T-shirts. Okay. 09:50:52a
9 And the Countryside store sold those T-shirts? 09:50:54a
10 A. Yes. 09:50:57a
11 Q. Okay. And so this postcard was to promote the 09:50:58a
12 sales of those T-shirts? 09:51:01a
13 A. Yes. 09:51:03a
14 Q. What kind of relationship did -- 09:51:08a
15 A. One of the postcards. 09:51:10a
16 Q. Okay. There were more. What did the other 09:51:11a
17 postcards target? 09:51:16a
18 A. 1 don't recall what they would be, but we sold 09:51:17a
19 suits and coats in that store as well. 09:51:19a
20 Q. So there may have been postcards for other 09:51:22a
21 stuff other than T-shirts. 09:51:24a
22 A. Yes. 09:51:25a
23 Q. Okay. Now, how would you describe the working 09:51:25a
24 relationship or the business relationship between 09:51:33a
25 WSC -- or maybe it was just the Countryside store -- 09:51:36a

 

 

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1 and Big Rock? 09:51:40a
2 A. 1 don't understand the question. 09:51:42a
3 Q. 1 mean, did you have a good working 09:51:43a
4 relationship? When they said they were going to ship 09:51:45a
5 goods, did they ship them on time? When they said 09:51:48a
6 there were goods available, were they available? 09:51:51a
7 A. Sometimes yes, sometimes no. 09:51:53a
8 Q. Okay. Now, at the time you created this 09:51:55a
9 postcard to promote these Big Rock T-shirts, did they 09:51:58a
10 actually have the T-shirts in inventory to fulfill the 09:52:06a
11 demand that was created by the promotion? 09:52:12a
12 MR. SMELTZER: Did Big Rock? 09:52:14a
13 MR. LEYVA: Do you recall? Yeah, Big Rock. 09:52:17a
14 THE DEPONENT: Yes and no. 09:52:18a
15 BY MR. LEYVA: 09:52:21a
16 Q. So they fulfilled part of the demand and they 09:52:21a
17 couldn't fulfill the rest of the demand? Or how would 09:52:23a
18 you characterize that? 09:52:26a
19 A. First of all, we had Big Rock T-shirts in the 09:52:28a
20 store before the postcards. 09:52:30a
21 Q. Okay. 09:52:32a
22 A. 1t had been an ongoing vendor of that store, 09:52:34a
23 Q. Sure. 09:52:37a
24 A. So sometimes they had the T-shirts and 09:52:40a
25 sometimes they didn't. 09:52:43a

 

 

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1 Q. Okay. But 1 had a specific question here 09:52:45a
2 related to this postcard marketing campaign -- 09:52:47a
3 A. Right. 09:52:50a
4 Q. -- that was created, Right? And you guys 09:52:50a
5 created and distributed this postcard, 1'm assuming, to 09:52:53a
6 increase demand for these T-shirts that the Countryside 09:52:56a
7 store would sell; is that correct? 09:53:01a
8 A. Not solely to increase the demand. 09:53:03a
9 Q. Okay. For what other reasons would you -- 09:53:06a
10 A. To market Hurricane Pass Outfitters and 09:53:08a
11 Trading Company. 09:53:12a
12 Q. So not just to sell T-shirts, but to get the 09:53:12a
13 brand out there? 09:53:17a
14 A. Yes. 09:53:18a
15 Q. Right? 1 mean -- okay. 09:53:18a
16 So it had a dual -- the postcard and this 09:53:22a
17 other collateral as well had dual purposes? 09:53:25a
18 A. What other collateral? 09:53:28a
19 Q. Fliers, booklets, things that we talked about 09:53:29a
20 that you and Mr. Gwynn jointly created, 09:53:33a
21 A. Advertising the name and the product and/or 09:53:36a
22 price. 09:53:38a
23 Q. Right. So 1 want to get back to, though, this 09:53:38a
24 particular holiday 1998 postcard, this particular one. 09:53:46a
25 Was it widely distributed by the store, by the 09:53:53a

 

 

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1 Countryside store? 09:53:58a
2 A. 1 can't recall what list we would have used -- 09:54:04a
3 Q. Right. 09:54:06a
4 A. -- to distribute it. 09:54:07a
5 Q. Okay. Do you recall that it produced 09:54:08a
6 significant or good demand? How would you 09:54:12a
7 characterize -- 09:54:15a
8 A. The result was good. 09:54:16a
9 Q. So, my question specifically was related to 09:54:17a
10 this holiday 1998 postcard, and only related to this 09:54:20a
11 1998. Did Big Rock have the merchandise on hand to 09:54:26a
12 fulfill the demand that you guys created? 09:54:31a
13 A. Yes and no. 09:54:34a
14 Q. Okay. So we're good. So, they fulfilled some 09:54:36a
15 of the demand created by the 1998 postcard, and not all 09:54:41a
16 of it. 09:54:46a
17 What do you mean by "No"? "Yes" and "No." 09:54:47a
18 1'll let you explain that. What do you mean by "Yes" 09:54:49a
19 and "No"? 09:54:52a
20 A. Okay. We procured or made -- had purchase 09:54:52a
21 orders for "X" amount of T-shirts from Big Rock. 09:55:01a
22 Q. Okay. 09:55:04a
23 A. We took approximately half of that order in 09:55:04a
24 initially to support -- 1 don't recall if it was the 09:55:09a
25 postcard or just the store -- but then we were to bring 09:55:16a

 

 

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1 in the balance of it at some later date. 09:55:22a
2 When we went to bring in the balance at some 09:55:26a
3 later date, they had sold perhaps 50 percent of what 09:55:28a
4 they should have held for Hurricane Pass Outfitters and 09:55:32a
5 Trading Company -- they had sold it to other clients. 09:55:35a
6 Q. Okay. 09:55:39a
7 A. So yes, they supported it; yes, we had plenty 09:55:39a
8 of inventory, but then they didn't have all that we had 09:55:43a
9 ordered, in the end. 09:55:50a
10 Q. Right, correct. So, for that second half of 09:55:51a
11 the purchase order that they didn't fulfill, it appears 09:55:57a
12 that Countryside generated more demand, right, than 09:56:02a
13 there were inventory, 09:56:08a
14 1 mean, you had some customers that were 09:56:08a
15 looking for goods, these T-shirts, and they couldn't 09:56:11a
16 get them. 09:56:13a
17 MR. SMELTZER: 1'll object to the form of 09:56:15a
18 the question. 1t mischaracterizes what he said. 09:56:15a
19 THE DEPONENT: We still -- We still -- We 09:56:20a
20 had inventory of the T-shirts -- 09:56:22a
21 BY MR. LEYVA: 09:56:24a
22 Q. Right. 09:56:24a
23 A. -- of all the designs. 1 would say, more 09:56:25a
24 likely, they didn't -- they didn't have the product for 09:56:29a
25 which 1 needed it for. 09:56:37a

 

 

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1 1 wanted to sustain the business, and they had 09:56:42a
2 sold a portion of the balance of the inventory, 09:56:46a
3 Q. Okay. 1 mean, that's fair. 1'm just trying 09:56:51a
4 to be clear whether you had customers coming into the 09:56:53a
5 store wanting to get the T-shirts, and you couldn't 09:56:55a
6 fulfill it, okay. 09:56:58a
7 A. As it happens with every single vendor. 09:56:59a
8 Q. Right. And you said -- the other thing was 09:57:02a
9 you wanted product that was selling well, the second 09:57:04a
10 half of this purchase order. 09:57:09a
11 A. As with any other product, yes. 09:57:09a
12 Q. Okay. Now, to the best of your understanding, 09:57:12a
13 was this experience with Big Rock the genesis of what 09:57:25a
14 1'm calling HTPGP General Partnership between you, 09:57:31a
15 Mr. Gwynn, Ms. Zimmerman? 09:57:36a
16 A. What do you mean, "genesis"? 09:57:38a
17 Q. Well, Big Rock sold T-shirts, correct? 09:57:40a
18 Apparently they were unable to fulfill a particular 09:57:45a
19 purchase order, not to your satisfaction. They said 09:57:47a
20 they were going to fulfill it; for whatever reason, 09:57:51a
21 they sold it. 09:57:54a
22 Did that trigger the idea, in your mind, 09:57:55a
23 Mr. Gwynn's mind, "Why don't we go into the T-shirt 09:57:58a
24 business"? 09:58:01a
25 A. 1 wouldn't say solely. 09:58:02a

 

 

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1 Q. Okay. But what other factors, then? So -- 09:58:03a
2 A. What factored into it was the department that 09:58:08a
3 1 created within William Short Clothiers called 09:58:11a
4 Hurricane Pass Outfitters and Trading Company that sold 09:58:14a
5 a number of vendor brands that had marine-themed fish 09:58:18a
6 and the like on that clothing. 09:58:24a
7 Q. Okay. 09:58:27a
8 A. So, having that merchandise in the store -- 09:58:27a
9 Q Right. 09:58:31a
10 A. -- and seeing the interest in it and the 09:58:31a
11 specific T-shirts with fish on them, it was a 09:58:34a
12 culmination of all of that. 09:58:39a
13 Q. Okay. 09:58:41a
14 A. That had -- 09:58:41a
15 Q. So some activities you were already doing, 09:58:42a
16 right? 09:58:44a
17 A. Yes. 09:58:45a
18 Q. They were somewhat analogous to what Big Rock 09:58:45a
19 did. 09:58:48a
20 A. Yes. 09:58:49a
21 Q. 1'm assuming Big Rock had -- yes. They were 09:58:49a
22 fish T-shirts; is that correct? 09:58:53a
23 A. The ones that we bought from them, yes. 09:58:54a
24 Q. So you kind of had a fish concept or something 09:58:57a
25 already within this division that you created, 09:58:59a

 

 

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1 A. Yes. 09:59:02a
2 Q. Okay. And those two things jointly triggered 09:59:02a
3 the partnership, or the idea for the partnership? 09:59:07a
4 MR. SMELTZER: 1'll object just to the use 09:59:10a
5 of the "division." 1 think he said 09:59:13a
6 "department." 09:59:15a
7 MR. LEYVA: Can you read that back. 09:59:16a
8 (Record read at this point.) 09:59:18a
9 MR. SMELTZER: 1 don't know if that's 10:00:05a
10 meaningful. 1 just wanted to get the verbiage 10:00:06a
11 consistent. 10:00:09a
12 MR. LEYVA: No, that's fine. 10:00:09a
13 Q. Mr. Rabon, 1'm going to switch gears here a 10:00:17a
14 little bit and start talking about corporations, 10:00:20a
15 starting with Rabco. And the time period that we're in 10:00:25a
16 now is Rabco post July 2002, 10:00:29a
17 A. Okay. 10:00:36a
18 Q. So, July 2002 being when Hurricane Pass 10:00:36a
19 Traders, 1nc., was incorporated, 10:00:39a
20 A. Okay. 10:00:43a
21 Q. So that's the line of demarcation. 10:00:43a
22 1 know 1've asked you this, but 1'm just 10:00:51a
23 trying to establish the time period maybe a little more 10:00:55a
24 specifically. 10:00:59a
25 1n July, 2002, had you already purchased the 10:01:02a

 

 

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1 assets and certain debt from WSC, or did it occur after 10:01:06a
2 that? 10:01:11a
3 A. 1 don't recall that specific -- 10:01:15a
4 Q. Whether it was before or after? 10:01:20a
5 A. Yeah. 1 don't recall that. 10:01:21a
6 Q. Was it on or about that time frame, though? 10:01:22a
7 A. 1n and around, perhaps, yes. 10:01:24a
8 Q. Shortly before or shortly after? 10:01:26a
9 A. 1 can't say. 10:01:28a
10 Q. 1 mean, was it a year before? A year after? 10:01:29a
11 A. 1 don't recall. 1 guess Hurricane Pass 10:01:48a
12 Traders was after it. 1 don't recall -- 10:01:51a
13 Q. So the incorporation of Hurricane Pass 10:01:56a
14 Traders, 1nc., in July 2002, was after the asset -- 15 10:02:00a
15 that what you -- 10:02:04a
16 A. 1 don't recall specifically -- 10:02:05a
17 Q. No, that's fine. 1'm not trying to press you. 10:02:08a
18 1 mean, you think it was after. 10:02:11a
19 A. Yes. 10:02:13a
20 Q. Okay. At any rate, it was sometime near this 10:02:13a
21 time period, 10:02:17a
22 A. Yes. 10:02:18a
23 Q. Okay. At this time period, July 2002, who 10:02:18a
24 were the officers of Rabco, and what positions did they 10:02:26a
25 hold? 10:02:31a

 

 

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1 A. 1 was -- 1'm recalling 1 was the President. 10:02:35a
2 Q. Right. 10:02:39a
3 A. 1 do not recall the title of my wife. 10:02:40a
4 Virginia had a title, and 1 don't recall what that was. 10:02:49a
5 Q. Were those the only officers in July of 2002? 10:02:57a
6 A. 1 believe, 10:03:03a
7 Q. Okay. 10:03:04a
8 A. 1'm not totally sure. 10:03:04a
9 Q. Mr. Short was not an officer? 10:03:07a
10 A. 1 don't recall that. 1 don't know that. 10:03:09a
11 MR. SMELTZER: Are we talking about Rabco? 10:03:10a
12 MR. LEYVA: Yes. 10:03:13a
13 Q. So he may have been; you just don't recall. 10:03:13a
14 A. Yes. 10:03:16a
15 Q. Okay. And your wife, Kathy, may have had a 10:03:16a
16 title, and you don't recall that? What -- 10:03:20a
17 A. Yes. 10:03:23a
18 Q. As an officer. 10:03:23a
19 A. Yes. 10:03:24a
20 Q. Okay. Did Rabco have a Board of Directors? 10:03:25a
21 A. Yes. 10:03:31a
22 Q. And who was on the Board? 10:03:32a
23 A. Those same people, 10:03:34a
24 Q. So, your wife? 10:03:37a
25 A. Right. 10:03:39a

 

 

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1 Q. Yourself, Ms. Hunter, 10:03:39a
2 A. Yes. 10:03:42a
3 Q. And possibly Mr. Short? 10:03:44a
4 A. Yes. 10:03:46a
5 Q. Okay. Did Board members receive compensation 10:03:46a
6 for participating on the Board? 10:03:55a
7 A. 1 don't believe so. 10:04:16a
8 Q. To the best of your understanding, had the 10:04:21a
9 Board members received compensation, would that 10:04:23a
10 compensation be reflected in your Quickbooks? 10:04:25a
11 MR. SMELTZER: Objection, calls for 10:04:34a
12 speculation. 10:04:35a
13 THE DEPONENT: What time frame? 10:04:41a
14 BY MR. LEYVA: 10:04:44a
15 Q. July of 2002, On or about there. 10:04:44a
16 A. 1n July of 2002, 1 don't recall that that -- 10:04:50a
17 that there -- 1 don't recall Board members receiving a 10:04:57a
18 salary. 10:05:02a
19 Q. At any time after that, did the Board members 10:05:02a
20 receive compensation? 10:05:05a
21 A. Not all of them. 10:05:07a
22 Q. Some Board members did? 10:05:09a
23 A. Yes. 10:05:11a
24 Q. Which Board members did? 10:05:11a
25 A. Kathy Rabon. 10:05:12a

 

 

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1 Q. And? That was it? 10:05:14a
2 A. As 1 recall. 10:05:16a
3 Q. Ms. Hunter didn't receive? 10:05:17a
4 A. No. 10:05:19a
5 Q. Mr. Short didn't receive? 10:05:19a
6 A. No. 10:05:20a
7 Q. Okay. 1 mean, you were the President of the 10:05:21a
8 company. 10:05:25a
9 MR. SMELTZER: Presuming he was on the 10:05:26a
10 Board. 10:05:28a
11 MR. LEYVA: Yeah, yeah. We don't know. 10:05:28a
12 That's an open question, right. 10:05:30a
13 MR. SMELTZER: 1 guess that's an objection 10:05:31a
14 to form. Sorry. 10:05:32a
15 BY MR. LEYVA: 10:05:37a
16 Q. 1 mean, the compensation was paid, was it not, 10:05:37a
17 from a Rabco bank account, to the Board members? 10:05:42a
18 MR. SMELTZER: Objection as to form. 10:05:46a
19 BY MR. LEYVA: 10:05:48a
20 Q. How was the compensation to the Board members 10:05:48a
21 paid -- to your wife? 10:05:50a
22 MR. SMELTZER: The same -- 10:05:52a
23 BY MR. LEYVA: 10:05:56a
24 Q. You indicated that your wife received 10:05:56a
25 compensation as being a Board member. 10:05:58a

 

 

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1 A. Yes. 10:06:00a
2 Q. 1n what form was that compensation paid? 10:06:00a
3 A. She would have received a check. 10:06:03a
4 Q. And how often was that check written? 10:06:05a
5 Monthly? Quarterly? Yearly? 10:06:08a
6 A. 1f 1 had to recall, monthly. 10:06:10a
7 Q. And do you recall the amount? 10:06:13a
8 A. 1 think it was a thousand dollars. 10:06:14a
9 Q. Okay. Now, did your wife, Kathy, play an 10:06:17a
10 active role in managing Rabco's affairs? 10:06:24a
11 A. No. 10:06:28a
12 Q. So her role was as a Board member? 10:06:30a
13 A. Yes. 10:06:35a
14 Q. Was that the extent of her role? 10:06:36a
15 A. No. 10:06:41a
16 Q. Okay. So what other roles did she play other 10:06:42a
17 than Board member? 10:06:46a
18 A. Well, we discussed on numerous occasions the 10:06:47a
19 activities of the business, potential leases. She 10:06:54a
20 would have input into all of that. 10:06:58a
21 Q. Okay. So she was a 50 percent shareholder. 10:07:01a
22 A. Exactly. 10:07:03a
23 Q. Correct. So she was going to have some input 10:07:04a
24 into strategy. 10:07:07a
25 A. Right. 10:07:07a

 

 

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1 Q. Right? Now, did Kathy receive a salary from 10:07:08a
2 Rabco? 10:07:15a
3 A. Not to my knowledge, no. 10:07:16a
4 Q. Okay. Did Kathy receive any other kind of 10:07:18a
5 compensation? The use of a company automobile? 10:07:27a
6 Whatever form that might be. 10:07:31a
7 A. 1 don't recall an automobile. 10:07:43a
8 Q. Okay. Now, you previously testified that you 10:07:45a
9 had two sons; is that correct? 10:07:55a
10 A. Uh-huh. Yes. 10:07:58a
11 Q. One is Casey. 10:07:59a
12 A. Yes. 10:08:00a
13 Q. And the other one? 10:08:00a
14 A. Chad. 10:08:02a
15 Q. Chad. Okay. 10:08:03a
16 Now, was Casey Rabon ever a WZ employee -- 10:08:04a
17 A. Yes. 10:08:10a
18 Q. -- of Rabco? 10:08:10a
19 And what was Casey's duties and/or 10:08:14a
20 responsibilities? What did he do? 10:08:16a
21 A. He worked in our stores in the summers and 10:08:18a
22 perhaps over the holidays. 10:08:20a
23 Q. Do you recall his salary? 10:08:23a
24 A. 1 don't. 10:08:27a
25 Q. Did Casey receive any other type of 10:08:30a

 

 

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1 compensation from Rabco? The use of an automobile? 10:08:33a
2 A. He had an automobile. 10:08:38a
3 Q. That was paid for by -- was it a Rabco 10:08:39a
4 automobile? 10:08:42a
5 A. Yes. 10:08:42a
6 Q. Rabco paid for the gas? 10:08:43a
7 A. No. 10:08:45a
8 Q. Rabco pay for the insurance? 10:08:45a
9 A. Yes. 10:08:47a
10 Q. Rabco pay for the maintenance? 10:08:50a
11 A. No, not exclusively. 10:08:54a
12 Q. Okay. So Casey paid some of the maintenance; 10:08:57a
13 is that correct? 10:09:00a
14 A. Or 1 did personally. 10:09:00a
15 Q. Or you did personally. 10:09:02a
16 MR. SMELTZER: 1'm going to object to the 10:09:03a
17 relevance of the line of questioning. 10:09:04a
18 BY MR. LEYVA: 10:09:11a
19 Q. Now, did Casey attend college? 10:09:11a
20 A. Yes. 10:09:13a
21 Q. What college did he attend? 10:09:13a
22 A. Florida Southern College. 10:09:14a
23 Q. And did Casey remain a WZ employee of Rabco 10:09:18a
24 during the time that he attended college? 10:09:20a
25 A. At times. 10:09:22a

 

 

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1 Q. How would you characterize that, "at times"? 10:09:25a
2 1 mean, he was away at college and he remained a WZ 10:09:29a
3 employee; is that correct? 10:09:33a
4 A. For the first year-and-a-half or so of college 10:09:36a
5 he was not. 10:09:38a
6 Q. Okay. For the time that he was at college and 10:09:41a
7 he was a WZ employee, what was his role in Rabco? 10:09:49a
8 A. He was kind of an extended marketing type 10:09:54a
9 person. 10:10:02a
10 Q. Okay. And what did he do in those extended 10:10:04a
11 marketing type activities? 10:10:08a
12 A. Some of his activities included maybe wearing 10:10:09a
13 Guy Harvey product around the school, which is very 10:10:12a
14 popular amongst college university students. 10:10:15a
15 Q. Okay. 10:10:17a
16 A. Talking about the product, 10:10:17a
17 Q. Okay. Did his salary remain the same when he 10:10:19a
18 worked in the summer and when he was away to school? 10:10:24a
19 A. 1 don't remember. 10:10:26a
20 Q. Okay. Did any of your other children work at 10:10:27a
21 Rabco? 10:10:31a
22 A. Yes. 10:10:32a
23 Q. 1 assume Chad. What was Chad's roles, 10:10:32a
24 responsibilities? 10:10:38a
25 A. Chad was a salesman. 1 don't recall ever -- 10:10:38a

 

 

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1 it's possible 1 let him be a manager for a while, but 1 10:10:47a
2 think he was predominantly a salesman. 10:10:51a
3 Q. Do you recall his salary? 10:10:53a
4 A. No. 10:10:54a
5 Q. Did Chad receive any other type of 10:10:59a
6 compensation? A company automobile? 10:11:01a
7 A. No. 10:11:06a
8 Q. Did he -- 10:11:14a
9 A. Well, he may have had a company automobile for 10:11:15a
10 a month or two. 10:11:20a
11 Q. Okay. 10:11:22a
12 A. 1 don't recall him having a vehicle in the 10:11:23a
13 company other than a month or two, perhaps. 10:11:28a
14 Q. Now, were there other store managers, store 10:11:31a
15 employees, that had vehicles, company vehicles? 10:11:34a
16 A. Yes. 10:11:36a
17 Q. Did all the store managers? 10:11:36a
18 A. No. 10:11:37a
19 Q. How was that determined? 10:11:38a
20 A. Need. 10:11:42a
21 Q. Whether a particular store manager had a need, 10:11:46a
22 1 mean -- 10:11:48a
23 A. For that position, 10:11:49a
24 Q. To fulfill business requirements? 10:11:52a
25 A. Right. 10:11:54a

 

 

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1 Q. Okay. 1'm going to transition now, we're 10:11:55a
2 going off to a different topic. 10:12:06a
3 Did the shareholders of Rabco make loans to 10:12:07a
4 Rabco? 10:12:10a
5 A. Yes. 10:12:11a
6 Q. And why were these loans required? 10:12:15a
7 MR. SMELTZER: Objection as to form. 10:12:18a
8 THE DEPONENT: The loan, as 1 recall it, 10:12:24a
9 was in the form -- this is a recollection. 1t 10:12:32a
10 was paid to me as a -- Rabco paid me a -- like a 10:12:39a
11 lump sum distribution. 1 paid the taxes on that 10:12:46a
12 lump sum distribution. My tax rate would be 10:12:51a
13 lower than Rabco's, and then 1 lent the money 10:12:55a
14 back to the company. 10:12:59a
15 BY MR. LEYVA: 10:13:03a
16 Q. So there was some tax advantage from 10:13:03a
17 structuring the loan that way? 10:13:06a
18 A. For the company. 10:13:08a
19 Q. Yes. 10:13:09a
20 A. Yes. 10:13:10a
21 Q. Yes. Now, you said just one loan. Was that 10:13:11a
22 the only loan that was ever made by a shareholder? 10:13:14a
23 A. As 1 recall. 10:13:16a
24 Q. Okay. Was there any interest paid on these 10:13:18a
25 loans? 10:13:21a

 

 

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1 A. 1t's possible. 1 don't recall. 1t could -- 10:13:29a
2 it's possible. 10:13:37a
3 Q. Okay. And to the best of your recollection, 10:13:37a
4 were all such loans repaid by Rabco to the 10:13:42a
5 shareholders? 10:13:47a
6 A. No. 10:13:48a
7 Q. They were not repaid? 10:13:49a
8 A. No. 10:13:50a
9 Q. And there was only this one particular loan -- 10:13:54a
10 A. As 1 recall. 10:13:57a
11 Q. -- right? 10:13:57a
12 So we're just talking about one loan. Do you 10:13:58a
13 recall the amount of that loan? 10:14:00a
14 A. 1 don't. 1t could be in the 30 to $40,000 10:14:05a
15 range. 10:14:10a
16 Q. And do you recall how much of that loan was 10:14:14a
17 repaid? 10:14:17a
18 A. No. 10:14:18a
19 Q. But some of it was repaid? 10:14:22a
20 A. Yes. 10:14:23a
21 Q. Okay. 10:14:23a
22 A. 1t could have been more. 1 don't recall the 10:14:28a
23 number. 10:14:30a
24 Q. That's fine. Now, were these loans repaid 10:14:30a
25 anytime within two years of Rabco's bankruptcy filing? 10:14:36a

 

 

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1 MR. SMELTZER: 1'll object to the relevancy 10:14:40a
2 to this action. 10:14:41a
3 THE DEPONENT: What's the question? 10:14:42a
4 MR. LEYVA: Answer the question, please. 10:14:43a
5 THE DEPONENT: What's the question? 10:14:45a
6 BY MR. LEYVA: 10:14:46a
7 Q. Were any of these loans repaid within two 10:14:46a
8 years of Rabco's bankruptcy filing? This one loan that 10:14:49a
9 you talked about, the 30, $40,000, were there payments 10:14:54a
10 made -- any payments made -- 10:14:57a
11 A. 1 don't recall that. 1 don't know. 10:15:00a
12 Q. Okay. 10:15:02a
13 A. 1'm sorry. 10:15:02a
14 Q. No, that's fine. Would you like to take a 10:15:03a
15 break? 10:15:08a
16 A. Yeah, 1 could hit the restroom. 10:15:10a
17 MR. LEYVA: Anybody need a break? 10:15:13a
18 MR. SMELTZER: Sure. Can we do a 10:15:14a
19 housekeeping matter on the record first? 10:15:19a
20 Carlos, 1 wanted to give you some 10:15:20a
21 documents. 1'm not going to bore the court 10:15:24a
22 reporter with all of the Bates numbers, but 10:15:29a
23 basically it's within the -- 1 don't know that 10:15:32a
24 they're all sequential, but it looks like 10:15:35a
25 between RAB00001961 and 1993. There's a few 10:15:39a

 

 

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1 pages -- maybe one page missing in there that we 10:15:49a
2 had previously designated as Attorney's Eyes 10:15:52a
3 Only, but since they're Quickbooks reports, and 10:15:56a
4 we've removed the designation on Quickbooks as 10:16:00a
5 Attorney's Eyes Only, 1 want to give you these 10:16:02a
6 hard copies of the reports. 10:16:06a
7 MR. LEYVA: Okay. 10:16:07a
8 MR. SMELTZER: Under a Confidential 10:16:08a
9 designation rather than Attorney's Eyes Only, 10:16:09a
10 MR. LEYVA: Got it. Yeah. 10:16:12a
11 (Recess held at this time.) 10:16:13a
12 BY MR. LEYVA: 10:28:13a
13 Q. Mr. Rabon, 1 would like to take us back to the 10:28:13a
14 time frame of July 2002, the time frame, more or less, 10:28:19a
15 we established that assets were purchased from WSC, 10:28:25a
16 okay, and liabilities. So 1'm going to go back as far 10:28:28a
17 as the dates, but that time frame. 10:28:32a
18 A. Okay. 10:28:34a
19 Q. You said it was a little before, a little 10:28:34a
20 after. 10:28:37a
21 Now, did Rabco buy WSC's shares -- that is, 10:28:38a
22 the company -- in its entirety? Was it that kind of 10:28:44a
23 transaction? 10:28:47a
24 A. There -- Ask the question one more time, 10:28:52a
25 Q. There's several ways that these deals can be 10:28:58a

 

 

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1 structured, okay. Sometimes a company just out -- you 10:29:01a
2 know, HP buys a company in its entirety, right, they 10:29:06a
3 buy all the shares. They just don't own the company. 10:29:11a
4 They don't buy specific assets. 10:29:13a
5 A. HP? 10:29:15a
6 Q. Hewlett Packard -- 10:29:16a
7 A. Okay. 10:29:18a
8 Q. -- Microsoft, Google. 1'm just trying to give 10:29:18a
9 you an example of what 1 mean, Right. 10:29:21a
10 They buy the shares of this company, and they 10:29:22a
11 own all the shares, okay. And other times there's just 10:29:24a
12 assets that are bought. 10:29:26a
13 And 1'm just trying to figure out, this 10:29:29a
14 arrangement between you and WSC -- between Rabco and 10:29:32a
15 WSC, was it just assets and liabilities, or did you buy 10:29:36a
16 shares? 10:29:39a
17 A. Did not buy shares. 10:29:41a
18 Q. You did not buy shares. Okay. 10:29:42a
19 So you bought assets, correct? 10:29:49a
20 A. Yes. 10:29:52a
21 Q. Did you buy all of WSC's assets? 10:29:52a
22 A. Yes. 10:29:58a
23 Q. All of them? 10:29:59a
24 A. To my knowledge, yes. 10:30:00a
25 Q. Okay. And you bought WSC's liabilities as 10:30:02a

 

 

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1 well? Or, did you buy WSC's liabilities? Debt. 10:30:09a
2 A. We assumed those. 10:30:15a
3 Q. Yes. 10:30:15a
4 A. Yes. 10:30:16a
5 Q Did you assume all WSC's -- 10:30:16a
6 A. To my knowledge, 10:30:20a
7 Q. -- debt? 10:30:22a
8 Now, was there any written agreement that 10:30:28a
9 memorialized the purchase of these assets and 10:30:30a
10 liabilities? 10:30:33a
11 A. There were. There was minutes from meetings 10:30:35a
12 at that point about the agreement, and recently 1 did a 10:30:47a
13 document that reaffirmed what that agreement was about, 10:30:58a
14 Q. How recent was that document done? 10:31:06a
15 A. Last few months. 10:31:08a
16 Q. And for what purpose? 10:31:11a
17 A. Just to confirm what the agreement was for. 10:31:12a
18 Q. Was that document executed by yourself and 10:31:19a
19 Mr. Short? 10:31:22a
20 A. By myself. 10:31:22a
21 Q. Mr. Short did not sign that? 1 mean, did you 10:31:24a
22 create this document saying, "This memorializes our 10:31:26a
23 arrangement," and you both signed, or -- 10:31:30a
24 A. 1 signed it as President of the company. 10:31:32a
25 Q. Okay. But Mr. Short didn't sign it? 10:31:34a

 

 

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1 A. Right. 10:31:37a
2 Q. Okay. And just to be clear, then, other than 10:31:37a
3 this document that you created as of a couple months 10:31:52a
4 ago, and meeting minutes at the time -- are those 10:31:55a
5 minutes available? 10:31:59a
6 A. 1 believe they are. 10:31:59a
7 MR. SMELTZER: Those are my Attorney's Eyes 10:32:01a
8 Only docs. 10:32:03a
9 MR. LEYVA: Okay. 10:32:04a
10 MR. SMELTZER: As is the other one, which 10:32:05a
11 we can talk about, 10:32:07a
12 MR. LEYVA: Okay, that's fine. 10:32:08a
13 Q. So there were the meeting minutes that were 10:32:16a
14 available, right; there's this document you created as 10:32:20a
15 of two months ago. Any other documents other than the 10:32:23a
16 accounting transactions entered on the respective 10:32:31a
17 books? 10:32:34a
18 A. Ask that one more time, 10:32:37a
19 Q. Let me break it up for you. 10:32:41a
20 So, when you bought these assets, right, from 10:32:43a
21_ WSC, they became assets on Rabco's books, did they not? 10:32:46a
22 A. Yes. 10:32:51a
23 Q. So that's a form of capturing what was bought, 10:32:52a
24 because it probably came off of WSC's books and came 10:32:57a
25 onto your books. 10:33:00a

 

 

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1 A. Yes. 10:33:01a
2 Q. The same thing for the liabilities, the debt 10:33:01a
3 that you bought. 10:33:05a
4 A. Yes. 10:33:05a
5 Q. Right? Would have come off of WSC's books and 10:33:06a
6 gone onto your books, correct? 10:33:10a
7 A. Yes. 10:33:11a
8 Q. So, 1'm just trying to summarize, we have 10:33:11a
9 three things that memorialize the transfer: The 10:33:15a
10 minutes, this document you created, and the entries 10:33:18a
11 made in the accounting of the respective companies. 10:33:21a
12 A. Yes. 10:33:25a
13 Q. Right? And that's the extent of it. 10:33:25a
14 A. Yes. 10:33:27a
15 Q. Okay. Were there any intellectual property 10:33:28a
16 assets, copyrights, trademark, trade secrets, that were 10:33:36a
17 bought from WSC? 10:33:40a
18 MR. SMELTZER: 1'll object to the form. 1 10:33:46a
19 think it's been asked and answered. 10:33:48a
20 THE DEPONENT: Ask -- 10:33:50a
21 MR. LEYVA: No, this is a specific question 10:33:52a
22 of a type of asset. 10:33:53a
23 Q. You say that you purchased all the assets. 10:33:54a
24 1'm asking about a specific type of asset. 10:33:56a
25 A. 1t would have included those. 10:33:59a

 

 

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1 Q. Were there any, do you know, to the best of 10:34:00a
2 your knowledge -- 10:34:02a
3 MR. SMELTZER: 1'll object to the form. 10:34:02a
4 BY MR. LEYVA: 10:34:04a
5 Q. -- copyright, trademark, trade secrets? 10:34:04a
6 A. Ask that one more time, 10:34:08a
7 Q. Okay. Just to lay the predicate here. You 10:34:13a
8 have already indicated that Rabco bought all of WSC's 10:34:18a
9 assets, did you not? 10:34:23a
10 A. Right. 10:34:24a
11 Q. Okay. But 1'm asking a specific question 10:34:25a
12 about a type of asset that was bought. 10:34:30a
13 A. Yes. 10:34:32a
14 Q. All right. A trademark, a copyright, trade 10:34:32a
15 secrets. 10:34:38a
16 Were there any of those type of assets that 10:34:40a
17 were bought, to the best of your knowledge? 10:34:42a
18 A. To the best of my knowledge, it would have 10:34:44a
19 included all of that. 10:34:46a
20 Q. Okay. So assuming that it did include some of 10:34:51a
21 that, are you aware of how those assets, those 10:34:55a
22 intangible assets, would have been recorded on Rabco's 10:35:01a
23 books? 10:35:06a
24 A. 1'm not aware of how it would be recorded. 10:35:08a
25 Q. Okay. Was the Hurricane Pass trademark one of 10:35:11a

 

 

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1 the assets that was purchased from WSC at that time? 10:35:26a
2 MR. SMELTZER: Again, 1 think that's asked 10:35:42a
3 and answered, but you can answer. 10:35:43a
4 THE DEPONENT: What's that? 10:35:46a
5 MR. SMELTZER: 1 think that's asked and 10:35:47a
6 answered, but you can answer it again, 10:35:48a
7 THE DEPONENT: Was the -- Ask the question 10:35:55a
8 one more time, 10:35:56a
9 BY MR. LEYVA: 10:36:02a
10 Q. Well, let me ask this question: 15 it your 10:36:02a
11 contention that Rabco owns the Hurricane Pass 10:36:05a
12 trademark? 10:36:09a
13 A. Rabco owns it? 10:36:12a
14 Q. Yes. Do you believe -- 15 it your contention 10:36:13a
15 that Rabco owns the Hurricane Pass trademark? 10:36:18a
16 A. When? 10:36:25a
17 Q. Well, we're talking in the 2002 time period, 10:36:28a
18 But at any time, Now, 10:36:32a
19 Before you filed bankruptcy, did Rabco own the 10:36:33a
20 Hurricane Pass trademark? 10:36:37a
21 A. 1 would say yes. 10:36:40a
22 Q. 1 mean, you are aware, 1 believe, that it's 10:36:42a
23 listed in your bankruptcy petition as one of the assets 10:36:45a
24 that you own. 10:36:48a
25 A. Yes. 10:36:48a

 

 

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1 Q. Okay. So before filing bankruptcy, Rabco -- 10:36:49a
2 A. Yes. 10:36:52a
3 Q. -- owned -- 10:36:52a
4 And how did Rabco come to acquire ownership in 10:36:57a
5 the Hurricane Pass trademark? That was my question. 10:37:02a
6 Did you get that as an asset from WSC, or purchase it 10:37:04a
7 after that? 10:37:08a
8 How did you acquire ownership of the Hurricane 10:37:10a
9 Pass trademark? 10:37:13a
10 MR. SMELTZER: 1 think that's asked and 10:37:21a
11 answered, too, but -- 10:37:22a
12 THE DEPONENT: As 1 recall, 1 would -- not 10:38:00a
13 remembering the specific time frame, but that -- 10:38:06a
14 1 believe 1 would have -- that would have been 10:38:11a
15 part of that arrangement. 10:38:13a
16 BY MR. LEYVA: 10:38:17a
17 Q. The asset arrangement with WSC? 10:38:17a
18 A. 1'm sorry? 10:38:19a
19 Q. The asset purchase arrangement with WSC? 10:38:19a
20 A. 1 believe so. 10:38:22a
21 Q. Okay. Now, was Mr. Short's commission 10:38:24a
22 payments, royalty payments -- however we want to 10:38:33a
23 characterize them -- from 1nternet orders part of that 10:38:36a
24 original agreement? 10:38:39a
25 A. Yes, they were. He felt as though he was 10:38:43a

 

 

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1 entitled to it because the websites were developed 10:38:47a
2 while we were employed by him. 10:38:50a
3 Q. Now, did WSC ever sell goods online prior to 10:38:56a
4 the HTPGP partnership? Did they conduct E-commerce 10:39:04a
5 operations, actually sell online -- 10:39:10a
6 A. 1 believe so. 10:39:17a
7 Q. -- from their websites? 10:39:18a
8 A. Yes. 10:39:20a
9 Q. And those websites had shopping carts, or were 10:39:20a
10 they just displaying goods -- 10:39:23a
11 A. Shopping carts, 1 believe, 10:39:25a
12 Q. Do you recall which websites? WSC website, 10:39:27a
13 now, specifically. 10:39:33a
14 A. Shorts, 1nc., Hurricanepass.com. 10:39:35a
15 Q. So Hurricanepass.com was a domain name that 10:39:50a
16 was owned by WSC? 15 that -- 10:39:56a
17 A. Yes. 10:40:03a
18 Q. And that would have been part of the assets 10:40:04a
19 that you acquired from WSC? 10:40:05a
20 A. Yes. 10:40:07a
21 Q. Okay. So the commission payments for 1nternet 10:40:09a
22 orders for Mr. Short was part of the original 10:40:14a
23 arrangement, correct? That's what you indicated. 10:40:17a
24 Mr. Short's commission payments from 1nternet orders -- 10:40:22a
25 MR. SMELTZER: Asked and answered. 10:40:25a

 

 

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1 THE DEPONENT: 1t's not 1nternet orders. 10:40:26a
2 BY MR. LEYVA: 10:40:29a
3 Q. Okay. What was it? 10:40:29a
4 A. Sales. 10:40:31a
5 Q. All sales? 10:40:32a
6 A. 1nternet sales. 10:40:33a
7 Q. Okay. From 1nternet sales. 10:40:34a
8 A. You don't get a sale on every order. 10:40:37a
9 Q. That's fine. 10:40:38a
10 Now, is that arrangement between Rabco and 10:40:43a
11 Mr. Short -- was that captured in this document that 10:40:47a
12 you produced -- 10:40:50a
13 A. Yes. 10:40:52a
14 Q. -- two months ago? 10:40:52a
15 A. As 1 recall, yes. 10:40:53a
16 Q. Were the percentages captured? 10:40:54a
17 A. 1 don't recall that. 10:40:56a
18 Q. Was the threshold captured? 10:40:57a
19 A. 1 don't recall that. 10:41:00a
20 Q. Was there a threshold? 10:41:01a
21 A. Yes. 10:41:02a
22 Q. What was the threshold? 10:41:02a
23 A. 1 don't remember the number. 10:41:03a
24 Q. 10,000? 50,000? 100,000? 10:41:05a
25 MR. SMELTZER: Objection, calls for 10:41:10a

 

 

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1 speculation. 10:41:12a
2 THE DEPONENT: 1 don't recall. 10:41:13a
3 BY MR. LEYVA: 10:41:16a
4 Q. So, you don't know -- or do you know how long 10:41:16a
5 these commission payments were to go on? 10:41:19a
6 A. They were to go on for a period -- 1f you 10:41:25a
7 reached a plateau, a number that his commissions would 10:41:29a
8 equal, then they might have ceased or they might have 10:41:33a
9 been reduced. 10:41:38a
10 Q. And that plateau would be a revenue number, a 10:41:41a
11 payment number. An amount of money, right? 10:41:45a
12 A. A payment number. 10:41:50a
13 Q. Okay. 1 just want to be clear, That 10:41:52a
14 arrangement was captured in this document that you did 10:41:55a
15 a couple months ago, was it? 10:41:58a
16 A. Yes, as 1 recall, yes. 10:42:02a
17 Q. Okay. So, the flip side of that is these 10:42:05a
18 payments weren't to go on forever, right? 1 mean, 10:42:09a
19 there was definitely a cutoff point where you said, 10:42:14a
20 "The deal is done"; is that correct? 10:42:16a
21 A. The -- Ask it again, 10:42:19a
22 Q. When you entered into this agreement to pay 10:42:24a
23 Mr. Short commissions, right, for 1nternet sales, was 10:42:27a
24 it your intention that this commission would go on 10:42:33a
25 forever? 10:42:35a

 

 

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1 A. No. There would have been a stopping point. 10:42:36a
2 Q. There was a stopping point, right? 10:42:38a
3 A. Yes. 10:42:40a
4 Q. And that stopping point, you captured in -- 10:42:40a
5 you believe you captured in this document? 10:42:42a
6 A. Perhaps. 10:42:44a
7 Q. Okay. Certainly, it was your intention that 10:42:44a
8 they would stop at some point in time, 10:42:47a
9 A. Right. 10:42:49a
10 Q. Okay. Mr. Rabon, you're familiar with the 10:42:49a
11 term "per-pay-click advertising," are you not? 10:43:00a
12 A. Yes. 10:43:04a
13 Q. To the best of your knowledge, did Mr. Short, 10:43:04a
14 Mr. Gwynn and Rabco participate in the equal sharing of 10:43:12a
15 these per-pay-click costs monthly? 10:43:17a
16 A. Participated. 1 would say Mr. Short and 10:43:24a
17 Mr. Gwynn's commissions were reduced because of the 10:43:30a
18 pay-per-clicks. 10:43:38a
19 Q. Correct. And were they reduced -- Well, let 10:43:40a
20 me ask you this: Did Rabco participate -- 10:43:42a
21 A. Yes. 10:43:46a
22 Q. So is it fair to say that the participation 10:43:46a
23 was a third, a third, a third, in the cost? 10:43:49a
24 MR. SMELTZER: 1'll object to the form, 10:43:53a
25 mischaracterizes his testimony. 10:43:56a

 

 

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1 MR. LEYVA: 1'm asking -- 10:43:59a
2 THE DEPONENT: Ask it again, 10:44:00a
3 BY MR. LEYVA: 10:44:01a
4 Q. There were these per-pay-click costs, right, 10:44:01a
5 that were incurred on a monthly basis. What was the 10:44:05a
6 split between Mr. Short, Mr. Gwynn and Rabco in the 10:44:08a
7 percentage of the costs that each party -- 10:44:13a
8 A. 1 don't recall it exactly. 10:44:15a
9 MR. SMELTZER: Objection, He didn't say 10:44:16a
10 that they participated in the costs. 10:44:18a
11 MR. LEYVA: Can you read that back, please. 10:44:20a
12 MR. SMELTZER: You're misstating his prior 10:44:23a
13 testimony. 10:44:26a
14 MR. LEYVA: Can you read it back, please. 10:44:26a
15 (Record read at this point.) 10:44:29a
16 BY MR. LEYVA: 10:45:05a
17 Q. Okay. So 1'm going to ask a follow-up 10:45:05a
18 question again, since there was some confusion as to 10:45:08a
19 that. 10:45:10a
20 Mr. Gwynn and Mr. Short's commissions were 10:45:11a
21 reduced, correct? 10:45:14a
22 A. Yes. 10:45:15a
23 Q. Were they reduced by some percentage of the 10:45:17a
24 monthly costs? 10:45:20a
25 A. Their portion of those pay-per-clicks. 10:45:23a

 

 

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1 Q. Yes. 10:45:29a
2 A. Yes. 10:45:30a
3 Q. And by what percentage is that? 10:45:30a
4 A. You know, not recalling exactly, but it could 10:45:34a
5 have been a third, a third, 10:45:37a
6 Q. And did Rabco pay for the other third? 10:45:39a
7 A. Yes. 10:45:42a
8 Q. Did Rabco pay for the third from the company, 10:45:44a
9 or did you personally pay for the third? 10:45:48a
10 MR. SMELTZER: Object to the form. 10:45:51a
11 THE DEPONENT: 1 don't recall specifically. 10:45:56a
12 The company perhaps. 10:45:59a
13 MR. LEYVA: Okay. 10:45:59a
14 Q. Can you give me an approximate time frame -- 10:46:03a
15 months, years -- to the best of your understanding, how 10:46:09a
16 long these three parties -- Mr. Gwynn, Mr. Short and 10:46:14a
17 Rabco -- participated in splitting these per-pay-click 10:46:20a
18 costs? 10:46:26a
19 MR. SMELTZER: Objection, mischaracterizes 10:46:26a
20 the prior testimony. 10:46:27a
21 THE DEPONENT: 1 don't recall exactly how 10:46:31a
22 long. 10:46:32a
23 BY MR. LEYVA: 10:46:34a
24 Q. Can you just give me an approximate number? 10:46:34a
25 15 it three months? 10:46:37a

 

 

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1 MR. SMELTZER: Same objection. 10:46:38a
2 MR. LEYVA: Answer the question, please. 10:46:40a
3 THE DEPONENT: 1t was off-and-on. 10:46:41a
4 BY MR. LEYVA: 10:46:45a
5 Q. Can you explain to me what you mean by 10:46:45a
6 "off-and-on"? 10:46:47a
7 A. Sometimes we did them; sometimes we didn't. 10:46:47a
8 1t would be at Martin's suggestion that we do it, as it 10:46:51a
9 would be a different way to market, enhance his 10:46:59a
10 commission, 10:47:02a
11 Q. Okay. 1 want to introduce Exhibit 1. 10:47:07a
12 (Plaintiff's Exhibit 1 was marked for 10:47:14a
13 identification.) 10:47:14a
14 BY MR. LEYVA: 10:47:18a
15 Q. Just to characterize this exhibit, it was an 10:47:18a
16 exhibit that was disclosed as part of Mr. Gwynn's Rule 10:47:22a
17 26 initial disclosures, which was marked Exhibit D-l at 10:47:26a
18 the time, 10:47:31a
19 Mr. Rabon, please take some time to 10:47:45a
20 familiarize yourself with this, and you can let me know 10:47:48a
21 when you'd like to proceed. 10:47:51a
22 A. Yeah. 1 don't know specifically what this is. 10:48:15a
23 Q. That's fine. 1'm going to ask you some 10:48:19a
24 questions, then, and you can answer. 10:48:21a
25 A. Uh-huh. 10:48:23a

 

 

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1 Q. To the best of your understanding, does this 10:48:24a
2 document represent a PPC cost breakdown by month? 10:48:27a
3 A. 1 don't -- 1 don't -- 1 don't know what -- 1 10:48:35a
4 don't know what this report is. 10:48:39a
5 Q. You've never seen a report that looks like 10:48:41a
6 this? 10:48:42a
7 A. 1 don't recall it. 1t's -- 1 don't recall -- 10:48:44a
8 This is not a, you know, a document that we -- that 1 10:48:53a
9 did or -- 10:49:01a
10 Q. Let me ask you a question. Were there 10:49:02a
11 reports, spreadsheets or other types of reports, that 10:49:04a
12 you reviewed that captured the monthly PPC costs, 10:49:09a
13 per-pay-click costs? 10:49:13a
14 A. 1 don't recall looking at reports. 1 recall 10:49:15a
15 talking about the cost, but 1 don't recall specifically 10:49:18a
16 looking at reports. 10:49:23a
17 Q. Or that reports were generated? Do you know 10:49:25a
18 if reports were generated? 10:49:28a
19 A. 1 don't recall that. 10:49:30a
20 Q. Okay. 10:49:31a
21 A. 1 recall -- No. 10:49:32a
22 Q. 1 have no further questions on this exhibit, 10:49:49a
23 That's fine. 10:49:51a
24 Mr. Rabon, you attended Ms. Hunter's 10:49:58a
25 deposition on 8-16; is that correct? 10:50:01a

 

 

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1 A. Monday, yes. 10:50:05a
2 Q. Yes. Do you recall that Ms. Hunter indicated 10:50:05a
3 something to the effect that spreadsheets that 10:50:12a
4 contained William Short's 1nternet sales commissions 10:50:16a
5 were on a computer that blew up, malfunctioned? Do you 10:50:19a
6 recall that? 10:50:23a
7 A. Yes. 10:50:24a
8 Q. Can you tell me, to the best of your 10:50:24a
9 understanding, this computer that blew up, 10:50:32a
10 malfunctioned, do you know whether that was the same 10:50:35a
11 computer Ms. Hunter used to keep her Quickbooks data 10:50:37a
12 base? 10:50:41a
13 A. 1 wouldn't have any idea, 10:50:41a
14 Q. You don't know. Can you tell me, to the best 10:50:42a
15 of your knowledge, whether the hard drive from the 10:50:46a
16 computer that blew up or malfunctioned was actually 10:50:48a
17 salvaged and copied to a new computer? 10:50:52a
18 A. Not to my knowledge, 1 don't -- 1 don't know 10:50:56a
19 what was salvaged from it. 10:51:00a
20 Q. That's fair. Can you tell me, to the best of 10:51:01a
21 your knowledge, whether there was an independent 10:51:07a
22 technology contractor that replaced and salvaged said 10:51:09a
23 hard drive? 10:51:12a
24 A. 1 don't know. 10:51:19a
25 MR. SMELTZER: 1'll object to foundation, 10:51:21a

 

 

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1 given his prior answer. 10:51:23a
2 MR. LEYVA: That's fine, that's fine. 10:51:24a
3 Q. 1 mean, as CEO, you may not know these things; 10:51:26a
4 is that correct? 10:51:29a
5 A. Correct. 10:51:29a
6 Q. That's fine. 1'm going to -- Just to set the 10:51:31a
7 foundation here, Mr. Rabon, 1'm going to ask you some 10:51:45a
8 questions related to intellectual property. 10:51:48a
9 Are you comfortable with that term, what that 10:51:50a
10 term means? 10:51:52a
11 A. Somewhat. 10:51:54a
12 Q. Would it include trademarks, in your mind? 10:51:55a
13 A. 1'm sorry? 10:51:58a
14 Q. Would it include trademarks? 10:51:59a
15 A. Somewhat. 1'm not a lawyer, so -- 10:52:01a
16 Q. That's fine. 10:52:03a
17 A. -- 1 don't know the specific definitions of 10:52:04a
18 them. 10:52:06a
19 Q. 1 understand that. 1'm asking you from a 10:52:06a
20 business -- President of a company's perspective, not a 10:52:07a
21 legal perspective, 10:52:12a
22 A. Okay. 10:52:13a
23 Q. Are you comfortable with the term "trademark" 10:52:13a
24 means an intangible property, intellectual property -- 10:52:17a
25 A. Yes. 10:52:20a

 

 

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1 Q. -- copyright, trade secrets. 10:52:20a
2 A. Yes. 10:52:23a
3 MR. SMELTZER: 15 that a "Yes"? 10:52:28a
4 THE DEPONENT: Yes. 10:52:29a
5 MR. SMELTZER: When we're talking about 10:52:30a
6 intellectual property, you'll understand it to 10:52:31a
7 mean at least those three things. 10:52:34a
8 MR. LEYVA: Correct. That's what 1'm 10:52:36a
9 trying to establish. 1 don't want to confuse 10:52:37a
10 you with the term, 10:52:39a
11 THE WITNESS: 1f 1 need to, 1'll ask the 10:52:39a
12 question. 10:52:44a
13 BY MR. LEYVA: 10:52:45a
14 Q. That's fine. 1 think you may have answered 10:52:45a
15 this, but 1 need to ask it again in this context. 1 10:52:46a
16 apologize. 10:52:49a
17 Approximately how long have you held the title 10:52:49a
18 of President of Rabco? Fifteen years? 10:52:52a
19 A. Thereabouts. 10:52:54a
20 Q. So, 1 mean, given that, would you consider 10:53:02a
21 yourself to be a seasoned, experienced executive? 10:53:05a
22 A. Somewhat, yes. 10:53:09a
23 Q. Now, Mr. Rabon, do you understand, from a 10:53:17a
24 business perspective, from a President of a company's 10:53:21a
25 perspective -- 1'm not asking for a legal opinion here. 10:53:25a

 

 

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1 1 just want to set the context -- that there's a basic 10:53:27a
2 and fundamental distinction between the legal rights 10:53:31a
3 and privileges of a corporation, right, on the one 10:53:34a
4 hand, that are separate from the rights and privileges 10:53:38a
5 of a shareholder of a corporation? 10:53:43a
6 A. Yes. 10:53:46a
7 Q. 1 mean, you understand that those are two 10:53:47a
8 distinct concepts? 10:53:49a
9 A. Yes. 10:53:52a
10 Q. Mr. Rabon, you had testified that it's your 10:54:05a
11 contention that Rabco owns the Hurricane Pass 10:54:10a
12 trademark, correct? 10:54:13a
13 MR. SMELTZER: Object, asked and answered, 10:54:19a
14 1 think two or three times. 10:54:21a
15 THE DEPONENT: Either through the purchase 10:54:23a
16 of Short's or having purchased -- having it on 10:54:26a
17 its own. 1 just don't recall that -- 10:54:30a
18 MR. LEYVA: Okay. 10:54:34a
19 Q. 1'd like to introduce an exhibit related to a 10:54:34a
20 company called Hurricane Pass Outfitters, 1nc., and to 10:54:41a
21 the registration of the Hurricane Pass trademark with 10:54:45a
22 the State of Florida. This is Exhibit Number 2. 10:54:48a
23 (Plaintiff's Exhibit 2 was marked for 10:54:53a
24 identification.) 10:54:53a
25 //////////////// 10 55 15a

 

 

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1 BY MR. LEYVA: 10:55:15a
2 Q. Mr. Rabon, please take some time to 10:55:15a
3 familiarize yourself with this exhibit, 1'll return to 10:55:18a
4 pieces of it, but just let me know when you're ready to 10:55:21a
5 proceed. 10:55:25a
6 A. Okay. 10:55:50a
7 MR. SMELTZER: Make sure you read it all. 10:55:53a
8 THE DEPONENT: Okay. 10:57:14a
9 BY MR. LEYVA: 10:57:27a
10 Q. Mr. Rabon, did you at one time own controlling 10:57:27a
11 equity interest in Hurricane Pass Outfitters, 1nc.? 10:57:31a
12 MR. SMELTZER: Object to the form of the 10:57:38a
13 question. 10:57:39a
14 THE DEPONENT: Ask the question one more 10:57:41a
15 time, 10:57:42a
16 MR. SMELTZER: You're going to keep staring 10:57:47a
17 at it. Just listen to the question and then 10:57:49a
18 he'll ask you something about the document if he 10:57:51a
19 wants you to. 10:57:53a
20 THE DEPONENT: Okay. 10:57:56a
21 BY MR. LEYVA: 10:57:56a
22 Q. Mr. Rabon, at one particular time, did you 10:57:56a
23 have an equity interest in Hurricane Pass Outfitters, 10:58:03a
24 1nc.? Were you a shareholder, owner of Hurricane Pass 10:58:06a
25 Outfitters, 1nc.? 10:58:10a

 

 

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1 MR. SMELTZER: 1'll object to the form, 10:58:12a
2 it's compound. 10:58:14a
3 THE DEPONENT: Can you break it -- 10:58:16a
4 BY MR. LEYVA: 10:58:18a
5 Q. Were you a shareholder of Hurricane Pass 10:58:18a
6 Outfitters, 1nc.? 10:58:20a
7 A. Yeah, 1 would say -- yeah, 1 owned it. 10:58:35a
8 Q. Were you the founder? 10:58:40a
9 A. Founder? 10:58:41a
10 Q. Yes. Did you establish it? 10:58:42a
11 A. 1 would say yes. 10:58:43a
12 Q. Were there any other shareholders? 10:58:44a
13 A. Probably would be my wife, as 1 recall. 1 10:58:50a
14 don't recall it that specific, but -- 10:58:59a
15 Q. Now, this document, this first page here says 10:59:04a
16 that Hurricane Pass Outfitters, the corporation, was 10:59:07a
17 filed with State of Florida on 6-12-1998. 15 that 10:59:12a
18 about the time that you recall founding Hurricane Pass 10:59:18a
19 Outfitters? 10:59:21a
20 MR. SMELTZER: 1nc.? 10:59:25a
21 MR. LEYVA: 1nc., yes. 10:59:26a
22 THE DEPONENT: That would be the date this 10:59:27a
23 was filed. 10:59:28a
24 MR. LEYVA: Yes. 10:59:29a
25 THE DEPONENT: Yes. 10:59:30a

 

 

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1 BY MR. LEYVA: 10:59:30a
2 Q. 1 mean, that matches to when you recall 10:59:30a
3 founding the company; is that correct? 10:59:34a
4 A. Starting it as that entity, yes. 10:59:39a
5 Q. Okay, that's all 1'm asking. 10:59:42a
6 Now, were you a WZ employee of WSC at the time 10:59:47a
7 that Hurricane Pass Outfitters, 1nc., was founded? 10:59:53a
8 A. 1 don't recall. 11:00:02a
9 Q. So this would have been in June, 1998. 11:00:08a
10 A. 1 could have been a W2 employee of both 11:00:14a
11 companies. 11:00:17a
12 Q. And by "both companies," you mean -- 11:00:17a
13 A. Rabco with WSC. 11:00:20a
14 Q. So there were times when you were a W2ed 11:00:25a
15 employee of both Rabco and WSC? 11:00:28a
16 A. 1t's possible. 11:00:31a
17 Q. That you were on the payrolls for both 11:00:32a
18 companies? 11:00:34a
19 A. 1f we ran simultaneously, it's possible, and 1 11:00:34a
20 don't recall. 11:00:37a
21 Q. That's fine. That's fine. 11:00:38a
22 Mr. Rabon, looking at the exhibit that 1 just 11:00:59a
23 handed you, Exhibit 2, did you register the Hurricane 11:01:02a
24 Pass trademark under the corporate name Hurricane Pass 11:01:09a
25 Outfitters, 1nc.? 11:01:13a

 

 

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1 MR. SMELTZER: Objection as to form. 11:01:24a
2 THE DEPONENT: Ask the question again, 11:01:30a
3 please. 11:01:32a
4 MR. LEYVA: Yes. 11:01:35a
5 Q. Did you register the trademark Hurricane Pass 11:01:38a
6 with the State of Florida under the name Hurricane Pass 11:01:43a
7 Outfitters, 1nc.? 11:01:47a
8 MR. SMELTZER: Same objection. 11:01:52a
9 THE DEPONENT: This doesn't say "Hurricane 11:01:54a
10 Pass." 11:01:55a
11 BY MR. LEYVA: 11:02:00a
12 Q. Answer the question, please. That's not the 11:02:00a
13 question 1 asked you, whether it says it. 11:02:03a
14 Did you register it under Hurricane Pass 11:02:05a
15 Outfitters, 1nc., is the question? 11:02:06a
16 A. Did 1 register what? 11:02:09a
17 Q. The trademark "Hurricane Pass." 11:02:11a
18 MR. SMELTZER: Look at the document, if you 11:02:25a
19 need to. 11:02:27a
20 MR. LEYVA: Please turn to -- 1 think it's 11:02:28a
21 page 4 of the document, That's page 4. 11:02:31a
22 THE DEPONENT: This is page 4? 11:02:42a
23 MR. LEYVA: Yes. 11:02:44a
24 Q. Can you tell me what it says at the top of the 11:02:44a
25 document as a title? 11:02:47a

 

 

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1 MR. SMELTZER: Wait, wait, wait. 11:02:47a
2 MR. LEYVA: Are we all there? 11:02:48a
3 MR. SMELTZER: The record's going to 11:02:50a
4 reflect the wrong page number. What he's 11:02:51a
5 looking at is not page 4 in my stack. 11:02:55a
6 THE DEPONENT: 1t's several pages back. 11:02:59a
7 MR. LEYVA: Let's number these. My 11:03:01a
8 apologies. Yes, my mistake. 1t's page 7. 15 11:03:02a
9 that correct? Page 7? 11:03:27a
10 THE DEPONENT: Okay. 11:03:40a
11 BY MR. LEYVA: 11:03:43a
12 Q. Can you read to me what the title of this 11:03:43a
13 application -- the title at the top of this page, in 11:03:45a
14 bold? 11:03:49a
15 A. "Application for Registration of a Trademark 11:03:49a
16 or Service Mark." 11:03:55a
17 Q. Can you read to me the name and address to 11:03:57a
18 whom acknowledgment should be sent to. 11:04:02a
19 A. Bruce D. Rabon, care of William Short 11:04:05a
20 Clothiers, 27001 U.S. 19 North, Suite 1007, Clearwater, 11:04:07a
21 33761. 11:04:14a
22 Q. And the applicant's name is? 11:04:15a
23 A. Hurricane Pass Outfitters and Trading Company. 11:04:18a
24 Q. Okay. 1 want you to skip down, and it says 11:04:22a
25 there's a Florida registration number, it starts with 11:04:27a

 

 

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1 P98. Do you see that? 11:04:30a
2 A. Yes. 11:04:32a
3 Q. Followed by 000052765. You see that number? 11:04:32a
4 A. Yes. 11:04:38a
5 Q. Do you understand what that number is? 11:04:39a
6 A. Probably -- 1 don't know exactly what that 11:04:50a
7 number would be, no, at this point. 11:04:53a
8 Q. Do you believe that it represents the type of 11:04:57a
9 number that the Florida Secretary of State issues for 11:05:04a
10 corporations? A corporation number? 11:05:07a
11 MR. SMELTZER: Objection as to foundation, 11:05:10a
12 THE DEPONENT: Yeah, 1 don't know who would 11:05:12a
13 put that number there. 11:05:16a
14 MR. LEYVA: Okay. 11:05:17a
15 Q. Are you aware that Rabco has a number with the 11:05:18a
16 State of Florida that's its corporation number? 11:05:22a
17 A. 1f that's how they keep track of them. 11:05:27a
18 Q. Okay. 1'd like you to turn back to the first 11:05:29a
19 page, Just for the record, this is a report that 11:05:31a
20 reflects Hurricane Pass Outfitters, 1nc., filing 11:05:42a
21 information from the State of Florida. Can you read me 11:05:47a
22 that number, document number. 11:05:49a
23 A. P98000052765. 11:05:51a
24 Q. Correct. 15 that not the same number that was 11:05:57a
25 on page 7, Florida registration number? 11:06:00a

 

 

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1 A. Yes, the same number. 11:06:17a
2 Q. This number, assuming it represents the 11:06:31a
3 corporate number issued by the State of Florida, okay, 11:06:40a
4 and all corporations issued in the State of Florida get 11:06:47a
5 issued a number, then that is the number that was used, 11:06:50a
6 was it not, in the application for the registration of 11:06:54a
7 trademark on page 7? 11:06:57a
8 A. They're the same numbers. 11:07:03a
9 Q. Correct. So, given this exhibit, Mr. Rabon, 11:07:06a
10 would you say that you registered the Hurricane Pass 11:07:16a
11 Traders trademark "Hurricane Pass" under the name of 11:07:17a
12 Hurricane Pass Outfitters, 1nc.? 11:07:24a
13 MR. SMELTZER: Objection as to form. 11:07:27a
14 THE DEPONENT: Yeah, that's what it looks 11:07:32a
15 like. 11:07:33a
16 MR. LEYVA: Okay. 11:07:48a
17 Q. Mr. Rabon, again referring to this exhibit, 11:07:54a
18 the first page, does it indicate to you that Hurricane 11:07:58a
19 Pass Outfitters, 1nc., was administratively dissolved 11:08:01a
20 on September 14th, 2007? 11:08:08a
21 A. That's what it says. 11:08:19a
22 Q. 15 that your understanding? 1 mean, you had 11:08:21a
23 indicated that you were the founder and shareholder of 11:08:24a
24 that corporation, 11:08:26a
25 A. Uh-huh, yes. 11:08:27a

 

 

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1 Q. So you stopped -- did you stop doing business? 11:08:32a
2 15 that why you allowed the corporation to dissolve 11:08:36a
3 administratively? 11:08:42a
4 MR. SMELTZER: Objection to form. 1t 11:08:42a
5 presumes it did business. 11:08:44a
6 BY MR. LEYVA: 11:08:47a
7 Q. Did Hurricane Pass Outfitters do business, 11:08:47a
8 Mr. Rabon? 11:08:49a
9 A. 1t looks like, to me, we stopped sending 11:08:50a
10 reports to them at that point. 11:08:52a
11 Q. What business was Hurricane Pass Outfitters, 11:08:53a
12 1nc., in? 11:08:54a
13 A. Retail apparel. 11:08:57a
14 Q. Did it keep a set of books? 11:09:00a
15 A. No. 11:09:03a
16 Q. 1t did not? 11:09:05a
17 A. No. 11:09:09a
18 Q. Did it buy merchandise from suppliers and sell 11:09:10a
19 goods to consumers? 11:09:14a
20 A. No. 1t -- no. 11:09:17a
21 MR. LEYVA: 1'd like to ask for about a 11:09:48a
22 five-minute break, or 10 minutes. 11:09:52a
23 MR. SMELTZER: Yeah, fine. 11:09:55a
24 (Recess held at this time.) 11:09:56a
25 ////////////////// ii 24 15a

 

 

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1 BY MR. LEYVA: 11:24:15a
2 Q. Mr. Rabon, given this exhibit, would you 11:24:15a
3 please turn to -- This is actually page 4 now. 11:24:20a
4 Can you read what the trademark expiration 11:24:30a
5 date is for this trademark, please. 11:24:35a
6 A. 12-4-2008. 11:24:43a
7 Q. Correct. So this trademark is no longer 11:24:48a
8 valid. 11:24:52a
9 MR. SMELTZER: Objection as to form, and it 11:24:52a
10 calls for a legal conclusion. 11:24:55a
11 BY MR. LEYVA: 11:25:01a
12 Q. To the best of your understanding, given that 11:25:01a
13 this trademark is expired -- 11:25:04a
14 A. 1 wouldn't know. 11:25:06a
15 MR. SMELTZER: Same objection. 11:25:07a
16 THE DEPONENT: 1 wouldn't know. 11:25:08a
17 BY MR. LEYVA: 11:25:09a
18 Q. You wouldn't know what? 11:25:09a
19 A. 1f it's expired or not. 11:25:10a
20 Q. 1t says it's expired here. That's all 1'm 11:25:12a
21 asking you. You read the expiration date. 1t said 11:25:15a
22 12-24-2008. 11:25:18a
23 MR. SMELTZER: Same objections. 11:25:19a
24 BY MR. LEYVA: 11:25:20a
25 Q. Correct? 11:25:20a

 

 

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1 A. 1t says it expired 12-4-2008. 11:25:21a
2 Q. Correct. And my question to you is, given 11:25:24a
3 your understanding, as a President of an 1nternet 11:25:29a
4 company -- and this relates to intellectual property -- 11:25:32a
5 do you think that this trademark is now available for 11:25:35a
6 someone else to register -- 11:25:38a
7 A. 1 don't know that. 11:25:40a
8 Q. -- in the State of Florida? 11:25:41a
9 A. 1 don't know the answer to that. 11:25:42a
10 Q. You don't know that? 11:25:43a
11 A. No. 11:25:44a
12 Q. Okay, that's fine. 11:25:44a
13 1 want to go back a little bit to -- 1 want to 11:25:46a
14 come back to this trademark, but 1 want to go back to 11:25:50a
15 Hurricane Pass Outfitters, 1nc. 11:25:53a
16 You said that there were no books kept; is 11:25:56a
17 that correct? 11:25:59a
18 A. There were no books. 11:26:01a
19 Q. Yes. 11:26:02a
20 A. As there were no sales. 11:26:03a
21 Q. Did Hurricane Pass Outfitters hold leases? 11:26:10a
22 A. Hurricane Pass Outfitters -- 11:26:16a
23 Q. Outfitters, 1nc. 11:26:18a
24 A. Hold leases? 11:26:19a
25 Q. Yeah. Did it manage leases? 11:26:20a

 

 

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1 A. 1 believe the Bay Walk lease, they put it in 11:26:28a
2 Hurricane Pass Outfitters. 1'm not sure it said "1nc." 11:26:31a
3 Q. Who is "they"? 11:26:35a
4 A. Bay Walk. 11:26:36a
5 Q. How could they put it in Hurricane Pass 11:26:38a
6 Outfitters? Wasn't it a company that you controlled? 11:26:39a
7 1 mean, 1 don't understand, 11:26:43a
8 A. 1'm sorry? 11:26:43a
9 Q. How could they put it in Hurricane Pass 11:26:44a
10 Outfitters, 1nc.? 11:26:45a
11 MR. SMELTZER: Why don't we ask him who 11:26:49a
12 he's referring to as "they" first. 11:26:50a
13 MR. LEYVA: Yeah. 11:26:52a
14 Q. Who is "they"? 11:26:52a
15 A. The lease at Bay Walk, whoever produced that 11:26:57a
16 lease for Bay Walk. 11:27:02a
17 Q. And who is Bay Walk? 11:27:06a
18 A. A shopping center in St. Petersburg. 11:27:07a
19 Q. That's not a store, it's not a WSC property; 11:27:09a
20 is that correct? 11:27:12a
21 A. Right. 11:27:13a
22 Q. 1t's a shopping center in St. Pete. 11:27:13a
23 A. Right. 11:27:15a
24 Q. Okay. And 1'm just trying to understand this. 11:27:16a
25 And Hurricane Pass Outfitters, 1nc., had a lease with 11:27:21a

 

 

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1 Bay Walk shopping center? 11:27:27a
2 A. 1'm not sure it said "1nc." or not. 11:27:29a
3 Hurricane -- 1t's something they put on -- that Bay 11:27:34a
4 Walk -- and 1'm not sure if it said "1nc." or just 11:27:37a
5 "Hurricane Pass Outfitters." 11:27:40a
6 They did not use Rabco, as 1 recall, as 1 11:27:42a
7 believe, 1 don't have the document in front of me. 1 11:27:53a
8 haven't looked at it in years. 11:27:55a
9 Q. Did Rabco have a store at the Bay Walk 11:27:59a
10 shopping center? 11:28:03a
11 A. Yes. 11:28:03a
12 Q. And this lease that we were referring to would 11:28:04a
13 have been a lease related to a Rabco store? 11:28:06a
14 A. Yes. 11:28:09a
15 Q. And you're indicating that Bay Walk shopping 11:28:12a
16 center would have put "Hurricane Pass Outfitters" or 11:28:14a
17 "Hurricane Pass Outfitters, 1nc."? 11:28:18a
18 A. As 1 recall, 1 think they used that name on 11:28:20a
19 the lease somehow. 11:28:23a
20 Q. But you have no idea why they would put some 11:28:25a
21 outside company's name on a lease that, on its face, 11:28:29a
22 doesn't pertain -- 11:28:34a
23 A. Our stores were called Hurricane Pass 11:28:34a
24 Outfitters. 11:28:36a
25 MR. SMELTZER: When you say "our," be 11:28:37a

 

 

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1 specific. 11:28:39a
2 THE WITNESS: Rabco's stores were called 11:28:39a
3 Hurricane Pass Outfitters. 11:28:41a
4 MR. SMELTZER: This is like alphabet soup. 11:28:42a
5 THE DEPONENT: Right. 11:28:44a
6 MR. LEYVA: Okay. 11:28:45a
7 Q. So, we don't know whether Bay Walk used 11:28:45a
8 "Hurricane Pass Outfitters, 1nc." or "Hurricane Pass 11:28:48a
9 Outfitters," correct -- 11:28:51a
10 A. Correct. 11:28:53a
11 Q. -- on the lease, 11:28:54a
12 A. Correct. 11:28:55a
13 Q. Were there any other leases, that you're aware 11:28:55a
14 of, that were in the name of either Hurricane Pass 11:28:57a
15 Outfitters or Hurricane Pass Outfitters, 1nc.? 11:28:59a
16 A. Not that 1 can recall. 11:29:06a
17 Q. Was any financial transaction -- Did any 11:29:16a
18 financial transactions occur between Rabco, either 11:29:18a
19 Hurricane Pass Outfitters or Hurricane Pass, 1nc., and 11:29:24a
20 Bay Walk shopping center? 1 mean, was there money that 11:29:27a
21 exchanged hands? 11:29:32a
22 A. Ask that one more time, 11:29:33a
23 Q. Was there any financial transactions that 11:29:35a
24 occurred between Rabco Leasing, 1nc., and the name of 11:29:36a
25 the party that was on the lease? 11:29:39a

 

 

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1 You said that the Bay Walk shopping center put 11:29:41a
2 either "Hurricane Pass Outfitters," correct, or 11:29:44a
3 "Hurricane Pass Outfitters, 1nc.," you couldn't recall. 11:29:48a
4 Was there any money that exchanged hands, that went to 11:29:50a
5 one of those entities, either Hurricane Pass 11:29:54a
6 Outfitters -- 11:29:57a
7 MR. SMELTZER: 1'll object to the form, 11:29:57a
8 because two of those entities are the same 11:30:00a
9 entity, 11:30:03a
10 THE DEPONENT: From Rabco? Hurricane Pass 11:30:04a
11 Outfitters, 1nc., was formed to protect that 11:30:05a
12 name. That was a name that Rabco was using in 11:30:10a
13 daily business, a shortened version of Hurricane 11:30:17a
14 Pass Outfitters and Trading Company. 11:30:21a
15 MR. LEYVA: That wasn't my question. Okay. 11:30:24a
16 Q. My question was, regarding this lease, did 11:30:26a
17 Hurricane Pass Outfitters, 1nc., receive money from 11:30:31a
18 Rabco Leasing and pay money to Bay Walk shopping 11:30:34a
19 center, or was there any financial transactions between 11:30:39a
20 these three parties that included Hurricane Pass 11:30:41a
21 Outfitters, if it was a fictitious name, or Hurricane 11:30:44a
22 Pass Outfitters, 1nc.? 11:30:48a
23 MR. SMELTZER: 1'm going to object to the 11:30:49a
24 form of the question. 1 think you've got to 11:30:50a
25 split it up, because Rabco and Hurricane Pass 11:30:52a

 

 

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1 Outfitters, that's Rabco's stores, just so you 11:30:54a
2 know. So you can't -- 11:30:59a
3 MR. LEYVA: That's fine. 11:31:00a
4 MR. SMELTZER: Two of those entities are 11:31:01a
5 the same. Why don't we just talk about Rabco 11:31:02a
6 and this -- 11:31:05a
7 MR. LEYVA: Yeah, that's fine. 11:31:06a
8 MR. SMELTZER: All right. 11:31:07a
9 MR. LEYVA: Just to clarify, 11:31:08a
10 Q. And we don't know the answer right now. You 11:31:10a
11 don't recall whether it was Hurricane Pass Outfitters, 11:31:13a
12 1nc., that was on the lease at the Bay Walk shopping 11:31:14a
13 center; is that correct? 11:31:19a
14 A. Hurricane Pass Outfitters, 1nc., was not on 11:31:21a
15 it. 11:31:23a
16 Q. 1 mean Hurricane Pass Outfitters, 1nc., 1'm 11:31:23a
17 sorry. There's too many Hurricane Passes. 11:31:26a
18 A. Right. 11:31:28a
19 Q. Hurricane Pass Outfitters, 1nc.; you said you 11:31:29a
20 did not recall whether that was the name -- 11:31:32a
21 A. Right. 11:31:34a
22 Q. Okay. And you don't recall or don't know if 11:31:34a
23 any money exchanged hands -- and 1'm talking about 11:31:37a
24 1nc., now, Hurricane Pass Outfitters, 1nc. Okay -- 11:31:42a
25 between Rabco Leasing, 1nc., Hurricane Pass Outfitters, 11:31:45a

 

 

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1 1nc., and the Bay Walk shopping center mall. These 11:31:47a
2 three entities. Did money exchange hands? 11:31:53a
3 A. Ask me -- Break the question up, if you can, 11:31:55a
4 between who the money's going to. 11:31:58a
5 Q. 1 don't know. 11:32:02a
6 A. There are three -- 11:32:02a
7 Q. That's my question. 11:32:04a
8 Was Hurricane Pass Outfitters, 1nc., somehow 11:32:07a
9 collecting money for this lease or paying money -- 11:32:10a
10 A. No. 11:32:13a
11 Q. -- for the lease? 11:32:14a
12 So no money -- Hurricane Pass Outfitters, 11:32:16a
13 1nc., the corporation, right, the one we said expired, 11:32:18a
14 okay, never received any money or paid any money 11:32:23a
15 regarding this lease at the Bay Walk shopping center? 11:32:26a
16 That's the question? 11:32:30a
17 MR. SMELTZER: 1'll object to the form. 11:32:30a
18 You said it expired, He didn't say it expired, 11:32:31a
19 THE DEPONENT: What is that? 11:32:34a
20 MR. SMELTZER: Never mind. We're 11:32:36a
21 getting -- it's tangential. 11:32:37a
22 THE DEPONENT: Rabco paid the lease, 11:32:40a
23 MR. LEYVA: Okay. 11:32:43a
24 Q. And it paid the lease to? 11:32:44a
25 A. The Semblers, that owned Bay Walk. 11:32:49a

 

 

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1 Q. That's fine. Okay, that's the answer. That's 11:32:52a
2 fine. 11:32:53a
3 MR. SMELTZER: 1t seems -- sometimes it's 11:32:54a
4 as easy as it seems. Sometimes it's not. 1f 11:32:58a
5 that helps anything. 11:33:03a
6 MR. LEYVA: That's brilliant. 11:33:04a
7 MR. SMELTZER: 15n't it? 11:33:06a
8 MR. LEYVA: Yeah. 11:33:06a
9 Q. Mr. Rabon, 1 would like to go back to this 11:33:13a
10 Hurricane Pass trademark, okay. 11:33:17a
11 These documents suggest that you registered 11:33:21a
12 that trademark under Hurricane Pass Outfitters, 1nc.; 11:33:26a
13 is that correct? 11:33:32a
14 A. The Hurricane Pass Outfitters and trademark -- 11:33:36a
15 the Hurricane Pass Outfitters and Trading Company 11:33:42a
16 trademark? 11:33:45a
17 Q. 1'm talking about the trademark that's listed 11:33:46a
18 on this exhibit that 1 gave you. 11:33:48a
19 A. Right. That was a trademark name of William 11:33:50a
20 Short Clothiers. 11:33:52a
21 Q. This document, however, we've established, has 11:33:54a
22 the corporate number of Hurricane Pass Outfitters, 1nc. 11:33:59a
23 A. Well, yeah. 11:34:02a
24 Q. This is what the document says, is it not? 11:34:03a
25 A. Right. Hurricane Pass Outfitters, 1nc., 11:34:06a

 

 

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1 didn't have a store, This was a trademark -- 11:34:08a
2 Q. Mr. Rabon, 1 didn't ask you if they had a 11:34:14a
3 store, 1 asked you, did you register -- 1 want to move 11:34:17a
4 on now -- 11:34:20a
5 A. 1 think 1 made a mistake when 1 registered it. 11:34:20a
6 Q. You think you made a mistake when you 11:34:23a
7 registered this trademark? 11:34:24a
8 A. 1t's a William Short Clothiers trademark, 11:34:27a
9 Q. Despite the fact that that's not what this 11:34:30a
10 says. 15 that what you -- 11:34:31a
11 MR. SMELTZER: Objection as to form. 11:34:32a
12 BY MR. LEYVA: 11:34:33a
13 Q. 15 that your testimony? 11:34:33a
14 A. Yes. 11:34:34a
15 Q. You made a mistake. Okay. 11:34:34a
16 A. As 1 recall it, yes. 11:34:36a
17 Q. Now 1 want to go back to -- Given that you 11:34:43a
18 made this mistake -- 1ntellectual property assets 11:34:46a
19 assigned to one corporation don't freely flow to 11:34:54a
20 another corporation, 11:34:56a
21 1f this trademark was registered under 11:34:58a
22 Hurricane Pass Outfitters, 1nc., by what mechanism did 11:35:00a
23 Rabco or WSC acquire ownership of the mark? 11:35:06a
24 MR. SMELTZER: Objection, calls for a legal 11:35:11a
25 conclusion. And it also misstates the law 11:35:13a

 

 

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1 patently. 11:35:16a
2 THE DEPONENT: 1'm not sure of the answer 11:35:18a
3 to your question. 11:35:19a
4 BY MR. LEYVA: 11:35:21a
5 Q. This trademark was registered under a 11:35:21a
6 corporation called Hurricane Pass Outfitters, 1nc. 11:35:25a
7 MR. SMELTZER: Objection as to form. 11:35:29a
8 MR. LEYVA: He's already answered the 11:35:30a
9 question. 11:35:32a
10 THE DEPONENT: 1t says that. 11:35:32a
11 MR. LEYVA: Yes. 11:35:33a
12 Q. So, it does not indicate that during this time 11:35:35a
13 period Rabco Leasing, 1nc., or anybody else, had the 11:35:38a
14 rights, in the State of Florida, to this trademark, 11:35:43a
15 MR. SMELTZER: Same objection, it calls for 11:35:51a
16 a legal conclusion. 11:35:52a
17 MR. LEYVA: There's no legal conclusion. 11:35:54a
18 We're talking about basic ownership of 11:35:55a
19 intellectual property that an 1nternet -- 11:35:57a
20 President of an 1nternet company should be aware 11:36:01a
21 of. 1t's an ownership question, not an 1. P. 11:36:03a
22 question. 11:36:05a
23 THE DEPONENT: 1t would have been -- 1t was 11:36:05a
24 a name used in William Short Clothiers. 1t was 11:36:08a
25 their -- 1t was their trademark, 11:36:11a

 

 

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1 BY MR. LEYVA: 11:36:18a
2 Q. So there are no documents, Mr. Rabon, are 11:36:18a
3 there, that Hurricane Pass Outfitters assigned any 11:36:21a
4 rights in this trademark to Rabco Leasing, 1nc., or to 11:36:24a
5 William Short Clothiers. Are there any documents? 11:36:28a
6 MR. SMELTZER: You mean Hurricane Pass 11:36:31a
7 Outfitters, 1nc.? 11:36:31a
8 MR. LEYVA: Yes. 11:36:35a
9 THE DEPONENT: Say that one more time, 11:36:36a
10 BY MR. LEYVA: 11:36:37a
11 Q. Are there any documents at Hurricane Pass 11:36:37a
12 Outfitters, 1nc., the entity that registered this 11:36:39a
13 trademark -- 11:36:44a
14 A. Not that 1'm aware of, that 1 can recall. 11:36:44a
15 Q. -- that assigned any rights to Rabco Leasing, 11:36:46a
16 1nc., or WSC? 11:36:49a
17 A. Not that 1 can recall or remember. 11:36:50a
18 Q. That's fine. However, Mr. Rabon, it is true 11:36:55a
19 that you list the Hurricane Pass mark on your 11:37:09a
20 bankruptcy petition as something that Rabco owns, do 11:37:12a
21 you not? 11:37:15a
22 A. 1 listed the Hurricane Pass mark? 11:37:16a
23 Q. That's correct. That's my question. 11:37:21a
24 A. 1 don't recall. 1 don't recall specifically 11:37:22a
25 everything that was listed. 11:37:26a

 

 

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1 Q. Okay. We'll come back to that, because we 11:37:27a
2 have the petition, and we have some questions related 11:37:29a
3 to that. 11:37:33a
4 Mr. Rabon, did the name "Rabco Leasing, 1nc." 11:37:40a
5 ever appear on any of the websites that Rabco listed in 11:37:45a
6 its bankruptcy petition? 1 think there were 63 or 64. 11:37:51a
7 MR. SMELTZER: Could you repeat that 11:37:56a
8 question? 11:37:58a
9 MR. LEYVA: Yes. 11:37:58a
10 MR. SMELTZER: Or he could -- 11:37:59a
11 MR. LEYVA: 1'll be happy -- 11:38:00a
12 MR. SMELTZER: 1f you want to change it, 11:38:01a
13 you can do that. 11:38:03a
14 MR. LEYVA: 1'll be happy to repeat it. 11:38:04a
15 Q. When 1 use the term "websites" now, just for 11:38:05a
16 clarity, 1'm going to say the websites that were 11:38:08a
17 registered -- it's a reference to those websites listed 11:38:12a
18 in your amended bankruptcy petition related to Schedule 11:38:16a
19 B, 1tem Number 22. Okay? 11:38:19a
20 So just for the record, so there's no 11:38:22a
21 confusion, those are the websites that 1'm referring 11:38:24a
22 to. Okay. 11:38:28a
23 So the question is, Mr. Rabon, did the name 11:38:29a
24 "Rabco Leasing, 1nc." ever appear -- visibly, visible, 11:38:32a
25 displayable -- on any of the websites that Rabco listed 11:38:41a

 

 

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1 in its bankruptcy petition? 11:38:44a
2 MR. SMELTZER: 1'll object as to 11:38:46a
3 foundation, 1'm not sure he was involved in 11:38:48a
4 Schedule B. 1 mean, the amended one. 11:38:51a
5 MR. LEYVA: That's fine. 11:38:56a
6 Q. The websites that Rabco allegedly owned, did 11:38:56a
7 Rabco Leasing, 1nc. -- the name. That's all 1'm 11:38:59a
8 saying. 11:39:02a
9 A. 1 don't recall seeing. 11:39:03a
10 Q. Does it ever appear anywhere on those 11:39:04a
11 websites -- Rabco Leasing? 11:39:07a
12 A. Not that 1 recall seeing. 11:39:09a
13 Q. Did "Rabco Leasing, 1nc." ever appear on any 11:39:14a
14 of the automatic invoices that were generated to 11:39:17a
15 customers that bought goods online from these websites? 11:39:21a
16 A. 1'm not sure. We had a number of -- the Visa, 11:39:38a
17 the charge card receipts, at times could have said 11:39:49a
18 that. 11:39:53a
19 Q. This is a specific question related to 11:39:58a
20 1nternet sales orders, okay. And were there automatic 11:40:02a
21 invoices -- 11:40:06a
22 When a purchase was made in a shopping cart, 11:40:07a
23 okay, was there an automatic invoice sent to the 11:40:09a
24 customer -- 11:40:12a
25 A. Oh, 1 don't think of that as an invoice. 11:40:13a

 

 

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1 Q. Okay. 1t says "1nvoice" on it. 11:40:16a
2 There's a document that was sent to a 11:40:19a
3 customer, correct, when an order was placed online via 11:40:20a
4 shopping cart? 11:40:25a
5 A. What do you mean, "sent"? 11:40:28a
6 Q. 1 meant sent via E-mail, telling the 11:40:31a
7 customer -- Like you buy something on Amazon, you get a 11:40:35a
8 confirmation E-mail saying, "You just bought something 11:40:39a
9 at Amazon." 11:40:42a
10 1f you bought something at Rabco, was there a 11:40:43a
11 confirmation saying, "You just bought something on this 11:40:45a
12 website"? 11:40:47a
13 A. There would have been a document, 11:40:47a
14 Q. My question is, did "Rabco Leasing, 1nc.," the 11:40:49a
15 name, ever appear on any of those documents that were 11:40:52a
16 sent to customers once an online order was placed? 11:40:56a
17 A. Not to my knowledge, Not that 1 can recall. 11:41:01a
18 Q. 1'd like to introduce Exhibit Number 3, which 11:41:07a
19 are some sample invoices that reflect the document that 11:41:13a
20 was sent, or kinds of documents that were sent, 11:41:20a
21 (Plaintiff's Exhibit 3 was marked for 11:41:24a
22 identification.) 11:41:24a
23 BY MR. LEYVA: 11:41:28a
24 Q. Mr. Rabon, let me know when you're ready to 11:41:28a
25 proceed. 11:41:31a

 

 

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1 A. Okay. 11:41:56a
2 Q. Now we're discussing the document that you 11:42:02a
3 said -- you didn't call an invoice, but let's just 11:42:06a
4 refer to it as the document that was sent to an online 11:42:11a
5 customer when they purchased something, okay. 11:42:13a
6 15 this exhibit representative of the kind of 11:42:15a
7 document that would have been sent by E-mail to a 11:42:18a
8 customer that purchased something online? 11:42:20a
9 A. 1 don't know that it was sent by E-mail or if 11:42:28a
10 this is something that the customer printed from the 11:42:32a
11 cart. 11:42:36a
12 Q. Okay, that's fair. You don't know that an 11:42:44a
13 E-mail was generated. The customer may have printed 11:42:47a
14 it? 11:42:51a
15 A. Yes. 11:42:52a
16 Q. Now, to the best of your knowledge, is that 11:43:04a
17 the way the X-Cart -- Do you use X-Cart? Are you 11:43:06a
18 familiar with the term "X-Cart"? 11:43:11a
19 A. Yes. 11:43:13a
20 Q. And you've used the X-Cart software. 11:43:13a
21 A. 1've worked, in a sense of pulling off orders. 11:43:21a
22 Q. My question is: 15 X-Cart what you used over 11:43:30a
23 the last five years, three years, to sell orders 11:43:35a
24 online? Shopping cart. 11:43:38a
25 A. For a few years. 11:43:40a

 

 

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1 Q. 15n't it true that the X-Cart software 11:43:45a
2 generates an E-mail to a customer that looks like this? 11:43:49a
3 A. 1 don't -- 1'm not familiar if it sends an 11:43:52a
4 E-mail or they print it. 11:43:56a
5 Q. You don't know? 11:43:57a
6 A. No. 11:43:58a
7 Q. Okay. Mr. Rabon, can you tell me the date on 11:43:58a
8 this invoice? 1t's right under the header invoice. 11:44:06a
9 A. Which document? 11:44:13a
10 Q. The first document, on the top. 11:44:15a
11 A. The date on this invoice? 11:44:18a
12 Q. Yes. 11:44:20a
13 A. Wednesday, June 9th, 2010. 11:44:20a
14 Q. And can you read me that line right underneath 11:44:26a
15 the black banner out there. 1t starts with, "You 11:44:30a
16 have ..." 11:44:35a
17 A. "You have received this notification from 11:44:35a
18 Hurricane Pass Outfitters because you are a registered 11:44:37a
19 user or you or some other registered user requested 11:44:40a
20 some information for you from our store." 11:44:43a
21 Q. Can you read me, on top of that, the From and 11:44:48a
22 the To. 11:44:51a
23 A. Barely. 1t looks like from James Saunders to 11:44:53a
24 Martin Gwynn, M. Gwynn, at Verizon.net. 11:44:59a
25 Q. And the subject? 11:45:04a

 

 

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1 A. Hurricane Pass Outfitters order 27315 11:45:05a
2 notification. 11:45:16a
3 Q. Does this look like an E-mail notification 11:45:17a
4 that X-Cart might send, to you? 11:45:19a
5 A. To me? 11:45:24a
6 Q. Not to you personally. Does this look like an 11:45:24a
7 E-mail notification that would -- 11:45:27a
8 A. Again, 1 don't know if it's E-mailed to the 11:45:29a
9 customer or they go and print it. 11:45:32a
10 Q. Okay. But 1'm asking you, does this look like 11:45:34a
11 an E-mail notification? 1t has a From, a To, E-mail 11:45:36a
12 addresses. 11:45:42a
13 15 there anything in here that would indicate 11:45:43a
14 to you that the customer actually printed this instead 11:45:45a
15 of receiving it via E-mail? 11:45:48a
16 A. 1 don't know how they did it. 11:45:51a
17 Q. That's fine. 11:45:52a
18 A. 1 don't -- 11:45:53a
19 Q. That's fine. 11:45:53a
20 Mr. Rabon, can you please read the date on the 11:45:59a
21 second page, 11:46:02a
22 A. June 22nd, 2010. 11:46:02a
23 Q. And the company or the notification from? You 11:46:05a
24 received this notification from what entity name? 11:46:10a
25 A. Hurricane Pass Outfitters. 11:46:13a

 

 

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1 Q. Thank you. 11:46:15a
2 Mr. Rabon, to the best of your knowledge, 11:46:33a
3 would an 1nternet customer that bought goods online 11:46:39a
4 from Rabco, or on Rabco's alleged websites, would they 11:46:42a
5 have any way of knowing that the payments for such 11:46:48a
6 orders were being deposited into a bank account 11:46:51a
7 controlled by Rabco? 11:46:54a
8 A. Ask the question one more time, 11:46:58a
9 Q. Any customers that went to the websites 11:47:04a
10 allegedly owned by Rabco, bought goods, would they have 11:47:08a
11 any way of knowing that they were doing business with 11:47:12a
12 Rabco Leasing, 1nc.? 11:47:16a
13 A. Okay. Just one more time, Sorry. 11:47:26a
14 Q. Which part of the question don't you 11:47:31a
15 understand? 11:47:32a
16 A. Just ask it one more time, 11:47:33a
17 Q. Okay. Customers went out to those websites, 11:47:34a
18 correct -- 11:47:40a
19 A. Right. 11:47:40a
20 Q. -- and they bought goods, correct? Would they 11:47:40a
21 know, or have any way of knowing that the payments that 11:47:44a
22 they were making for those goods that they bought were 11:47:48a
23 going to Rabco Leasing, 1nc.? 11:47:52a
24 A. 1 don't -- 1 don't -- 1 don't know what they 11:47:53a
25 would know. 1 don't -- 1 don't -- 1 don't have any 11:47:56a

 

 

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1 idea where they would think the payment's going. 11:48:00a
2 Q. 1 mean, my question is, there was any visible 11:48:02a
3 indication to a customer? 11:48:06a
4 A. Visible where? 11:48:06a
5 Q. Anywhere. On the website, in the invoice, 11:48:07a
6 anywhere that would -- 11:48:10a
7 A. Not here. 11:48:10a
8 Q. Anywhere. That would lead a consumer to 11:48:11a
9 believe that they were doing business or making 11:48:15a
10 payments to Rabco Leasing, 1nc.? 11:48:17a
11 A. Are you asking where they think their money 11:48:36a
12 will be deposited? 11:48:40a
13 MR. SMELTZER: No, that's not what he 11:48:42a
14 asked. Why don't you just read back the 11:48:43a
15 question. 1f the court reporter would read it 11:48:45a
16 back. 11:48:48a
17 (Record read at this point.) 11:48:48a
18 THE DEPONENT: 1 don't think there would be 11:49:17a
19 anything on the website or on this order that 11:49:18a
20 would indicate that they're not doing business 11:49:29a
21 with -- Did you say "Rabco"? 11:49:33a
22 MR. LEYVA: Can you read him the question 11:49:38a
23 again, please. 11:49:40a
24 (Record read at this point.) 11:49:41a
25 MR. SMELTZER: Okay. Just to clarify one 11:50:08a

 

 

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1 thing. We're talking about 1nternet customers, 11:50:09a
2 right? 11:50:11a
3 MR. LEYVA: No, no, no. We are talking 11:50:12a
4 about 1nternet customers, through the website, 11:50:14a
5 purely that. 11:50:17a
6 THE WITNESS: 1 don't think they could see 11:50:18a
7 on the website or on this that they were doing 11:50:19a
8 business with Rabco. 11:50:23a
9 MR. LEYVA: Okay. 11:50:24a
10 MR. SMELTZER: That's all he asked. 11:50:28a
11 MR. LEYVA: That's all 1 was asking. 11:50:29a
12 THE DEPONENT: Okay. So then 1 answered 11:50:30a
13 that earlier, 1 think. Okay. 11:50:32a
14 MR. SMELTZER: Yeah, it was slightly 11:50:36a
15 different. 11:50:38a
16 MR. LEYVA: Well, we could stop. This is a 11:50:42a
17 good stopping point. 1t's about five minutes to 11:50:44a
18 noon. 11:50:46a
19 MR. SMELTZER: My stomach has been -- 11:50:48a
20 (Recess held at this time) 11:50:54a
21 BY MR. LEYVA: 01:21:01p
22 Q. Mr. Rabon, you ready to continue? 01:21:01p
23 A. Ready. 01:21:03p
24 Q. 1'm going to ask a question about copyright, 01:21:04p
25 1t's really not intended to be a trick question. 1 01:21:11p

 

 

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1 think you probably answered it before, but you answered 01:21:13p
2 it while you were answering a trademark question, all 01:21:17p
3 right. So 1'm going to take a cut at this. 01:21:20p
4 Are you familiar with the copyright notices 01:21:24p
5 that are usually placed on the bottom and on each page 01:21:33p
6 of a website? 01:21:38p
7 A. 1've seen them. 01:21:39p
8 Q. 1t says "Copyright," whatever, "2010" -- 01:21:40p
9 A. Right. 01:21:42p
10 Q. -- the name of the company, et cetera, right? 01:21:42p
11 A. Right. 01:21:44p
12 Q. So my question is, in the websites, these 64 01:21:46p
13 or whatever alleged websites that Rabco owns, did 01:21:50p
14 "Rabco Leasing, 1nc." ever appear in that copyright 01:21:54p
15 notice, or was it some other entity name? 01:21:58p
16 A. "Rabco" was not on it. 01:22:01p
17 Q. Do you remember which entities were? 01:22:04p
18 A. Not right off -- 01:22:06p
19 Q. But you know "Rabco Leasing, 1nc." did not 01:22:07p
20 appear? 01:22:12p
21 A. Right. 01:22:12p
22 Q. Mr. Rabon, are you familiar at all with the 01:22:30p
23 term "1nternet archive"? 01:22:32p
24 A. 1 know what the two words mean, but 1 don't 01:22:38p
25 know what they mean in conjunction. 01:22:41p

 

 

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1 Q. Okay, that's fine. 01:22:46p
2 A similar term is called the "Way Back 01:22:47p
3 machine." Have you ever heard of that term? 01:22:51p
4 A. Recently. 01:22:54p
5 Q. Recently? 01:22:55p
6 A. Right. 01:22:55p
7 Q. Can you tell me what you think the Way Back 01:22:56p
8 machine does? 01:22:57p
9 A. 1t -- you can go back and look at websites as 01:22:58p
10 they were in a particular year or month, 01:23:04p
11 Q. Yeah. 1t's not always accurate, is it? Or do 01:23:09p
12 you know? 01:23:12p
13 A. 1 would have no idea, 1 don't own the Way 01:23:12p
14 Back machine, so -- 01:23:16p
15 Q. That's fine. That's exactly what it does, it 01:23:17p
16 keeps an archive of how it looked some point back in 01:23:20p
17 time, 01:23:24p
18 At this point 1 would like to enter -- 1 think 01:23:24p
19 it's Exhibit 4, letters from Kathy Zimmerman's 01:23:30p
20 attorneys regarding HTPGP. 01:23:37p
21 Mr. Rabon, take some opportunity to read it. 01:23:46p
22 Let me know when you're ready to go forward, and if you 01:23:50p
23 need to go back to it, just let me know and we can do 01:23:53p
24 that. 01:23:56p
25 (Plaintiff's Exhibit 4 was marked for 01:23:56p

 

 

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1 identification.) 01:23:56p
2 THE DEPONENT: Okay. 01:28:19p
3 BY MR. LEYVA: 01:28:26p
4 Q. Mr. Rabon, did you and Mr. Gwynn jointly 01:28:26p
5 recruit Kathy Zimmerman to create artwork for HTPGP? 01:28:29p
6 A. Did we jointly recruit her? 01:28:34p
7 Q. Yes. 01:28:36p
8 A. As 1 recall, yes. 01:28:37p
9 Q. Was she someone that you knew personally, that 01:28:39p
10 Martin knew personally, or how did you find -- 01:28:41p
11 A. 1 didn't know her personally. 01:28:44p
12 Q. You found out about her somewhere, and you and 01:28:45p
13 Martin interviewed her -- 01:28:47p
14 A. Yes. 01:28:48p
15 Q. -- is that correct? 01:28:48p
16 And Mr. Rabon, Ms. Zimmerman was a graphics 01:28:52p
17 artist, was she not? 15 that how you would describe 01:28:57p
18 what she did? 01:29:00p
19 A. She was an artist, 1 don't know if she was -- 01:29:04p
20 what's the difference between a graphics artist and an 01:29:08p
21 artist, 01:29:12p
22 Q. But she created artwork, and you guys had a 01:29:12p
23 need for some artwork; is that correct? 01:29:15p
24 A. Yes. 01:29:17p
25 Q. And what type of artwork did HTPGP have a need 01:29:17p

 

 

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1 for? 01:29:24p
2 A. Marine life. 01:29:26p
3 Q. Was this artwork that was going to go on 01:29:29p
4 T-shirts or on goods to be sold? 01:29:32p
5 A. Yes. 01:29:35p
6 Q. Were there no graphics artists within WSC that 01:29:43p
7 were available, that had these kinds of skills? 01:29:48p
8 A. Were there no graphic artists in William Short 01:29:53p
9 Clothiers? 01:29:55p
10 Q. Right. That had similar skills. 01:29:56p
11 A. You know, 1 don't know. 01:29:58p
12 Q. Okay. 01:29:59p
13 A. 1 have no idea, 01:29:59p
14 Q. That's fine. Did Ms. -- 01:30:00p
15 MR. SMELTZER: Wait, 1'm sorry, Carlos. 01:30:12p
16 You can decide to do it or not, but 1'm asking 01:30:14p
17 for a clarification on the last answer, because 01:30:18p
18 sometimes you'll ask a sort of almost like a 01:30:21p
19 two-part question. 01:30:24p
20 MR. LEYVA: Sure. 01:30:24p
21 MR. SMELTZER: You said, "Was the artwork 01:30:25p
22 going to be used on T-shirts?" and then you said 01:30:31p
23 "or any other goods." 01:30:36p
24 MR. LEYVA: That's fine. 01:30:38p
25 MR. SMELTZER: And he said, "Yes," and 1'm 01:30:38p

 

 

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1 not really sure what he said yes to, T-shirts or 01:30:40p
2 everything. 1 just didn't know. 01:30:43p
3 MR. LEYVA: Yeah, yeah. We can go back to 01:30:44p
4 that. 01:30:46p
5 THE DEPONENT: Okay. 01:30:47p
6 BY MR. LEYVA: 01:30:47p
7 Q. 1'll re-ask the question. The artwork that 01:30:47p
8 Ms. Zimmerman was going to produce on behalf of HTPGP, 01:30:53p
9 what was the end product that that artwork would be 01:30:58p
10 used on? 01:31:03p
11 A. Reproduced on T-shirts. 01:31:04p
12 Q. On any other end products, goods or services? 01:31:07p
13 Goods, probably. 01:31:10p
14 A. 1mages were digitized and then could be 01:31:11p
15 embroidered on something, 01:31:17p
16 Q. Okay. All right. And that "something" would 01:31:19p
17 be a T-shirt, or it could be something else? 01:31:22p
18 A. Or a hat. 01:31:24p
19 Q. Or a hat. Okay, all right. 01:31:26p
20 So there were multiple products that this 01:31:28p
21 artwork could potentially go on. 01:31:30p
22 MR. SMELTZER: 1'll object to the form of 01:31:35p
23 the question. 01:31:36p
24 THE WITNESS: A few products. 01:31:37p
25 MR. LEYVA: Okay. 01:31:39p

 

 

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1 Q. And a few -- you named two, T-shirts and 01:31:39p
2 hats. 01:31:43p
3 A. And hats. 01:31:43p
4 Q. Okay, that's fine. Did Ms. Zimmerman become a 01:31:44p
5 partner in HTPGP? 01:31:49p
6 MR. SMELTZER: 1'll object, to the extent 01:31:51p
7 it calls for a legal conclusion, but you can 01:31:52p
8 obviously talk about your understanding, 01:31:56p
9 THE DEPONENT: She was a third of whatever 01:31:59p
10 entity we had. 01:32:03p
11 MR. LEYVA: That's fine. 01:32:06p
12 Q. You know, partnership, little side T-shirt 01:32:07p
13 business. She was a third of whatever entity that was; 01:32:10p
14 is that correct? 01:32:13p
15 A. Yes. 01:32:13p
16 Q. That's fine. And isn't it true that that 01:32:14p
17 ownership in HTPGP was split evenly between yourself, 01:32:18p
18 Mr. Gwynn and Ms. Zimmerman? Those were the -- 01:32:23p
19 A. Yes. 01:32:29p
20 Q. -- parties? All right. 01:32:29p
21 Now, Mr. Rabon, isn't it true that there were 01:32:32p
22 plans, even as early as the time that Ms. Zimmerman 01:32:38p
23 became part of the side business, to incorporates this 01:32:42p
24 side business into Hurricane Pass Traders, 1nc.? That 01:32:46p
25 was the intent? 01:32:50p

 

 

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1 A. 1t was the intent to at some point incorporate 01:32:53p
2 the triad of these three people, 01:33:00p
3 Q. Yes. 01:33:03p
4 A. Whether it was the intent to incorporate it in 01:33:05p
5 Hurricane Pass Traders, 1 don't know. 01:33:10p
6 Q. That's fine. But there was an intent to 01:33:12p
7 incorporate, to form a corporation between these three 01:33:16p
8 parties; is that correct? 01:33:19p
9 A. Right. 01:33:19p
10 Q. 15n't it true that Ms. Zimmerman created 01:33:26p
11 artwork on behalf of this entity -- 1 won't call it a 01:33:28p
12 partnership -- on behalf of this entity at a time when 01:33:33p
13 she was not a WZ employee of an entity? 01:33:40p
14 A. She created the artwork and -- that's kind of 01:33:50p
15 compound. Ask me -- 01:33:54p
16 Q. Let me ask it this way: Was Ms. Zimmerman 01:33:56p
17 ever a WZ employee of this entity? 01:34:00p
18 A. Of -- No. 01:34:03p
19 Q. Was she ever a 1099 employee of this entity? 01:34:06p
20 MR. SMELTZER: 1'll object to the form of 01:34:14p
21 that question. 01:34:15p
22 THE DEPONENT: No. 01:34:16p
23 MR. SMELTZER: 1 don't know if you can have 01:34:18p
24 a 1099 employee, but it's semantics. 01:34:20p
25 THE DEPONENT: No, 1 don't believe so. 01:34:24p

 

 

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1 MR. LEYVA: Okay. 01:34:25p
2 Q. Now, Mr. Rabon, 1'm going to ask you some more 01:34:42p
3 specific questions about these letters. And if you 01:34:46p
4 need time to review, just ask. 01:34:48p
5 A. These documents? 01:34:50p
6 Q. Yes, these particular documents. 01:34:51p
7 Mr. Rabon, to the best of your knowledge, 01:34:53p
8 please describe why Ms. Zimmerman decided to leave the 01:34:55p
9 entity, 01:34:59p
10 A. Well, 1 think her husband decided for her. He 01:35:04p
11 had just recently been laid off from Home Depot and 01:35:08p
12 they needed money, and he wanted to know why no money 01:35:13p
13 was going out, being paid to the triad. 01:35:17p
14 Q. Correct. 01:35:21p
15 A. And the response to that was all the money was 01:35:22p
16 staying into it to develop the line. 01:35:24p
17 Q. Okay. So neither Ms. Zimmerman, yourself or 01:35:27p
18 Mr. Gwynn had received any compensation -- 01:35:32p
19 A. As 1 recall -- 01:35:35p
20 Q. -- from this entity? 01:35:37p
21 A. Yes, as 1 recall. 01:35:38p
22 Q. Okay. This question is in reference to the 01:35:50p
23 exhibit and page 1. 01:35:52p
24 Mr. Rabon, would you tell me, as contained in 01:35:59p
25 Ms. Zimmerman's letter -- really written on her behalf 01:36:02p

 

 

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1 from the eXclusively Accident Attorney firm, what term 01:36:07p
2 her attorney used to refer to this entity, as contained 01:36:14p
3 in the first paragraph. 01:36:19p
4 A. And what's your question? 01:36:34p
5 Q. What was the term that Ms. Zimmerman's 01:36:37p
6 attorney used to refer to the entity? The first 01:36:39p
7 paragraph. 01:36:47p
8 A. "1nterest." 01:36:47p
9 Q. Third sentence. 01:36:47p
10 MR. SMELTZER: 1'll object to the form of 01:36:52p
11 the question. 01:36:53p
12 MR. LEYVA: That's fine. 01:36:54p
13 Q. 1n the first paragraph of this letter, does 01:36:55p
14 Ms. Zimmerman's attorney refer to Ms. Zimmerman -- 01:37:00p
15 starting the second sentence, midway, "Ms. Zimmerman 01:37:07p
16 had discussions regarding the formation of a 01:37:10p
17 corporation, to be known as Hurricane Pass Traders 01:37:12p
18 (HPT)" in parenthesis, "with the business of the 01:37:16p
19 corporation being the production and sales of apparel 01:37:18p
20 and reproduced artwork." 01:37:21p
21 MR. SMELTZER: 1'll object that you put a 01:37:23p
22 plural on the "Trader." 01:37:25p
23 MR. LEYVA: That's fine. 01:37:28p
24 Q. My question, now -- 01:37:30p
25 A. "Corporation." 01:37:32p

 

 

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1 Q. No. The term that her attorney used to 01:37:32p
2 describe the entity, 01:37:36p
3 A. "Formation." 01:37:38p
4 Q. We'll move on. We'll move on. That's fine. 01:37:42p
5 To the best of your knowledge, what does the 01:37:54p
6 reference to a "corporation" mean to you in this first 01:37:57p
7 paragraph? 01:37:59p
8 A. What does a reference to a corporation mean? 01:38:02p
9 Q. Yes. 01:38:04p
10 A. That at some point there would be a 01:38:05p
11 corporation of these three people, 01:38:08p
12 Q. And that would be a separate and distinct 01:38:11p
13 entity from whatever the entity was prior to that; is 01:38:14p
14 that correct? 01:38:18p
15 A. No. 01:38:23p
16 Q. No, it's not correct? 01:38:25p
17 A. What was prior to that? 01:38:27p
18 Q. The entity that was made up of you, 01:38:30p
19 Ms. Zimmerman and Mr. Gwynn. That's what was prior to 01:38:33p
20 that. 01:38:36p
21 MR. SMELTZER: 1'll object to the form, to 01:38:37p
22 the extent that presumes that there was an 01:38:39p
23 entity, 01:38:41p
24 THE DEPONENT: There was only -- 01:38:43p
25 BY MR. LEYVA: 01:38:44p

 

 

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1 Q. We've described it as an entity, have you not? 01:38:44p
2 And you took issue with the description of it as a 01:38:47p
3 partnership, so we decided to call it an entity, 1 01:38:50p
4 mean, the three people, the triad, as you referred it 01:38:53p
5 to, that entity, 01:38:57p
6 A. There was never this, then this. 1t was 01:38:58p
7 always one thing. 01:39:03p
8 Q. 1 don't know what you mean, Please explain 01:39:05p
9 that to me. What was always one thing? 01:39:08p
10 A. There wasn't a before and then another group 01:39:10p
11 of three later, two separate entities. 01:39:17p
12 Q. Mr. Rabon, let me ask you this question: 15 a 01:39:22p
13 corporation different, the form of a corporation 01:39:26p
14 different than this thing that you guys had in the side 01:39:29p
15 T-shirt business? 01:39:34p
16 A. Form? 01:39:34p
17 Q. 15 it a different business form? 01:39:35p
18 A. Yes. 01:39:39p
19 MR. SMELTZER: 1'll object to the form. 01:39:39p
20 BY MR. LEYVA: 01:39:41p
21 Q. Yes, it is a different form? 01:39:41p
22 A. 1t formalizes it. 01:39:45p
23 Q. But, in your mind, there's no distinction 01:39:47p
24 between one and the other? Between what you had before 01:39:50p
25 and the formation of a corporation, is there any 01:39:53p

 

 

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1 distinction, in your mind, between one and the other, 01:39:56p
2 or are they one in the same to you? 01:39:59p
3 A. 1n legal terms -- 01:40:00p
4 Q. No, in business terms. 1'm not asking a legal 01:40:01p
5 question here. 1'm asking a business question to an 01:40:04p
6 executive, president of a company. 01:40:07p
7 15 there any distinction, in your mind, 01:40:09p
8 between the one and the other? 01:40:11p
9 A. No. 01:40:18p
10 Q. What does the reference to a draft 01:40:26p
11 agreement -- the second paragraph, it says "a rough 01:40:28p
12 draft of an agreement." What does that reference mean 01:40:33p
13 to you, if anything? 01:40:37p
14 A. That perhaps there's a document that we talked 01:40:40p
15 about what the intention was. 01:40:42p
16 Q. What type of document, to the best of your 01:40:48p
17 understanding, might that be? 01:40:50p
18 A. 1 don't know. 01:40:53p
19 Q. Might it be an operating agreement of a 01:40:54p
20 corporation? 01:40:56p
21 A. 1 don't know. 01:40:59p
22 Q. Do you know what an operating agreement of a 01:41:01p
23 corporation is? 01:41:03p
24 A. 1 understand it. 01:41:05p
25 Q. What is it? 01:41:05p

 

 

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1 A. Basically outlining what the intent of the 01:41:09p
2 corporation is, what it's going to do. 01:41:12p
3 Q. Anything else? Okay. 1'd like to turn your 01:41:16p
4 attention to the same exhibit, page 5, 1 think, if 1 01:41:31p
5 didn't misnumber these, in physical order. 01:41:35p
6 MR. SMELTZER: That's the Settlement -- 01:41:46p
7 MR. LEYVA: Yes. 01:41:47p
8 MR. SMELTZER: -- and Release Agreement. 01:41:48p
9 MR. LEYVA: 1t says "Settlement and Release 01:41:49p
10 Agreement." 01:41:52p
11 Q. Would you like to take some time to read this 01:41:54p
12 agreement again? 01:41:57p
13 A. Okay. 01:42:34p
14 Q. Based on your reading and understanding of 01:42:38p
15 this agreement, did Mr. Gwynn personally buy out 01:42:41p
16 Ms. Zimmerman's share in this entity, or was she bought 01:42:45p
17 out by HTPGP? 01:42:50p
18 MR. SMELTZER: 1'll object, to the extent 01:42:59p
19 it calls for a legal conclusion. But, again, 1 01:43:00p
20 think the way he's asking for is just your 01:43:02p
21 understanding, 01:43:07p
22 THE DEPONENT: A check was written by Gwynn 01:43:09p
23 on behalf of HPT. 01:43:14p
24 BY MR. LEYVA: 01:43:19p
25 Q. Now, the language here, bullet number 1, can 01:43:19p

 

 

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1 you read that to me. 01:43:23p
2 A. "By signing this agreement Zimmerman hereby 01:43:24p
3 assigns and conveys whatever interest she may have in 01:43:27p
4 HPT to Gwynn." 01:43:30p
5 Q. As a matter of fact, it doesn't say "to Gwynn 01:43:30p
6 or HTPGP," does it? 1t says "Gwynn," period, 01:43:36p
7 A. That's correct. 01:43:44p
8 Q. On what basis do you contend that it was 01:43:45p
9 conveyed to Gwynn on behalf of HTPGP? 01:43:48p
10 A. This document is addressed to me and Gwynn. 01:43:54p
11 Furthermore, the entity that ended up with Gwynn and 01:44:01p
12 Rabon paid Gwynn back, with interest, 01:44:06p
13 Q. Okay. So there was a check written to Gwynn 01:44:09p
14 for $6,300? 01:44:12p
15 A. Plus interest, 01:44:14p
16 Q. Plus interest, And what account was that 01:44:14p
17 check written from? 01:44:18p
18 A. The HPT account that was established, 01:44:20p
19 Q. HTPGP. This is the time of HTPGP. We haven't 01:44:25p
20 gotten to HPT, 1nc., yet. 01:44:28p
21 A. You asked me where the check came from, 01:44:30p
22 Q. Right. 01:44:32p
23 A. 1t came from the checking account that HPT 01:44:32p
24 established, 01:44:35p
25 Q. What checking account was that? Was it the 01:44:35p

 

 

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1 Shorts, 1nc./HPT account? 01:44:38p
2 A. 1 can't recall specifically. 1t could have 01:44:42p
3 been the Premier account, 1f 1 may, you have copies of 01:44:44p
4 it, and it says, "1ncluding interest." 01:44:49p
5 Q. We have copies of it? 01:44:56p
6 MS. HUNTER: Uh-huh. 01:45:02p
7 MR. SMELTZER: As much as you want to help. 01:45:03p
8 MR. LEYVA: Thank you. 01:45:04p
9 MR. SMELTZER: You want to go further, 01:45:10p
10 after Monday? 01:45:11p
11 MS. HUNTER: Uh-uh. 01:45:12p
12 BY MR. LEYVA: 01:45:15p
13 Q. Now, there was a separate -- was this account 01:45:15p
14 that we have copies of an account that was part of 01:45:19p
15 William Short's Clothiers? 01:45:24p
16 A. 1 don't recall whether it was part of that 01:45:25p
17 account or a new account established by HPT. 01:45:27p
18 Q. No, this is in the HTPGP time period, HPT, 01:45:32p
19 1nc., is not formed at this moment in time, When -- 01:45:35p
20 This is circa June 2006, just to get our time frames 01:45:39p
21 correct, because it's important. This is circa June or 01:45:43p
22 July 2000, 01:45:47p
23 A. 2000, 01:45:48p
24 Q. Right. Not 2002, HPT, 1nc., came into 01:45:49p
25 existence in July of 2002, 01:45:53p

 

 

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1 MR. SMELTZER: 1 guess 1'll object to the 01:45:55p
2 form of the question or the statement, because 1 01:45:56p
3 don't think he said when it was reimbursed. 01:45:58p
4 1t could have been reimbursed -- 1 01:46:01p
5 don't know -- 2002, 2003, when it existed. 1 01:46:03p
6 just don't know. 01:46:06p
7 MR. LEYVA: Right. 01:46:06p
8 Q. And 1'm asking specifically, was it reimbursed 01:46:07p
9 from an HTPGP account at this period in time, on or 01:46:10p
10 about this period in time when Mr. Gwynn wrote a 01:46:14p
11 personal check to Ms. Zimmerman? 01:46:18p
12 A. 1 think the checkbook -- and 1'm just going 01:46:20p
13 from memory -- says "Shorts, 1nc./HPT." 01:46:23p
14 Q. Okay. And so that Shorts, 1nc./HPT, did it, 01:46:30p
15 in fact, exist at that period of time, before HPT, 01:46:44p
16 1nc., was formed? This is circa July 2000 now. 01:46:47p
17 A. 1 don't recall the time frame. 1t was 01:46:52p
18 certainly there to write the check. 01:46:54p
19 Q. Okay, that's fine. 01:46:56p
20 Mr. Rabon, when HTPGP, the entity that was a 01:47:18p
21 triad, and was no longer a triad when Ms. Zimmerman 01:47:24p
22 left, was incorporated into HPT, 1nc. 01:47:27p
23 MR. SMELTZER: Can you read that back, 01:47:31p
24 please. 1 missed it. 01:47:33p
25 (Record read at this point.) 01:47:34p

 

 

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1 BY MR. LEYVA: 01:47:56p
2 Q. At that time of the incorporation of HPT, 01:47:56p
3 1nc., on what basis was it decided that you would be -- 01:47:59p
4 you would hold 50 percent of the shares and Mr. Gwynn 01:48:04p
5 would hold 50 percent of the shares? 01:48:08p
6 A. We mutually agreed to that. 01:48:11p
7 Q. So please describe to me, from a business 01:48:18p
8 perspective, the contribution you felt you brought to 01:48:21p
9 HPT that warranted a distribution of 50 percent of the 01:48:25p
10 shares. 01:48:30p
11 A. The credit facility, the storing of different 01:48:35p
12 components of the business -- the transfers, the 01:48:44p
13 machines, the T-shirts in the stores. 01:48:49p
14 Q. So facilities operations -- 01:48:52p
15 A. Relationships with vendors, being able to buy 01:48:56p
16 something on credit. 01:48:58p
17 Q. Okay. Anything else? 01:48:59p
18 A. That's -- There could be. Those are the 01:49:04p
19 things that come to my mind. 01:49:06p
20 Q. From your perspective, please describe why 01:49:08p
21_ Mr. Gwynn's contribution to HPT, 1nc., warranted 50 01:49:15p
22 percent of the shares. 01:49:19p
23 A. Why Gwynn's -- Well, we started out with three 01:49:25p
24 people, One person was removed, it left two. He got 01:49:29p
25 50 percent and 1 got 50 percent. 01:49:34p

 

 

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1 Q. So it was just an arbitrary decision? 01:49:36p
2 A. Right. 01:49:39p
3 Q. But can you describe to me the skill sets, 01:49:39p
4 similar to things that you brought to the table, that 01:49:42p
5 Mr. Gwynn brought to the table to warrant a 50 percent 01:49:45p
6 share in this corporation that you were forming. 01:49:48p
7 A. He had some -- because of his computer 01:49:58p
8 background, he had some graphics knowledge, 1'll say. 01:50:04p
9 1t was a way for me to also help him. 1 could have 01:50:14p
10 done the T-shirt business and had him as an employee, 01:50:20p
11 Q. So you did it out of charity? 15 that -- 01:50:24p
12 A. 1 didn't do it out of charity. 01:50:29p
13 Q. Okay. 01:50:31p
14 A. 1'm -- 01:50:31p
15 Q. You answered that you were an experienced 01:50:33p
16 business executive, Do experienced business executives 01:50:35p
17 tend to just give away a 50 percent share of a business 01:50:38p
18 just because, arbitrary, 1 pick a number? "We were one 01:50:41p
19 third here, we're 50 percent there." 15 that typically 01:50:45p
20 how you would conduct business or how you would form a 01:50:48p
21 corporation? 01:50:51p
22 A. That's not typical. 01:50:51p
23 Q. Correct. So tell me a little bit more about 01:50:52p
24 Mr. Gwynn's computer expertise, graphics and -- 01:50:55p
25 A. Well, 1 don't know that he had graphics. He 01:51:00p

 

 

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1 knew how to go into Corel Draw or go into programs 01:51:05p
2 where you could buy thousands of images of sharks or 01:51:11p
3 airplanes or boats, pull them off, put them on 01:51:15p
4 something, 01:51:18p
5 Q. Was this something that he did as part of his 01:51:19p
6 job at William Short Clothiers, 1nc.? Was that part of 01:51:22p
7 his job function at WSC? 01:51:27p
8 A. To do what? 01:51:29p
9 Q. To do exactly what you just said, this 01:51:30p
10 computer-related work. 01:51:33p
11 A. 1 wouldn't say it was part of his job. 01:51:35p
12 Q. Would you say -- 1 didn't hear the answer, so 01:51:39p
13 can you tell me again? 01:51:42p
14 A. 1 wouldn't say it was, you know -- he did it, 01:51:43p
15 but it wasn't necessarily a requirement. 01:51:47p
16 Q. 1 don't understand, Was it part of his job 01:51:51p
17 responsibilities at WSC to go into Corel Draw, go out 01:51:55p
18 to websites to look at how to buy stuff? Was that part 01:52:00p
19 of his job at WSC? 01:52:03p
20 MR. SMELTZER: 1'll object to the form. 01:52:05p
21 1t's compound. Wait until he's done, please. 01:52:07p
22 THE DEPONENT: No. 01:52:11p
23 MR. LEYVA: Okay. 01:52:13p
24 Q. At this point, 1 would like to introduce 01:52:23p
25 Exhibit 5. 1t appears to be a document that represents 01:52:24p

 

 

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1 an HPT ledger. Also contains what appears to be either 01:52:30p
2 a check or bank transfer from a specified account, 01:52:35p
3 (Plaintiff's Exhibit 5 was marked for 01:52:39p
4 identification.) 01:52:39p
5 BY MR. LEYVA: 01:53:04p
6 Q. Mr. Rabon, let me know when you've had enough 01:53:04p
7 time to study this document, 01:53:08p
8 A. Okay. 01:54:04p
9 Q. Mr. Rabon, at the top of this document there's 01:54:07p
10 the word "Name:" followed by three letters. What are 01:54:15p
11 they? 01:54:18p
12 A. The top line? 01:54:21p
13 Q. Yes. 01:54:22p
14 A. 1t says "HPT." 01:54:23p
15 Q. And on the line under "Account No." there 01:54:25p
16 appears to be a year. What year is that? 01:54:30p
17 A. 2001. 01:54:31p
18 Q. 15 this a document ledger that you recognize? 01:54:33p
19 A. Not specifically. 01:54:41p
20 Q. Does it appear to be a document ledger related 01:54:47p
21 to the HTPGP entity? 01:54:51p
22 A. 1 don't know if it pertains to the "GP" 01:54:57p
23 portion of that. 1 don't know that. 01:55:01p
24 Q. This is 2001, so HPT, 1nc., was formed July 01:55:01p
25 2002, 01:55:08p

 

 

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1 So when you say it doesn't appear to be to the 01:55:10p
2 "GP" part, can you clarify that for me? 01:55:17p
3 A. Well, 1 guess everything that 1've understood 01:55:20p
4 through this, the "GP" was the triad. This is after 01:55:23p
5 that. 01:55:26p
6 Q. That's correct. 1t's after the triad but it's 01:55:34p
7 before HPT, 1nc. That's the correct time frame. 01:55:37p
8 But is it a ledger that pertains to the entity 01:55:44p
9 that formerly had three and now it has two? 01:55:48p
10 A. 1t looks like it could be. 01:55:51p
11 Q. Okay. About midway down there's a date that 01:55:52p
12 says "5-14." Read the date column. 01:55:59p
13 A. Uh-huh. 01:56:04p
14 Q. 1t says, "Sales to Short #1101." Can you tell 01:56:05p
15 me what that might pertain to? 01:56:11p
16 MR. SMELTZER: 1'll object to the lack of 01:56:19p
17 foundation, 01:56:21p
18 THE DEPONENT: Whoever wrote this -- 1 01:56:23p
19 don't know their bookkeeping method and how -- 01:56:27p
20 what that would mean, 01:56:29p
21 BY MR. LEYVA: 01:56:34p
22 Q. Now, who would have been the bookkeeper for 01:56:34p
23 HTPGP either when there was three or two? Who was the 01:56:37p
24 bookkeeper that took care of this? 01:56:42p
25 A. Probably Linda Dejung, for the most part, yep. 01:56:49p

 

 

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1 Q. For the most part. Was there anybody else? 01:56:54p
2 A. No. 1 think she generally kept this book. 01:56:56p
3 Q. And who did Lynn Dejung report to at WSC? 01:57:02p
4 A. Probably Bill Short. 01:57:09p
5 Q. What was her title? 01:57:12p
6 A. She was a bookkeeper. 01:57:14p
7 Q. She reported directly to Bill Short? 01:57:17p
8 A. You know, she was a bookkeeper. He sat right 01:57:19p
9 outside her office. 01:57:25p
10 Q. There was no other financial controller at WSC 01:57:28p
11 who she might have reported to at the time? 01:57:33p
12 A. 1 don't recall who the entire staff was at 01:57:37p
13 that time, 01:57:40p
14 Q. But you were a WSC employee at the time, were 01:57:42p
15 you not? 01:57:46p
16 A. Yes. 01:57:46p
17 Q. Okay. Now, there's a second entry here, it 01:57:47p
18 says, "Shorts-Admin," it looks like it says "Pay 01:57:53p
19 received." On 5-14. Do you see that? 01:57:57p
20 A. Yes. 01:58:01p
21 Q. For the amount of $500. Do you have any idea 01:58:01p
22 what that entry might be? 01:58:07p
23 A. No. 01:58:08p
24 Q. Okay. Now, this is -- if you would turn this 01:58:12p
25 so you can look at this -- 1'm not sure what this 01:58:18p

 

 

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1 document is, so you can look at that piece that's got a 01:58:20p
2 little Sticky Note on it. 01:58:24p
3 Do you recognize this document as a check? A 01:58:25p
4 transfer? 15 it anything -- That document right there, 01:58:27p
5 yes. 01:58:32p
6 A. 1 can't read that. 01:58:32p
7 Q. Okay. About the middle of the document, do 01:58:35p
8 you recognize something that says -- the number 0046? 01:58:43p
9 A. 1'm sorry, 1 don't. 01:58:55p
10 Q. Do you wear glasses? 01:58:56p
11 A. 1 have contacts on. 01:58:58p
12 Q. You have them on now? 01:58:59p
13 A. Yeah. 01:59:00p
14 Q. And you don't recognize -- You can't see 0046? 01:59:01p
15 A. Oh, right, my bad. Okay, okay. "Tran 00046." 01:59:04p
16 1 see that. 01:59:09p
17 Q. All right. And two lines down from that, it 01:59:10p
18 looks like the word is "Account." 15 that correct? 01:59:15p
19 Would you agree? 01:59:21p
20 A. 1 see that. 01:59:21p
21 Q. Now, it looks to me like it appears to be 01:59:25p
22 there's an account number that's barely legible, but 01:59:28p
23 can you make out what the last three numbers are on 01:59:31p
24 that account? 01:59:34p
25 A. The last -- the middle one is "2." 1 can't 01:59:41p

 

 

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1 clearly make out the first or the third, 01:59:45p
2 Q. 1'm asking about the last three right now. 01:59:49p
3 A. Okay. 1'm talking of your three. Let's just 01:59:51p
4 talk about your three. 01:59:54p
5 Q. 1 see what you're saying. 01:59:56p
6 A. 1 can make out the "2." 1'm not comfortable 01:59:57p
7 with number one or number three. 02:00:00p
8 Q. Okay. Moving to the left of that, can you 02:00:04p
9 make out a "66"? 02:00:10p
10 A. On that same line? 02:00:18p
11 Q. Yes. 02:00:19p
12 A. 1 can make out one "6," it appears. 02:00:20p
13 Q. Okay. Do you have any idea what that account 02:00:30p
14 number represents, and if it represents the Shorts, 02:00:38p
15 1nc./HPT account? 02:00:40p
16 A. No, 1 don't know. 02:00:43p
17 Q. You don't know? 02:00:43p
18 A. No, 1 don't know. 02:00:45p
19 Q. That's fine. 02:00:47p
20 MR. SMELTZER: 1 think we told you that in 02:00:48p
21 1nterrogatories, didn't we? This can be off the 02:00:50p
22 record, 02:00:53p
23 (Discussion held off the record.) 02:00:54p
24 BY MR. LEYVA: 02:01:44p
25 Q. Mr. Rabon, 1 would like to introduce what 02:01:44p

 

 

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1 appears to be a Bank of America account and activity 02:01:46p
2 related to it labeled "Shorts 1nc HPT" that spans from 02:01:52p
3 12-1-02 to 12-31-02. 02:01:58p
4 A. 15 this the same thing? 02:02:15p
5 Q. Yes, 1'm sorry. 02:02:17p
6 (Plaintiff's Exhibit 6 was marked for 02:02:30p
7 identification.) 02:02:30p
8 MR. SMELTZER: Carlos, can 1 ask you 02:04:00p
9 something off the record while he's looking at 02:04:02p
10 that? 02:04:03p
11 MR. LEYVA: Sure. 02:04:04p
12 (Discussion held off the record.) 02:04:04p
13 THE DEPONENT: Okay. 02:05:17p
14 MR. LEYVA: Okay. 02:05:19p
15 Q. Mr. Rabon, on the first page of this document, 02:05:22p
16 the top right-hand corner, can you tell me what the 02:05:25p
17 account number is? 02:05:27p
18 A. 003669732525. 02:05:30p
19 Q. Correct. Now, is it your understanding that 02:05:40p
20 this Shorts, 1nc./HPT account was part of other William 02:05:47p
21 Shorts accounts at Bank of America? 15 this a 02:05:56p
22 William -- WSC account? 02:05:58p
23 MR. SMELTZER: 1'll object to the form. 02:06:01p
24 THE DEPONENT: What do you mean by "part"? 02:06:07p
25 BY MR. LEYVA: 02:06:15p

 

 

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1 Q. Well, a corporation can have an account at a 02:06:15p
2 bank, right? They can have multiple accounts at a 02:06:19p
3 bank, more than one -- checking, savings, whatever, 02:06:23p
4 okay. Was this Shorts, 1nc./HPT part of a WSC account? 02:06:26p
5 Did William Short's Clothier control the account that 02:06:33p
6 was named Shorts, 1nc./HPT? 02:06:36p
7 A. No, HPT did. 02:06:40p
8 Q. HPT, 1nc., or HTPGP? 02:06:47p
9 A. Whoever -- whoever this check -- this account 02:06:54p
10 refers to, HPT, that's who controlled this account, 02:06:57p
11 Q. Did HPT, 1nc., ever have an account at Bank of 02:07:05p
12 America? 1nc., 02:07:09p
13 A. 1 don't recall. 1 don't know. 02:07:12p
14 Q. You don't know? 02:07:15p
15 A. Not right offhand. 02:07:16p
16 Q. Okay. Now, do you believe it to be -- this 02:07:19p
17 Shorts, 1nc., account that we're referring to here at 02:07:34p
18 Bank of America, the account that HTPGP, the triad, the 02:07:37p
19 entity between you, Ms. Zimmerman and Mr. Gwynn, used 02:07:40p
20 to conduct business? 15 it one in the same account? 02:07:44p
21 MR. SMELTZER: 1'll object to the form, 02:07:50p
22 presupposes that the triad had one, an account, 02:07:51p
23 at any time, 02:07:56p
24 THE DEPONENT: This is dated 12-1-02. 1 02:07:57p
25 think that's a couple years after Zimmerman was 02:08:00p

 

 

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1 gone. 02:08:03p
2 MR. LEYVA: That's not my question. 02:08:04p
3 Q. My question was: 15 this the same account? 02:08:05p
4 We have -- We can go back in the record, 02:08:10p
5 You made reference to an account at the time 02:08:12p
6 of HTPGP, some account, 1'm asking you, is this 02:08:14p
7 account, the Shorts, 1nc./HPT account, bank account, 02:08:19p
8 the one that was used when you, Mr. Gwynn and 02:08:24p
9 Ms. Zimmerman had the entity? 02:08:27p
10 MR. SMELTZER: 1'll object -- 02:08:29p
11 THE DEPONENT: 1 made a reference that we 02:08:30p
12 had an account? 02:08:31p
13 MR. SMELTZER: Let me object, 02:08:32p
14 Mischaracterizes his prior testimony. 02:08:34p
15 MR. LEYVA: Can we go back when we started 02:08:35p
16 talking about HTPGP accounts, please. 1t may be 02:08:37p
17 15 minutes back. 02:08:41p
18 (Discussion held off the record.) 02:08:43p
19 BY MR. LEYVA: 02:08:43p
20 Q. You indicated that Mr. Gwynn was reimbursed, 02:08:43p
21 with interest, for the personal payment that he made to 02:09:13p
22 Ms. Zimmerman, correct? 02:09:18p
23 A. Correct. 02:09:19p
24 Q. 15 that correct? Did you not reference that 02:09:19p
25 it was made from an account, some account, with 02:09:21p

 

 

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1 interest? 02:09:23p
2 A. Yes. 02:09:24p
3 Q. What 1'm asking you: 15 that account that you 02:09:24p
4 referenced, is it the Shorts, 1nc./HPT account, one in 02:09:26p
5 the same? Are those accounts one in the same? 02:09:30p
6 A. 1 don't know. 02:09:32p
7 Q. You don't know. Fine. 02:09:32p
8 1 would like to introduce Exhibit 7. 1t 02:09:51p
9 appears to be a Bank of America transfer of funds from 02:09:55p
10 the Shorts, 1nc./HPT to an account controlled by HPT, 02:09:59p
11 1nc. 02:10:04p
12 (Plaintiff's Exhibit 7 was marked for 02:10:05p
13 identification.) 02:10:05p
14 MR. SMELTZER: Can you read back that 02:10:06p
15 question, please. 02:10:08p
16 (Record read at this point.) 02:10:10p
17 MR. SMELTZER: 1'll object to the 02:10:32p
18 statement, to the extent it suggested that the 02:10:34p
19 Shorts, 1nc./HPT account was not controlled by 02:10:39p
20 HPT. You are obviously free to ask him whatever 02:10:43p
21 you want about it. 02:10:50p
22 THE DEPONENT: Can 1 get a copy that's not 02:10:52p
23 covered? Okay. What are you saying this is a 02:10:56p
24 copy of? Give me that one more time, 02:11:45p
25 MR. SMELTZER: 1 already made an objection. 02:11:49p

 

 

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1 Just let him ask questions about the document, 02:11:51p
2 MR. LEYVA: 1'm going to ask questions, 02:11:53p
3 yes. 02:11:55p
4 Q. Does this appear to you to be a check register 02:11:56p
5 related to HPT, 1nc.? 02:12:00p
6 A. Yes, it could be. 02:12:07p
7 Q. Can you read the date, the top right-hand 02:12:09p
8 corner, 1t looks like it's entry 1000. Just read the 02:12:12p
9 date. 02:12:21p
10 A. The date, 4-9-04. 02:12:21p
11 Q. Right. And to the right of that, can you read 02:12:25p
12 that amount? 02:12:27p
13 A. 8664. 02:12:31p
14 Q. Correct. 02:12:36p
15 MR. SMELTZER: 1'm sorry. We're talking 02:12:37p
16 about -- Can you read back the question? 02:12:39p
17 Because 1 thought you said the amount of the 02:12:44p
18 check. 02:12:46p
19 THE DEPONENT: Right. 02:12:47p
20 MR. SMELTZER: And then 1 heard "8664." 02:12:48p
21 THE DEPONENT: Right. 02:12:5lp
22 MR. SMELTZER: 15 that what it said? 02:12:55p
23 (Record read at this point.) 02:12:57p
24 MR. SMELTZER: He's asking for amount. 02:13:07p
25 THE DEPONENT: To the right of that. 02:13:08p

 

 

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1 MR. SMELTZER: Yeah. 02:13:10p
2 THE DEPONENT: Okay. 02:13:10p
3 MR. LEYVA: Can we go off the record, 02:13:15p
4 MR. SMELTZER: Let me object to the form of 02:13:21p
5 the question, after the fact, 02:13:23p
6 MR. LEYVA: On what grounds? 02:13:26p
7 MR. SMELTZER: Because 1 didn't look at 02:13:31p
8 that as an amount, so to the extent it 02:13:32p
9 presupposes that that number is an amount. 02:13:34p
10 MR. LEYVA: Okay. 02:13:40p
11 MR. SMELTZER: 1'm just looking at the 02:13:41p
12 other stuff. 1 don't want this on the record, 02:13:43p
13 1'll be quiet. 02:13:49p
14 BY MR. LEYVA: 02:13:55p
15 Q. Mr. Rabon, do you recall a deposit of funds 02:13:55p
16 made into HPT, 1nc.'s, bank account around this time 02:14:00p
17 frame, 4-9-04, for that amount, 8664? 02:14:06p
18 A. 1 don't recall it. 02:14:15p
19 Q. But if there was such an entry, it would be in 02:14:21p
20 your Quickbooks system, would it not, in the HPT, 1nc.? 02:14:27p
21 Because this is 4-9-04. 02:14:31p
22 MR. SMELTZER: 1'll object to the form of 02:14:34p
23 the question. 02:14:35p
24 BY MR. LEYVA: 02:14:38p
25 Q. Let me ask it again, 1f this was a deposit 02:14:38p

 

 

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1 that was made into an HPT, 1nc., account, would that be 02:14:41p
2 reflected in HPT, 1nc.'s accounting? 02:14:46p
3 A. 1t is reflected right here. 02:14:56p
4 Q. So you agree this is an HPT, 1nc., ledger and 02:15:01p
5 it -- 02:15:05p
6 A. 1 said 1 assumed it was. You asked me if it 02:15:05p
7 looked like businesses that it did, and 1 said it looks 02:15:08p
8 like it. 02:15:10p
9 Q. Right. 02:15:11p
10 A. Yes. 02:15:12p
11 Q. Now are you saying that for certain that it 02:15:12p
12 is? 1 mean, are -- 02:15:14p
13 A. 1 still maintain this looks like it could be 02:15:16p
14 from a register for HPT. 02:15:18p
15 Q. Okay. And that amount would be reflected in 02:15:22p
16 the check register in HPT, 1nc., correct? 02:15:24p
17 A. 1f this is, in fact, from that register, yes. 02:15:28p
18 Q. Okay. 02:15:31p
19 A. Uh-huh, sure. 02:15:32p
20 Q. And would the transfer, where these funds came 02:15:36p
21 from, also be reflected in that check register? 02:15:38p
22 MR. SMELTZER: 1'll object to foundation, 02:15:45p
23 THE DEPONENT: 1 don't -- 1 don't know that 02:15:47p
24 it would. 02:15:49p
25 MR. LEYVA: Okay. 02:15:51p

 

 

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1 Q. Mr. Rabon, 1 would like to return your 02:16:26p
2 attention to Exhibit 6, page 2, at the bottom. Can you 02:16:28p
3 tell me what, at the very bottom, the date in the last 02:17:01p
4 entry, 02:17:08p
5 A. 7-1. 02:17:12p
6 Q. And there's a balance column, and can you tell 02:17:14p
7 me the amount? 02:17:17p
8 A. 8,664.70. 02:17:18p
9 Q. And the name on this account at the top of the 02:17:22p
10 page? 02:17:24p
11 A. Shorts 1nc HPT. 02:17:25p
12 Q. Does that amount match the amount on 02:17:28p
13 Exhibit 7, the dollar amount? 02:17:31p
14 A. 1t appears, except for perhaps the 70 cents. 02:17:43p
15 Q. Correct. Thank you. 02:17:48p
16 A. And my copy is cut off, 02:18:01p
17 Q. Yes. 02:18:03p
18 A. 1 don't know how far out it goes. 02:18:04p
19 Q. Yes, it doesn't show, that's correct. 02:18:06p
20 Mr. Rabon, as President of Rabco, did you 02:18:14p
21 preside, as President, over a corporation that 02:18:20p
22 generated millions of dollars of 1nternet sales revenue 02:18:24p
23 over a period of years; is that correct? 02:18:28p
24 A. Ask that one more time, 02:18:34p
25 Q. Mr. Rabon, as President of Rabco, did you 02:18:39p

 

 

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1 preside over a corporation that generated millions of 02:18:43p
2 dollars of 1nternet sales revenue over a period of 02:18:45p
3 years? 15 that correct? 02:18:50p
4 A. 1nternet sales, yes. 02:18:52p
5 Q. Can you quantify how many millions over a 02:18:55p
6 period of years? Ballpark. 02:18:58p
7 A. Several million. 1 don't know the number 02:19:04p
8 right offhand. 02:19:08p
9 Q. Two? Four? Five? 02:19:10p
10 A. Could be. 02:19:11p
11 MR. SMELTZER: Object, calls for 02:19:12p
12 speculation. 02:19:13p
13 MR. LEYVA: Okay. 02:19:13p
14 Q. To the best of your knowledge, approximately 02:19:16p
15 how many years did Rabco conduct business online using 02:19:17p
16 shopping cart technology? 02:19:23p
17 A. 1'm not sure. 02:19:35p
18 Q. Can you give me an approximate time? Was it 02:19:41p
19 2002? 2003? 2004? 2001? 02:19:43p
20 A. 1 don't -- 02:19:48p
21 Q. When Rabco first started doing E-commerce and 02:19:48p
22 selling goods online via shopping cart. 02:19:51p
23 A. 1 don't recall if it was called a "cart" back 02:20:00p
24 then. 02:20:03p
25 Q. Okay. So let me ask you this: By whatever it 02:20:06p

 

 

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1 was called, what 1'm referring to is customers actually 02:20:13p
2 being able to go online and purchase goods and paying 02:20:20p
3 for those goods online, completing the transaction 02:20:25p
4 online, Like you do at Amazon, like you do in a 02:20:30p
5 million places on the web. Whether you call it 02:20:34p
6 "shopping cart technology," that's my -- that's what 02:20:36p
7 1'm calling "E-commerce." Consumers can actually 02:20:40p
8 purchase online, 02:20:42p
9 At what point in time did Rabco start doing 02:20:43p
10 that? 02:20:46p
11 MR. SMELTZER: Object, asked and answered, 02:20:56p
12 calls for speculation. 02:20:57p
13 THE DEPONENT: 1t -- To my recollection, it 02:21:01p
14 would be when -- when Rabco, in the agreement, 02:21:04p
15 got all the assets from Shorts. 02:21:21p
16 MR. LEYVA: Correct. 02:21:28p
17 Q. So it would -- would it not approximate the 02:21:29p
18 time when Mr. Short began receiving commissions from 02:21:32p
19 1nternet sales; is that correct? 02:21:37p
20 A. 1'm not -- 1 don't know that for sure. 02:21:47p
21 Q. Which part don't you know for sure? 02:21:54p
22 A. The part about his commission, 02:21:58p
23 Q. So you may have started doing E-commerce 02:22:05p
24 transactions prior to the time that he received 02:22:07p
25 commissions? 02:22:09p

 

 

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1 A. He may have got a commission earlier, but -- 02:22:09p
2 Q. 1'm a little confused. 1 don't mean to be 02:22:18p
3 difficult here. 02:22:20p
4 1t was my understanding that Mr. Short's 02:22:22p
5 commissions were based on 1nternet sales, correct? 02:22:24p
6 A. Correct. 02:22:28p
7 Q. Those were 1nternet sales that were conducted 02:22:28p
8 where a consumer could purchase online; is that 02:22:31p
9 correct? 02:22:33p
10 A. Right. 02:22:33p
11 Q. Okay. So, are you saying that Mr. Short could 02:22:34p
12 have received commissions on 1nternet sales prior to 02:22:42p
13 the time that Rabco started doing 1nternet sales? 02:22:46p
14 A. 1 don't know what he did. 1 don't -- 1 have 02:22:50p
15 no idea what he did. Could he have taken some 02:22:55p
16 additional salary? 1t's possible. 1 don't know. 02:22:57p
17 Q. 1'm referring to Rabco's commissions that were 02:23:00p
18 paid to Mr. Short. 02:23:02p
19 A. So that happened when 1 -- when Rabco took 02:23:03p
20 over all the assets of Short's, 1nc., is when those 02:23:08p
21 payments began. 02:23:12p
22 Q. Okay. And that was about 2002, 2003, We've 02:23:13p
23 gone over this before, 02:23:18p
24 A. Yeah. 02:23:19p
25 Q. 1n that time frame. 02:23:19p

 

 

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1 A. Whenever the transition took place. 02:23:20p
2 Q. Okay, that's fine. 02:23:22p
3 So, Mr. Rabon, would it be fair to say that, 02:23:31p
4 as President of a corporation, that your company has 02:23:34p
5 been conducting business online for a number of years? 02:23:36p
6 A. Yes. 02:23:39p
7 Q. Mr. Rabon, are you familiar with the term 02:23:40p
8 "search engine optimization"? 02:23:45p
9 A. Yes. 02:23:49p
10 Q. Are you familiar with its acronym, SEO? That 02:23:49p
11 it's called SEO? 02:23:55p
12 A. Yes. 02:23:56p
13 Q. Please describe your general understanding of 02:23:59p
14 what "search engine optimization" means from a business 02:24:02p
15 perspective, 02:24:08p
16 A. That is using key words, important words, 02:24:09p
17 words that perhaps describe the product or the name of 02:24:21p
18 the product in what 1 call the bowels of the website, 02:24:23p
19 to help in search engine optimization. 02:24:28p
20 Q. The bowels of the website, Can you clarify 02:24:32p
21 that for me? 02:24:34p
22 A. The inside of the business -- the web 02:24:36p
23 business. The -- 02:24:39p
24 Q. Are you familiar with the term "metatags"? 02:24:45p
25 A. Somewhat. 02:24:49p

 

 

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1 Q. Can you describe your general understanding of 02:24:51p
2 what that term means. 02:24:53p
3 A. 1 kind of think of "metatags" and "key words" 02:24:57p
4 as similar things. 1'm not a Webmaster. 02:25:00p
5 Q. No, 1 understand, But you presided over a 02:25:07p
6 business that generated millions of dollars of 1nternet 02:25:10p
7 online sales, and that's the -- 1'm asking you as 02:25:12p
8 President of that corporation, not as a technical 02:25:15p
9 person. 02:25:18p
10 Do you know, in general, what sort of 02:25:22p
11 user-provided content is usually incorporated into 02:25:24p
12 metatags or key words? What is usually put into a 02:25:28p
13 metatag? 02:25:33p
14 A. 1'm not sure what would be put into a metatag. 02:25:33p
15 Q. Are metatags usually displayed to 1nternet 02:25:36p
16 consumers or are they hidden? 02:25:39p
17 A. 1 believe they would be hidden. 02:25:42p
18 Q. What is your understanding of the function 02:25:45p
19 that metatags perform vis-a-vis search engine 02:25:47p
20 optimization? What's their function? 02:25:52p
21 A. Perhaps like what key words would do. 02:25:56p
22 Q. And what do they do? 1 mean, why are they 02:26:00p
23 good, or a good thing or a bad thing with respect to 02:26:03p
24 search engine optimization? 02:26:06p
25 A. Well, the way 1 understand it, you're putting 02:26:09p

 

 

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1 in whatever these terms or words are perhaps the way an 02:26:12p
2 end user, the customer's going to search for them. 02:26:18p
3 Q. Okay. 02:26:20p
4 A. And if that works most of the time, then it 02:26:20p
5 helps your ranking in the search engines. 02:26:24p
6 Q. Okay. What kinds of files are metatags 02:26:29p
7 contained in? 02:26:36p
8 A. 1'm sorry? 02:26:37p
9 Q. What kinds of files? You described something 02:26:37p
10 as the "bowels of the website." Do you know what kind 02:26:40p
11 of files a metatag is contained within? 02:26:43p
12 A. No. 02:26:46p
13 Q. That's fine. To the best of your 02:26:46p
14 understanding, as President of Rabco, can you explain 02:26:51p
15 the relationship between metatags and the content that 02:26:54p
16 an 1nternet user sees visibly displayed on a page? 15 02:26:59p
17 there a relationship between the two? 02:27:04p
18 A. 1 don't know. 02:27:06p
19 Q. Okay. Mr. Rabon, are you generally familiar 02:27:07p
20 with Google search engine technology? 02:27:13p
21 A. Somewhat. 02:27:17p
22 Q. Do you use Google search on a regular basis? 02:27:17p
23 A. Yes. 02:27:20p
24 Q. Are you familiar with Google's search engine 02:27:24p
25 page rank algorithm? 02:27:26p

 

 

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1 A. Yes. 02:27:31p
2 Q. To the best of your knowledge, can you 02:27:34p
3 describe the original core concept that underpinned 02:27:35p
4 Google's page rank algorithm? Why was the page rank 02:27:39p
5 algorithm important? Do you understand what it was 02:27:44p
6 based on? 02:27:47p
7 MR. SMELTZER: 1'll object to the question, 02:27:47p
8 foundation, 02:27:50p
9 THE DEPONENT: 1 don't understand the 02:27:51p
10 question. 02:27:52p
11 BY MR. LEYVA: 02:27:52p
12 Q. You said you were familiar with Google's page 02:27:52p
13 rank algorithm; is that correct? 02:27:55p
14 A. 1 don't know if 1 -- 1'm familiar with their 02:27:56p
15 search engine. 1 don't know what the algorithm 02:27:59p
16 necessarily relates to it. 1'm not that 1nternet 02:28:02p
17 savvy. 02:28:06p
18 Q. Okay, that's fine. Mr. Rabon, are you 02:28:06p
19 familiar with a site called "Alexa"? 02:28:11p
20 A. No. 02:28:14p
21 Q. Mr. Rabon, have you personally created web 02:28:17p
22 pages? 02:28:19p
23 A. No. 02:28:20p
24 Q. Okay. 1'm going to move on to some questions 02:28:29p
25 regarding the bankruptcy petition, so 1'm going to 02:28:31p

 

 

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1 introduce two exhibits. One is the original petition, 02:28:37p
2 and the other one is the amended petition, 02:28:44p
3 A. Can we take a break so 1 can hit the restroom? 02:28:52p
4 MR. LEYVA: Absolutely. 02:28:56p
5 (Recess held at this time.) 02:28:56p
6 (Plaintiff's Exhibits 8 & 9 were marked for 02:40:24p
7 identification.) 02:40:24p
8 BY MR. LEYVA: 02:40:59p
9 Q. Mr. Rabon, before we proceed to talk about the 02:40:59p
10 bankruptcy petition, 1 just had a couple questions to 02:41:02p
11 finish up the 1nternet stuff we were discussing. 02:41:05p
12 Mr. Rabon, did you principally rely on 02:41:07p
13 Mr. Gwynn for his search engine optimization expertise 02:41:12p
14 for Rabco's alleged websites? Was he the person that 02:41:16p
15 you relied on for search engine optimization? 02:41:20p
16 A. Yes. 02:41:25p
17 Q. 15 it true that you relied on Mr. Gwynn also 02:41:29p
18 to create the content for Rabco's alleged websites? 02:41:32p
19 A. Let me go back to that first question. 1 02:41:38p
20 relied on him, but it was a joint effort. Many times 02:41:42p
21 did 1 suggest information that should be in the key 02:41:49p
22 words, 02:41:52p
23 Q. Okay. Did you suggest anything else other 02:41:55p
24 than key words, on how you would optimize to drive 02:41:58p
25 traffic to your sites? 02:42:04p

 

 

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1 A. Not that 1 can recall. 02:42:08p
2 Q. Do you understand the concept behind the 02:42:11p
3 feeder site concept that Mr. Gwynn created? You 02:42:15p
4 understand the importance of the feeder site concept 02:42:19p
5 vis-a-vis driving traffic to these sites? 02:42:23p
6 MR. SMELTZER: Objection to the form of the 02:42:26p
7 question. 02:42:27p
8 THE DEPONENT: Ask it one more time, 02:42:31p
9 BY MR. LEYVA: 02:42:35p
10 Q. Yes. You said that you and Mr. Gwynn played a 02:42:35p
11 joint role at times on the SEO activity and that you 02:42:38p
12 would suggest certain key words, okay. And what 1'm 02:42:44p
13 asking is, do you understand the concept of the feeder 02:42:47p
14 sites that fed traffic to HurricanePassTraders.com? 02:42:50p
15 A. 1 understood that concept, 02:43:03p
16 Q. What was your understanding of that concept? 02:43:05p
17 Why did it work? 02:43:07p
18 A. 1 don't know that it always worked, Some of 02:43:11p
19 the feeder sites had specific words in the URL. 02:43:21p
20 Q. Correct. And so how did having these sites 02:43:36p
21 help drive traffic, in addition to key words? 02:43:40p
22 1 mean, was there something else that was 02:43:44p
23 important about the feeder concept? 1f you don't know, 02:43:46p
24 then that's fine. 02:43:49p
25 A. 1 don't know of something else, 02:43:50p

 

 

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1 Q. Was there anyone else that you relied on 02:43:53p
2 besides yourself and Mr. Gwynn for search engine 02:43:55p
3 optimization work for Rabco's alleged websites? 02:43:58p
4 A. Not that 1 can recall offhand. Perhaps the 02:44:09p
5 Aztec 1 people did initially. 02:44:14p
6 Q. Who at Aztec 1? 02:44:16p
7 A. Kristi, whatever her last name is. 02:44:17p
8 MR. SMELTZER: 15 that all one word? 02:44:23p
9 BY MR. LEYVA: 02:44:27p
10 Q. 15 she the owner of Aztec 1? 15 she the 02:44:27p
11 proprietor, the owner? Kristi, 02:44:32p
12 A. 1 suspect she was. 02:44:34p
13 Q. And other than Mr. Gwynn, who did you rely on 02:44:37p
14 to create content, actually the pages, the content, the 02:44:39p
15 images, the things that made up the website? Who did 02:44:43p
16 you rely on besides Mr. Gwynn? 02:44:47p
17 A. And myself. 02:44:49p
18 MR. SMELTZER: 1'll object to -- 1 don't 02:44:49p
19 think he testified to that yet. 02:44:51p
20 THE DEPONENT: Along with myself sometimes. 02:44:54p
21 BY MR. LEYVA: 02:44:57p
22 Q. 1 previously asked you a question, "Did you 02:44:57p
23 create web pages yourself?" and you said, "No." 02:44:59p
24 A. Right. 02:45:02p
25 Q. So how did you help Mr. Gwynn -- in what 02:45:02p

 

 

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1 capacity did you help Mr. Gwynn create content for the 02:45:06p
2 websites? 02:45:09p
3 A. That would be discussing how 1 think they 02:45:12p
4 should look, how pages should look, how artwork should 02:45:15p
5 look. 02:45:18p
6 Q. Okay. 02:45:18p
7 A. How it needs to be -- words need to be spelled 02:45:19p
8 correctly. 02:45:25p
9 Q. Layout and design and look and feel and things 02:45:25p
10 like that; is that correct? 02:45:28p
11 A. Yes. 02:45:29p
12 Q. 1 don't want to put words in your mouth. 02:45:29p
13 A. Yes. 02:45:32p
14 Q. Okay. 1 want to walk through parts of the 02:45:32p
15 Petition, starting with -- Exhibit 9 is the Amended 02:45:45p
16 Petition. 1 want to start with Exhibit 8. 02:45:54p
17 A. 1 only have 9. 02:45:56p
18 Q. Mr. Rabon, we're going to go through this by 02:46:52p
19 page, so if you'd prefer to take a look at a page and 02:46:55p
20 then as we move to the next page, prefer to do it that 02:47:00p
21 way. There's quite a bit here, and we're not going to 02:47:03p
22 go through, obviously, every entry on here. 02:47:06p
23 A. Okay. 02:47:10p
24 Q. This is the original Petition. 02:47:14p
25 A. This is Exhibit 8. 02:47:19p

 

 

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1 Q. Exhibit 8, that's correct. 02:47:21p
2 A. Okay. 02:47:22p
3 Q. 1t's correct that the nature of the business, 02:47:23p
4 on page 1, is left blank; is that correct? 02:47:28p
5 A. You're asking me that? 02:47:36p
6 Q. Yes. 02:47:37p
7 A. Where is that line? 02:47:37p
8 Q. 1t's the box after the address, 670 2nd, in 02:47:40p
9 the middle box. 1t says, "Nature of Business." 02:47:50p
10 A. 1'm not seeing that. 02:47:58p
11 Q. Right here. 02:48:01p
12 A. Okay. 02:48:03p
13 Q. 1'm just asking you to confirm that it was 02:48:06p
14 left blank. 02:48:08p
15 A. Yes, it appears so. 02:48:09p
16 MR. SMELTZER: 1 was looking at the address 02:48:12p
17 up here. 02:48:13p
18 THE DEPONENT: Me, too. 02:48:14p
19 BY MR. LEYVA: 02:48:14p
20 Q. The box to the right, top box, it says 02:48:14p
21 "Chapter of Bankruptcy Code under which the Petition is 02:48:17p
22 filed. Chapter 7"; is that correct? 02:48:19p
23 A. Correct. 02:48:21p
24 Q. And then the box underneath that, "Nature of 02:48:21p
25 Debts," can you read to me the check. Which box is 02:48:23p

 

 

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1 checked? What is the language there? 02:48:28p
2 A. 1t says "Debts are primarily consumer debts, 02:48:31p
3 defined in 11 U.S.C. 101(8) as 'incurred by an 02:48:33p
4 individual primarily for a personal family household 02:48:39p
5 purpose.'" 02:48:44p
6 Q. Correct. Now, this was Rabco Leasing, 1nc., 02:48:44p
7 the corporation's, Chapter 7 Petition, was it not? 02:48:47p
8 A. Yes. 02:48:52p
9 Q. Do you consider Rabco's debt to be primarily 02:48:54p
10 consumer debt? 02:48:57p
11 MR. SMELTZER: 1'll object, to the extent 02:48:58p
12 it calls for a legal conclusion. 02:49:00p
13 THE DEPONENT: 1 didn't fill this out. 02:49:03p
14 BY MR. LEYVA: 02:49:05p
15 Q. Who filled it out? 02:49:05p
16 A. Steve Fishman. 02:49:07p
17 Q. You signed this document, did you not, under 02:49:08p
18 penalty of perjury? Did you read this document when 02:49:10p
19 you signed it? 02:49:13p
20 MR. SMELTZER: 1t's two questions. 02:49:14p
21 BY MR. LEYVA: 02:49:16p
22 Q. Did you sign this document, or were you aware 02:49:16p
23 that you signed this document under penalty of perjury? 02:49:19p
24 MR. SMELTZER: Page 3. 02:49:39p
25 THE DEPONENT: Thirty? 02:49:40p

 

 

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1 MR. SMELTZER: Page 3. 02:49:41p
2 THE DEPONENT: 1 see it. 1 don't have a 02:49:54p
3 signature here. 02:49:56p
4 MR. SMELTZER: He asked the question. You 02:50:07p
5 haven't answered it yet. 02:50:10p
6 THE DEPONENT: 1 said 1 didn't -- there's 02:50:12p
7 no signature here. 02:50:13p
8 BY MR. LEYVA: 02:50:17p
9 Q. My question is: Were you aware that you 02:50:17p
10 signed this document, the document that you did sign, 02:50:20p
11 under penalty of perjury? 02:50:24p
12 MR. SMELTZER: 1'll object to the form of 02:50:25p
13 the question. He just said he didn't -- 02:50:26p
14 BY MR. LEYVA: 02:50:28p
15 Q. Whether or not there's a signature on this 02:50:28p
16 document or not, my question is, were you aware, and 02:50:30p
17 did your bankruptcy counsel make you aware that you had 02:50:34p
18 to sign this document under penalty of perjury? That's 02:50:36p
19 the question. 02:50:39p
20 A. 1 don't recall if 1 was told that. 02:50:43p
21 Q. You don't recall if you were told that? 02:50:48p
22 Mr. Rabon, did you sign both your original 02:51:26p
23 Petition and your Amended Petition? 02:51:29p
24 A. 1 would assume so. 1 don't recall. 02:51:50p
25 Q. You don't recall whether or not you signed 02:51:56p

 

 

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1 either one? 02:51:58p
2 A. Correct. 02:51:59p
3 Q. Mr. Rabon, can you tell me what necessitated 02:52:22p
4 filing an Amended Petition? 02:52:27p
5 A. Can we take a quick break? 02:52:30p
6 Q. Absolutely. How long of a quick break? 02:52:32p
7 A. About five minutes. 02:52:35p
8 Q. Fine. We'll step out. 02:52:36p
9 (Recess held at this time.) 02:52:37p
10 BY MR. LEYVA: 03:00:18p
11 Q. Mr. Rabon, 1 turn your attention to Exhibit 9, 03:00:18p
12 the Amended Petition, the last page, There's a 03:00:27p
13 Declaration there. Can you read that to me, please. 03:00:35p
14 A. "1, Bruce Rabon, President of Rabco Leasing, 03:00:40p
15 1nc., named as debtor in this case, declare under 03:00:43p
16 penalty of perjury that we have read the foregoing 03:00:47p
17 amended Schedule B with Exhibits A, B, C and D, 03:00:50p
18 consisting of nine sheets (including this declaration), 03:00:55p
19 and that it's true and correct to the best of my 03:00:57p
20 information and belief." 03:01:01p
21 Q. 15 that your signature there? 03:01:02p
22 A. Yes. 03:01:03p
23 Q. Thank you. 1'd like to turn your attention 03:01:06p
24 back to the original Petition. What schedule is this, 03:01:14p
25 so we can point him to the right place? 03:01:25p

 

 

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1 Mr. Rabon, 1'm going to ask you a question 03:02:03p
2 regarding the Statement of Financial Affairs. 1t 03:02:06p
3 relates to 19a and b. 03:02:09p
4 A. You want me to look at something in here? 03:02:11p
5 Q. No. 1'm going to share yours. 1'm telling 03:02:13p
6 you where it's at. 03:02:16p
7 A. Okay. 03:02:17p
8 Q. 1t says, "List all bookkeepers and accountants 03:02:17p
9 who within the two years immediately preceding the 03:02:21p
10 filing of this bankruptcy case kept or supervised the 03:02:24p
11 keeping of books of account and records of the debtor." 03:02:28p
12 And would you read the answer, please. 1t's 03:02:33p
13 this one right here. 03:02:36p
14 A. Okay. 03:02:36p
15 MR. SMELTZER: Where? 1'm sorry, Carlos. 03:02:42p
16 Where are we on? 1t's all Schedule A, but 1 03:02:44p
17 didn't see that. Thanks. 03:02:53p
18 THE DEPONENT: Okay. 03:03:04p
19 BY MR. LEYVA: 03:03:08p
20 Q. And who does it say there? 03:03:08p
21 A. Alton Cates. 03:03:10p
22 Q. And 19b -- Well, excuse me. Did Ms. Hunter 03:03:14p
23 work with you on this bankruptcy petition? 03:03:21p
24 A. Yes. 03:03:23p
25 Q. 15 there a reason why she's not listed as one 03:03:24p

 

 

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1 of the bookkeepers and accountants who within the two 03:03:26p
2 years immediately preceding the file of this bankruptcy 03:03:28p
3 case kept or supervised the keeping of books of account 03:03:31p
4 and records of the debtor? 15 that just an oversight? 03:03:34p
5 Should she have been listed? 03:03:39p
6 MR. SMELTZER: 1'll object to foundation, 03:03:40p
7 to the extent it calls for a legal conclusion. 03:03:42p
8 THE DEPONENT: 1 don't know why she was 03:03:44p
9 left off of there. 03:03:44p
10 MR. LEYVA: That's fine. 03:03:45p
11 Q. 19b, 1'm going to read it to you, and 1'm 03:03:48p
12 going to pass it back to you and you can read the 03:03:51p
13 answer. "List all firms or individuals who within the 03:03:53p
14 two years immediately preceding the filing of this 03:03:56p
15 bankruptcy case have audited the books of accounts and 03:03:58p
16 records or prepared a financial statement of the 03:04:01p
17 debtor." Could you read the name and the address, 03:04:04p
18 please. 03:04:06p
19 A. Alton Cates. 03:04:11p
20 Q. And the address, is that Mr. -- Can you read 03:04:27p
21 the address for the record, 03:04:30p
22 A. 13059 West Linebaugh Avenue, Suite 102, Tampa, 03:04:31p
23 Florida. 03:04:37p
24 Q. Do you know whether or not that's Mr. Cates' 03:04:37p
25 business address? 03:04:40p

 

 

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1 A. 1 don't know if that's his exact address. 03:04:41p
2 Q. Okay, that's fine. 03:04:42p
3 So, did Mr. Cates, in fact, two years 03:04:49p
4 immediately preceding the filing of this bankruptcy 03:04:52p
5 case, audit the books of Rabco Leasing, 1nc.? 03:04:55p
6 A. 1 don't -- 1'm not an accountant, so 1 can't 03:05:04p
7 tell you if what he did is considered an audit. 03:05:09p
8 Q. Well, what was it that he did? 1t says 03:05:13p
9 "audit," Mr. Rabon. 03:05:15p
10 A. Let me see -- 03:05:17p
11 Q. Audited the books. 03:05:18p
12 MR. SMELTZER: Objection as to foundation, 03:05:24p
13 and to the extent it calls for a legal 03:05:32p
14 conclusion. 03:05:34p
15 THE DEPONENT: Yeah. 1 don't know what 03:05:35p
16 "auditing the books" in that context would be. 03:05:36p
17 BY MR. LEYVA: 03:05:38p
18 Q. Let me ask you this: As a business executive 03:05:38p
19 with at least over 15 years experience, as you've 03:05:41p
20 described it, what would an audited financial statement 03:05:44p
21 consist of? 03:05:49p
22 MR. SMELTZER: The same objection, but you 03:05:57p
23 can talk about your understanding, 03:05:59p
24 THE DEPONENT: My understanding is that it 03:06:01p
25 would be someone who is actually coming in, you 03:06:03p

 

 

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1 know, going over your books, reviewing them. 03:06:05p
2 BY MR. LEYVA: 03:06:12p
3 Q. Do they usually prepare a report when they 03:06:12p
4 audit, in your business understanding? 03:06:15p
5 A. Probably would. 03:06:17p
6 Q. Would that report be signed by the person 03:06:19p
7 preparing it? 03:06:22p
8 Let me ask you this question: As a business 03:06:27p
9 executive, if you were going to have someone come in 03:06:31p
10 and do a financial audit, would that person be a CPA or 03:06:34p
11 a bookkeeper? 03:06:38p
12 A. 1 don't know. 1 suppose it could be either. 03:06:42p
13 Q. No. 1'm asking, you as the President, would 03:06:43p
14 you -- 03:06:46p
15 A. 1 don't know. 03:06:46p
16 MR. SMELTZER: He's answered it. 03:06:48p
17 MR. LEYVA: Okay. 03:06:48p
18 Q. So did, in fact, Mr. Cates come in and perform 03:06:50p
19 an audit, as to your understanding of the audit, within 03:06:53p
20 the last two years, the way you described the audit? 03:06:57p
21 A. 1 don't know that my understanding is what 03:06:59p
22 that means. 03:07:01p
23 Q. 1'm not asking you that. 1'm asking you, did 03:07:02p
24 Mr. Cates, in your own words, come in and do what you 03:07:04p
25 said was an audit? 03:07:08p

 

 

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1 A. No. 03:07:10p
2 Q. He did not? 03:07:10p
3 A. No. 03:07:11p
4 Q. Did anyone, in the last two years, come in and 03:07:16p
5 do an audit, based on your terminology? 03:07:18p
6 A. No. 03:07:20p
7 Q. 15 it your understanding, then, this is a 03:07:22p
8 mistake? 03:07:24p
9 MR. SMELTZER: Objection as to -- 03:07:26p
10 BY MR. LEYVA: 03:07:28p
11 Q. Number 19. 03:07:28p
12 MR. SMELTZER: -- the form of the question. 03:07:29p
13 THE DEPONENT: 1 don't know that that's a 03:07:30p
14 mistake. 1 don't -- 1 don't know. 03:07:31p
15 BY MR. LEYVA: 03:07:33p
16 Q. Let me ask you a question. Did you review 03:07:33p
17 this answer and the entire Petition with your attorney? 03:07:35p
18 A. 1 went over the documents. 03:07:37p
19 Q. You did? Did you go over each line item, the 03:07:39p
20 question and answer? 03:07:42p
21 A. We went over the document, 03:07:44p
22 Q. So you did not go over each line item, 1 03:07:47p
23 asked a specific question. 03:07:50p
24 A. 1 don't recall if we went over each line item, 03:07:51p
25 We did go over the document, 03:07:53p

 

 

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1 Q. That's fine. 03:07:54p
2 1 would like to turn your attention to 03:08:00p
3 Exhibit 9. 1t's the amended bankruptcy petition, And 03:08:03p
4 in particular, it's on the second page, 1tem Number 22, 03:08:18p
5 Schedule B. 03:08:23p
6 MR. SMELTZER: Back on 9? 03:08:26p
7 MR. LEYVA: Nine. This is 9. This is the 03:08:27p
8 Amended Petition. 03:08:30p
9 Q. 1t's page 2, Mr. Rabon. 03:08:49p
10 A. What's that? 03:08:50p
11 Q. 1t's page 2. 03:08:51p
12 A. Okay. Okay. 03:08:52p
13 Q. Before we move on, Mr. Rabon, 1 would like to 03:09:11p
14 ask you one more question about Mr. Cates. 03:09:13p
15 Did Mr. Cates work with your bankruptcy 03:09:15p
16 attorney, participate in the review of this Petition? 03:09:19p
17 Meet with you? 03:09:23p
18 A. Meet with me? 03:09:25p
19 Q. And/or -- 03:09:26p
20 MR. SMELTZER: 1'll object -- 03:09:27p
21 BY MR. LEYVA: 03:09:28p
22 Q. Meet with you. Did he meet with you? 03:09:28p
23 A. No. 03:09:30p
24 Q. Did he meet with your bankruptcy attorney to 03:09:31p
25 prepare this Petition? 03:09:32p

 

 

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1 A. Not that 1'm aware of. 1'm not sure. 03:09:33p
2 Q. Okay. Let me start by asking, what 03:09:37p
3 necessitated the amendment of your bankruptcy petition? 03:09:47p
4 Your understanding of what necessitated the amendment. 03:09:52p
5 A. To clarify the first Petition, or whatever, 03:10:04p
6 Q. Clarify in what way? 03:10:09p
7 A. The first document, 03:10:11p
8 Q. Right. To clarify in what way? 03:10:12p
9 A. 1n this particular case, probably the website 03:10:15p
10 information. 03:10:21p
11 Q. The original Petition contained just websites; 03:10:22p
12 is that correct? We can go back and look at it. 03:10:28p
13 That's correct. 03:10:56p
14 15 it your understanding that the original 03:10:56p
15 Petition -- You need time, Rob? 03:10:58p
16 MR. SMELTZER: Yeah. 03:11:00p
17 MR. LEYVA: Fine. 03:11:02p
18 THE DEPONENT: Okay. 03:11:05p
19 BY MR. LEYVA: 03:11:09p
20 Q. 15 it your understanding that the original 03:11:09p
21 Petition, Schedule B and Number 22, contains solely 03:11:10p
22 websites secured by Colonial for an amount of $1,500, 03:11:15p
23 without a specific list of websites? 03:11:23p
24 A. 1 -- 1 didn't -- My bankruptcy attorney -- 03:11:28p
25 this is what he put. 03:11:41p

 

 

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1 Q. He just invented it? Where did he get this 03:11:44p
2 number? Where did he get the number? 03:11:48p
3 A. Well -- 03:11:50p
4 Q. 1 mean, the $1,500. 03:11:51p
5 A. He said -- 03:11:55p
6 MR. SMELTZER: No, no, no. That's 03:11:56p
7 protected by attorney/client privilege in this 03:11:57p
8 matter and every other. You need not disclose, 03:12:00p
9 unless you voluntarily choose to, which 1 advise 03:12:03p
10 you against, any communications between you and 03:12:05p
11 your bankruptcy attorney, 03:12:07p
12 BY MR. LEYVA: 03:12:09p
13 Q. Did you have any input as to the $1,500 amount 03:12:09p
14 in Schedule B of your original Petition? 03:12:15p
15 MR. SMELTZER: 1'm going to object to that, 03:12:20p
16 because 1 think it calls for him to disclose the 03:12:21p
17 attorney/client protected -- 03:12:24p
18 MR. LEYVA: Answer the question, please. 03:12:25p
19 MR. SMELTZER: 1'm instructing you not to 03:12:26p
20 answer. 03:12:28p
21 MR. LEYVA: Go out and see if we can get 03:12:32p
22 the Magistrate on the phone. 03:12:34p
23 (Recess held at this time.) 03:12:41p
24 (Record read at this time) 03:14:29p
25 THE DEPONENT: Yes. 03:14:46p

 

 

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1 MR. LEYVA: Thank you. 03:14:52p
2 Q. 1'm going to turn your attention to the 03:14:56p
3 Amended Petition. The Amended Petition, Mr. Rabon, has 03:14:57p
4 an Exhibit B and an Exhibit C; is that correct? 03:15:17p
5 A. At least those, yes. 03:15:25p
6 Q. Can you describe to me, just in general terms, 03:15:27p
7 what Exhibit B contains? 03:15:29p
8 MR. SMELTZER: 1'll object, 1 think the 03:15:53p
9 document speaks for itself. You can answer. 03:15:55p
10 THE DEPONENT: Yeah. "All of the text 03:15:58p
11 images, layout or arrangement, HTML source code, 03:16:02p
12 domain names, subdomain names, subdomains, 03:16:06p
13 links, metatags, key words, connections, landing 03:16:08p
14 pads, registrations and other information 03:16:11p
15 relating to the following sites." 03:16:13p
16 MR. LEYVA: Okay, you don't need to read 03:16:15p
17 each sites. 03:16:17p
18 Q. These are sites and domain names owned by 03:16:17p
19 Rabco -- allegedly owned by Rabco Leasing, 1nc., is 03:16:21p
20 that correct, to the best of your knowledge? 03:16:22p
21 A. To the best of my knowledge, 03:16:24p
22 Q. And Exhibit C -- and both of these are related 03:16:28p
23 to 1tem Number 22 on Schedule B. Can you read to me 03:16:34p
24 what it says in bold under Exhibit C. 03:16:39p
25 A. "Rabco Trademarks, 1tem # 22." 03:16:45p

 

 

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1 Q. Okay. And is it your understanding, in the 03:16:52p
2 amended bankruptcy petition, that both Exhibit B and 03:16:56p
3 Exhibit C, Schedule B, Number 22, are valued at $1,500? 03:17:02p
4 A. That's the price on the document, 03:17:18p
5 Q. That's all 1'm asking. 03:17:21p
6 15 it your understanding that the intellectual 03:17:25p
7 capital that helped generate millions of dollars of 03:17:28p
8 revenue over a period of years is now valued at $1,500, 03:17:31p
9 as per the intellectual property that's included 03:17:40p
10 specifically in Exhibit B and Exhibit C.? 03:17:44p
11 A. That's the value we used, 03:17:47p
12 Q. That wasn't my question. My question is, do 03:17:50p
13 you think that that is the accurate value? 03:17:53p
14 MR. SMELTZER: 1'll object, to the extent 03:18:00p
15 it calls for a legal conclusion of what "value" 03:18:02p
16 is in bankruptcy, But you can answer your 03:18:07p
17 understanding, 03:18:09p
18 THE DEPONENT: Yeah. 1 don't -- yeah, 03:18:09p
19 perhaps. 03:18:13p
20 BY MR. LEYVA: 03:18:15p
21 Q. Well, let me ask you this question: Are these 03:18:15p
22 assets -- is it your understanding that the amounts 03:18:20p
23 that you put on your bankruptcy petition are the 03:18:24p
24 amounts that the Trustee will attempt to sell the 03:18:27p
25 assets for? 03:18:30p

 

 

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1 A. 1 have no idea what she'll try to sell them 03:18:31p
2 for. 03:18:34p
3 Q. You have no idea? Okay. 03:18:34p
4 MR. SMELTZER: That's what he said. 03:18:40p
5 THE DEPONENT: Yeah, 1 have no idea, 03:18:41p
6 MR. LEYVA: That's fine. That's fine. 03:18:42p
7 Q. Mr. Rabon, 1'm going to turn back to 03:18:50p
8 Exhibit B. There's a list of domain names; is that 03:18:53p
9 correct? 03:18:55p
10 A. Yes. 03:19:03p
11 Q. 1'm going to introduce Exhibit 11 that has a 03:19:07p
12 Rabco Bates number of RAB000380, Exhibit 11. 03:19:12p
13 (Plaintiff's Exhibit 11 was marked for 03:19:19p
14 identification.) 03:19:19p
15 MR. SMELTZER: Just so the record is clear, 03:19:27p
16 this is a document from plaintiff that we Bates 03:19:29p
17 labeled. 03:19:34p
18 THE DEPONENT: That we what? 03:19:36p
19 MR. SMELTZER: That we Bates labeled. We 03:19:37p
20 put our number on it. 03:19:39p
21 THE DEPONENT: Well, that's where he got 03:19:41p
22 it, down here. 03:19:41p
23 MR. SMELTZER: This is not from us. 03:19:41p
24 MR. LEYVA: 1 object to that. There's no 03:19:42p
25 foundation laid that it's one of our documents 03:19:44p

 

 

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1 that you Bates numbered. That's to be 03:19:46p
2 determined at some -- 03:19:48p
3 MR. SMELTZER: No, no. 1t's your Exhibit J 03:19:49p
4 attached to your pleadings in the case, 03:19:51p
5 MR. LEYVA: Attached to what pleadings in 03:19:53p
6 the case? Be specific. 03:19:55p
7 MR. SMELTZER: 1t was, 1 believe, the 03:19:57p
8 26(A)1. 1 can absolutely guarantee this is your 03:19:59p
9 document, So 1 object -- 1 was -- what 1 was 03:20:03p
10 objecting to is the suggestion, if any -- 1 03:20:07p
11 didn't know that you were intending to do this 03:20:10p
12 or not -- the suggestion that the document came 03:20:11p
13 from us because it had a Bates number on it from 03:20:14p
14 us. 03:20:18p
15 MR. LEYVA: Okay. So your contention is 03:20:19p
16 that we produced this as part of our FRPC Rule 03:20:23p
17 26 disclosures, and you gave it back to us; is 03:20:27p
18 that correct? 03:20:29p
19 MR. SMELTZER: Yes. 03:20:29p
20 MR. LEYVA: You Bates stamped it and gave 03:20:30p
21 it back to us. 03:20:31p
22 MR. SMELTZER: Yes, because 1 wanted to be 03:20:32p
23 able to use it. 03:20:34p
24 MR. LEYVA: That's fine. 03:20:35p
25 MR. SMELTZER: Yeah. 03:20:35p

 

 

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1 BY MR. LEYVA: 03:20:41p
2 Q. Mr. Rabon, with respect to those domain names 03:20:41p
3 in Exhibit B, is it your contention that they are all 03:20:47p
4 owned by Rabco Leasing, 1nc.? 03:20:53p
5 MR. SMELTZER: Can you read back the 03:20:57p
6 question. 03:20:58p
7 (Record read at this point.) 03:20:59p
8 MR. SMELTZER: You're asking him currently, 03:21:13p
9 if it's his understanding that currently Rabco 03:21:15p
10 owns all these, or as of the time that -- 03:21:18p
11 MR. LEYVA: As of the time that it was 03:21:21p
12 filed. 03:21:22p
13 MR. SMELTZER: Okay. So as -- the question 03:21:22p
14 is, as of July 20th, 2010, was this your 03:21:25p
15 understanding that Rabco owned all these domain 03:21:28p
16 names? 03:21:33p
17 THE DEPONENT: Okay. So please ask me the 03:22:24p
18 question one more time, 03:22:26p
19 MR. LEYVA: Can you repeat the question. 03:22:27p
20 (Record read at this point.) 03:22:29p
21 THE DEPONENT: Currently they are not. At 03:22:50p
22 the time of the filing, they were. 03:22:51p
23 BY MR. LEYVA: 03:22:56p
24 Q. Can you explain that to me? 1 mean, they 03:22:56p
25 weren't -- 1 understood they weren't -- they currently 03:23:00p

 

 

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1 aren't. Do you own some of these personally, these 03:23:03p
2 domain names now personally? 03:23:06p
3 A. Yes. 03:23:08p
4 Q. Wasn't it your understanding that these domain 03:23:08p
5 names were property of the bankruptcy estate? 03:23:10p
6 A. No. 03:23:12p
7 Q. That wasn't your understanding? 03:23:13p
8 A. No. 03:23:15p
9 MR. SMELTZER: 1'll object to lack of time 03:23:15p
10 frame. 03:23:17p
11 BY MR. LEYVA: 03:23:18p
12 Q. At the time that you submitted Exhibit B in 03:23:18p
13 your Amended Petition -- 1 think it was the 20th of 03:23:23p
14 July. 1 could be mistaken. What's the date on here? 03:23:28p
15 7-20-2010 -- were these domain names owned by Rabco 03:23:30p
16 Leasing, 1nc.? 03:23:37p
17 MR. SMELTZER: Well, 1'll object, only to 03:23:39p
18 this extent -- to the form of the question. 03:23:40p
19 Because 1 think an amended schedule goes back to 03:23:43p
20 the time of Petition, so that the whole -- 1 03:23:45p
21 don't know that -- 1 think the effect of the 03:23:47p
22 Amended Petition is to go back to the time of 03:23:49p
23 the Original Petition and say, "As of the time 1 03:23:52p
24 filed bankruptcy --" 03:23:54p
25 MR. LEYVA: That's fine. That's fine. 03:23:56p

 

 

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1 MR. SMELTZER: Okay. 03:23:57p
2 THE DEPONENT: At the time of the 03:23:58p
3 bankruptcy, this appears to be the list. 03:23:59p
4 BY MR. LEYVA: 03:24:02p
5 Q. Did some of these domain names expire post the 03:24:02p
6 time that you filed bankruptcy? 03:24:06p
7 A. Yes. 03:24:07p
8 Q. And did you purchase -- 03:24:08p
9 A. Yes. 03:24:10p
10 Q. And they were property of the estate at the 03:24:12p
11 time they expired, were they not? 03:24:16p
12 MR. SMELTZER: 1'll object to the form of 03:24:18p
13 the question. 03:24:19p
14 MR. LEYVA: We just established that we 03:24:20p
15 went back to the original time of the Petition 03:24:22p
16 and that these were the -- owned by Rabco 03:24:23p
17 Leasing, 1nc. 03:24:25p
18 MR. SMELTZER: So immediately prior to 03:24:27p
19 expiration. 03:24:28p
20 MR. LEYVA: Okay. 03:24:29p
21 Q. 50 -- 03:24:30p
22 A. What's the question? 03:24:32p
23 Q. You listed these as estate property, correct? 03:24:34p
24 A. Yes. 03:24:38p
25 Q. And Rabco owned them at the time, and they had 03:24:38p

 

 

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1 not expired; is that correct? 03:24:41p
2 A. Right. 03:24:43p
3 Q. And you allowed them to expire, didn't renew 03:24:45p
4 them under Rabco Leasing, 1nc., 03:24:50p
5 MR. SMELTZER: 1'll object to the form of 03:24:53p
6 the question. 03:24:57p
7 MR. LEYVA: 1t's a specific question. 03:24:58p
8 Q. They were -- Were these domain names in a 03:25:00p
9 Rabco Leasing, 1nc., registrar account? 03:25:03p
10 A. Yes. 03:25:06p
11 Q. Were they in a Go Daddy account? 03:25:06p
12 A. Yes. 03:25:10p
13 Q. And who had control of that Go Daddy account? 03:25:11p
14 A. 1 did. 03:25:14p
15 Q. Did you get notices that these domain names 03:25:15p
16 were about to expire? 03:25:18p
17 A. Yes. 03:25:18p
18 Q. And you let them expire, under the Rabco 03:25:19p
19 Leasing, 1nc. You did not renew them. 03:25:23p
20 A. Rabco Leasing, 1nc., has no funds with which 03:25:27p
21 to procure them. 03:25:30p
22 Q. At the time prior to their expiration, were 03:25:33p
23 they or were they not estate property? 03:25:37p
24 A. Probably were, yes. 03:25:42p
25 Q. Do these domain names have value? 03:25:43p

 

 

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1 A. Probably do have some value. 03:25:49p
2 Q. Did you inform the Trustee that these domain 03:25:51p
3 names were about to expire, and you were going to let 03:25:54p
4 them expire? 03:25:56p
5 A. Yes. 03:25:57p
6 Q. You did inform them? And how did you inform 03:25:58p
7 them? 03:26:03p
8 A. We were at the Trustee meeting, 1 told her 03:26:03p
9 they were going to expire, 03:26:09p
10 Q. And on what date was that Trustee meeting? 03:26:11p
11 A. 1 don't recall the date. 03:26:14p
12 Q. And who was the Trustee? 03:26:19p
13 A. Beth Ann Sherrer. 03:26:22p
14 Q. Did you inform her in writing? 03:26:24p
15 A. 1 was sitting across from her. 03:26:28p
16 Q. You informed her that Rabco Leasing, 1nc., had 03:26:30p
17 domain names that had some value, that were about to 03:26:33p
18 expire, and she said it was okay to let them expire, 03:26:38p
19 15 that my understanding? 03:26:42p
20 A. 1 told her -- 1 didn't say "of value." 1 said 03:26:43p
21 there were websites that were going to be expiring. 03:26:48p
22 Q. And 1 asked you, did these domain names have 03:26:51p
23 value? 03:26:53p
24 MR. SMELTZER: Asked and answered. 03:26:55p
25 THE DEPONENT: 1 answered that question. 03:26:56p

 

 

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1 BY MR. LEYVA: 03:26:58p
2 Q. So you let Rabco Leasing, 1nc.-owned domain 03:26:58p
3 names expire, 03:27:05p
4 MR. SMELTZER: Objection, asked and 03:27:06p
5 answered. Now you're badgering him like you're 03:27:07p
6 in trial. 03:27:09p
7 MR. LEYVA: 1'm trying to understand here. 03:27:09p
8 Q. You let them expire and you bought them on 03:27:11p
9 your own behalf; is that correct? 03:27:13p
10 A. 1 can't let them expire, 03:27:14p
11 Q. Yes, you can. 03:27:16p
12 A. How is that? 03:27:17p
13 Q. Because you don't renew them. 03:27:18p
14 MR. SMELTZER: Objection, argumentative. 03:27:19p
15 BY MR. LEYVA: 03:27:22p
16 Q. Did you not get a notice of their expiration? 03:27:22p
17 A. Yes. 03:27:25p
18 Q. Could you have renewed them at the time? 03:27:25p
19 A. No. 03:27:27p
20 Q. Why? 03:27:29p
21 A. Rabco had no funds to renew them. You have to 03:27:31p
22 pay for that. 03:27:34p
23 Q. You had no -- zero funds to renew? 03:27:35p
24 A. Rabco had no funds. 1 had no ability -- 03:27:37p
25 availability of Rabco funds -- 03:27:40p

 

 

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1 Q. Okay, that's all 1'm trying to understand, 03:27:42p
2 And you communicated that to the Trustee. 03:27:44p
3 A. 1 told the Trustee that sites were expiring. 03:27:47p
4 Q. But you did not tell the Trustee that these 03:27:49p
5 sites had value. 03:27:52p
6 A. 1t's in the Petition. 03:27:53p
7 Q. No, no. 03:27:56p
8 A. 1 don't know -- 03:27:57p
9 Q. 1'm asking you a specific question. You 03:27:57p
10 said -- you said that they had value. 03:27:59p
11 MR. SMELTZER: Objection, argumentative. 03:28:02p
12 BY MR. LEYVA: 03:28:02p
13 Q. 1'm asking you if you told the Trustee that 03:28:02p
14 these domain names had value? 03:28:05p
15 MR. SMELTZER: That's been asked and 03:28:06p
16 answered two times. 03:28:07p
17 MR. LEYVA: 1 don't think it has been asked 03:28:08p
18 and answered. 03:28:09p
19 MR. SMELTZER: Yeah, it has. 03:28:09p
20 MR. LEYVA: No. 03:28:10p
21 MR. SMELTZER: 1t has. 03:28:11p
22 MR. LEYVA: No. 03:28:11p
23 MR. SMELTZER: You can read it back. 03:28:11p
24 MR. LEYVA: Let's read it back. 03:28:12p
25 MR. SMELTZER: You can take a time-out, 03:28:13p

 

 

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1 because you're badgering him. 03:28:14p
2 MR. LEYVA: No, 1'm not. 1'm trying to get 03:28:16p
3 at what he told the Trustee. He told the 03:28:18p
4 Trustee something, 1 want to understand exactly 03:28:20p
5 what he told the Trustee. 03:28:22p
6 MR. SMELTZER: He said it twice. You want 03:28:23p
7 to read it back? 03:28:25p
8 MR. LEYVA: He did not. 03:28:26p
9 MR. SMELTZER: He said it twice. 03:28:27p
10 MR. LEYVA: That they had value? 03:28:28p
11 MR. SMELTZER: No. He said what he told 03:28:30p
12 her twice. 03:28:31p
13 MR. LEYVA: Well -- 03:28:32p
14 MR. SMELTZER: You asked -- 03:28:33p
15 MR. LEYVA: No. 1'm asking a different 03:28:34p
16 question. 1'm asking if -- 03:28:36p
17 MR. SMELTZER: You asked that, too. You 03:28:37p
18 said, "Did you tell her that they had value?" 03:28:38p
19 And he said, "1 didn't say that they had value. 03:28:41p
20 1 said that they were about to expire." 03:28:43p
21 MR. LEYVA: Okay. Okay, we're good. 03:28:45p
22 Q. Mr. Rabon, let's move on to the settlement 03:28:58p
23 agreement between you and Mr. Gwynn. Okay? 03:29:01p
24 You and Mr. Gwynn had worked together for some 03:29:07p
25 period of time; is that correct? 03:29:09p

 

 

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1 A. Correct. 03:29:11p
2 Q. Approximately how long? 03:29:12p
3 A. 1n dog years or -- you know, 1 don't know. 03:29:17p
4 Fourteen to 16 years maybe, perhaps. 03:29:22p
5 Q. So he was an employee -- he was your employee, 03:29:24p
6 WZ employee, is that correct, in Rabco Leasing, 1nc.? 03:29:26p
7 A. Yes. 03:29:29p
8 Q. And he was also your partner in Hurricane Pass 03:29:29p
9 Traders, 1nc., is that correct? A shareholder. 03:29:34p
10 A. Yes. 03:29:38p
11 Q. You guys owned Hurricane Pass Traders, 1nc. 03:29:38p
12 A. Yes. 03:29:41p
13 Q. He owned 50 percent of the shares and you 03:29:41p
14 owned 50 percent of the shares; is that correct? 03:29:43p
15 A. Yes. 03:29:45p
16 Q. And what led to Mr. Gwynn being released from 03:29:48p
17 Rabco Leasing, 1nc.? 03:29:54p
18 A. Well, that's kind of a long story. 03:30:13p
19 Q. All right. You can tell the short version, if 03:30:18p
20 you'd like. 03:30:21p
21 A. At one point, 1 was going to tell him over a 03:30:22p
22 beer when it all happened, so how do you want me to 03:30:24p
23 answer that? 03:30:29p
24 Q. Just summarize it for me. 03:30:29p
25 A. Summarize it. He refused to take a position 03:30:31p

 

 

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1 that 1 needed him to take, to help the company preserve 03:30:34p
2 expenses and try to preserve its existence. Not only 03:30:40p
3 did he refuse to do it, he cussed me up and down, said 03:30:42p
4 he would not do it. 03:30:46p
5 Q. Okay. 03:30:48p
6 A. At that point 1 realized 1 did not have 03:30:49p
7 someone on my team, so 1 began to -- 1 literally 03:30:52p
8 thought 1 could switch the 1nternet from here to here. 03:30:56p
9 Found out that 1 could not do that the way the websites 03:30:59p
10 were set up. 03:31:03p
11 And the fact that he was not cooperating, 03:31:06p
12 taking over a store from me, even on a temporary basis, 03:31:12p
13 it was a cumulative effect and 1 had no other choice. 03:31:16p
14 Q. Let me ask you this: What was the deal that 03:31:20p
15 you asked him to take and that he refused to take, that 03:31:26p
16 he turned down? 03:31:29p
17 A. 1 asked him to either go into the John's Pass 03:31:29p
18 store or go into the Bay Walk Hurricane Pass store, 03:31:36p
19 either one of them. 03:31:39p
20 Q. Right. 03:31:40p
21 A. Run the store so 1 can either lay off a 03:31:41p
22 manager or cut them back, cut their hours back. 1 03:31:45p
23 would take the other store, and while he was in the 03:31:48p
24 store he could continue to work on the 1nternet. 03:31:53p
25 Q. Did you ask him to take a reduction in pay? 03:31:57p

 

 

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1 A. 1 asked everybody to take a reduction in pay. 03:31:59p
2 Q. How much was that reduction in pay? 03:32:01p
3 A. For who? 03:32:03p
4 Q. For everybody. You said you asked everybody 03:32:04p
5 to take a reduction in pay. 03:32:06p
6 A. 1 don't remember the exact number. 1t could 03:32:08p
7 have been around 10 percent. 1 don't remember the 03:32:10p
8 exact number. 03:32:12p
9 Q. Did all employees take this 10 percent 03:32:13p
10 reduction? 03:32:15p
11 A. People took reductions in different ways. 03:32:18p
12 Some might have been a percentage; some might have just 03:32:22p
13 had their hours cut. So, generically, everyone was 03:32:25p
14 affected by either a percentage cut, hourly cut -- not 03:32:32p
15 hourly cut -- but yeah, hours that they could work. 03:32:37p
16 Q. Did you take a 10 percent? 03:32:40p
17 A. Yes, 1 did. 03:32:42p
18 Q. -- cut? 03:32:44p
19 MR. SMELTZER: Wait. You didn't wait for 03:32:44p
20 him to finish. He said 10 percent -- there was 03:32:46p
21 a percentage at the end of that. 03:32:48p
22 THE DEPONENT: He said, did 1 take a cut? 03:32:51p
23 MR. LEYVA: No, 1 said 10 percent. 03:32:53p
24 MR. SMELTZER: He said 10 percent. 03:32:54p
25 THE DEPONENT: 1 don't know what 1 took. 03:32:55p

 

 

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1 MR. SMELTZER: That's why you're not 03:32:55p
2 supposed to talk over each. 03:32:56p
3 BY MR. LEYVA: 03:32:58p
4 Q. The question was, did you also take a 10 03:32:58p
5 percent cut? 03:33:00p
6 A. 1 don't remember what mine was. 03:33:01p
7 Q. 1n any case, they would be reflected in the 03:33:04p
8 payroll records. 03:33:07p
9 A. Yes. 03:33:07p
10 Q. And so, if 1 understand you correctly, 03:33:08p
11 Mr. Gwynn refused to accept these assignments that you 03:33:12p
12 offered him -- 03:33:16p
13 A. Yes. 03:33:17p
14 Q. -- is that correct? Okay. 03:33:18p
15 Now, during this time, was Corporate Pride 03:33:23p
16 hosting your 1nternet service, or was Martin, Jr. and 03:33:34p
17 Martin Gwynn together hosting your 1nternet service? 03:33:42p
18 MR. SMELTZER: 1'll object to the form of 03:33:44p
19 the "during this time." 1'm not sure what 03:33:47p
20 you're talking about, 03:33:49p
21 THE DEPONENT: What period of time? 03:33:49p
22 ///////////////// 03:33:5ip
23 BY MR. LEYVA: 03:33:51p
24 Q. The period of time when you asked Mr. Gwynn to 03:33:51p
25 take a reduction in pay and to take a new assignment, 03:33:54p

 

 

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1 and he refused, okay. At that time, was Corporate 03:33:58p
2 Pride hosting your servers, Rabco's servers? 03:34:05p
3 A. Could have been in and around that time, 03:34:09p
4 Q. One month prior to that time, who was hosting 03:34:15p
5 your servers? 03:34:19p
6 A. The prior server host was Aztec 1, who we 03:34:20p
7 contracted with. 03:34:27p
8 Q. At what point in time did Corporate Pride 03:34:27p
9 start hosting your servers? 03:34:31p
10 A. 1 don't know specifically. 1t might have been 03:34:38p
11 in early -- late '08, early '09. 03:34:40p
12 Q. Okay. And at what point in time did you 03:34:46p
13 terminate Mr. Gwynn's employment? 03:34:48p
14 A. July 22nd, 1909 -- or 2009. 1909. 03:34:51p
15 MR. SMELTZER: You guys have been together 03:34:58p
16 a long time, 03:34:59p
17 BY MR. LEYVA: 03:35:00p
18 Q. During that time you were paying, were you 03:35:00p
19 not, a monthly service fee for Corporate Pride to host 03:35:04p
20 your servers? 03:35:07p
21 A. Service fee? 03:35:11p
22 Q. A fee. 03:35:12p
23 A. Who was 1 -- Ask the question again, 03:35:14p
24 Q. Did you pay Corporate Pride a fee to host your 03:35:16p
25 servers? 03:35:19p

 

 

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1 A. 1 paid Corporate Pride as an outside vendor, 03:35:21p
2 at his recommendation, to be our -- the host. 03:35:25p
3 Q. Yes, that's all 1'm asking. 03:35:30p
4 A. Yes. 03:35:31p
5 Q. Yes. And what was that monthly fee? Do you 03:35:32p
6 remember? Do you recall? 03:35:34p
7 A. Five to six hundred dollars. 03:35:39p
8 Q. And at the time that you terminated 03:35:43p
9 Mr. Gwynn's employment, was there money still owed to 03:35:45p
10 Corporate Pride, past due? 03:35:50p
11 A. For what? 03:35:54p
12 Q. For hosting your servers. Did they do 03:35:56p
13 something else for you? 03:36:00p
14 A. Not to my knowledge, 03:36:01p
15 Q. All right. Then that's what it was. 03:36:02p
16 Was there money past due for the hosting 03:36:04p
17 services that they were providing, money that you owed 03:36:07p
18 Corporate Pride, that you hadn't paid? 03:36:10p
19 A. Not for hosting, not to my knowledge, 03:36:11p
20 Q. Then for what? Was there any money owed? 03:36:14p
21 A. No. 03:36:17p
22 Q. There was no money owed? 03:36:17p
23 A. No. 03:36:18p
24 Q. Absolutely none? 03:36:19p
25 A. Not to my knowledge, 03:36:20p

 

 

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Page 186

1 Q. No unreimbursed expenses that Mr. Gwynn had, 03:36:20p
2 that he had incurred on behalf of Rabco? 03:36:23p
3 A. Corporate Pride, as far as 1 understood, is 03:36:25p
4 the son, and he had a server that our sites were on, 03:36:30p
5 and as far as 1 know, the fees, the bills for his -- 03:36:34p
6 that service, as far as 1 know, were paid. 03:36:39p
7 Q. That's fine. 03:36:41p
8 So at the time that you terminated Mr. Gwynn, 03:36:43p
9 your contention is you owed Corporate Pride no amount, 03:36:45p
10 no past due amount; is that correct? 03:36:50p
11 A. Absolutely, as far as 1 recall, sure. 03:36:52p
12 Q. That's fine. Did Mr. Gwynn have any 03:36:53p
13 unreimbursed expenses that he had incurred on behalf of 03:36:58p
14 Rabco that had not been paid to Mr. Gwynn, that he had 03:37:01p
15 incurred as an employee, as a WZ employee of Rabco? 03:37:05p
16 Were there unreimbursed expenses at the time that you 03:37:10p
17 terminated Mr. Gwynn? 03:37:14p
18 A. To my knowledge, no. 1t was simultaneous. 03:37:40p
19 Q. Explain to me -- 03:37:46p
20 A. He had receipts for stuff that he had paid 03:37:48p
21 for, like he had done for years. He had not turned 03:37:52p
22 them in. We had asked him to turn them in. 1 like 03:37:56p
23 little payments. We'd asked him, over time, to turn 03:38:00p
24 them in. 03:38:03p
25 So when he was terminated, we needed to 03:38:04p

 

 

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1 confirm that what we were going to pay him for was, in 03:38:10p
2 fact, legitimate stuff that was on the websites. His 03:38:16p
3 receipts, often times, were in disarray. One time 1 03:38:19p
4 got a receipt for a carton of cigarettes from him. 03:38:22p
5 Q. Mr. Rabon, 1 asked you a specific question, 03:38:24p
6 and this is a "Yes" or "No" answer. 03:38:28p
7 At the time that you terminated Mr. Gwynn, 03:38:30p
8 were there unreimbursed expenses that Mr. Gwynn, as a 03:38:33p
9 WZ employee of Rabco, was due and had not been paid? 03:38:37p
10 "Yes" or "No"? 03:38:42p
11 A. No, not to my knowledge, 03:38:43p
12 Q. All right. None? 03:38:45p
13 A. Not to my knowledge, 03:38:48p
14 Q. So, these expenses that you were referring to 03:38:49p
15 earlier, what were they? 03:38:52p
16 A. What were the expenses? 03:38:54p
17 Q. Yeah. That he had incurred. 03:38:55p
18 A. Rabco's Earthlink account, Rabco's Constant 03:38:57p
19 Contact account, Rabco's stuff we incurred talking to 03:39:01p
20 a Russian tech guy to help on the carts. Things of 03:39:07p
21 that nature. There's a list. 03:39:13p
22 Q. Let me ask you this: Are those not 03:39:15p
23 unreimbursed expenses that Mr. Gwynn incurred on behalf 03:39:17p
24 of Rabco? 03:39:22p
25 A. They weren't unreimbursed. He was paid. 03:39:25p

 

 

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Page 188

1 Q. He was paid in full at the time of the 03:39:28p
2 settlement agreement? 03:39:31p
3 A. To my knowledge, yes. 03:39:32p
4 Q. Wasn't there an exchange of money as part of 03:39:36p
5 signing the settlement agreement? 03:39:41p
6 A. Yes. 03:39:42p
7 Q. What was that exchange of money about? Why 03:39:43p
8 did you pay Mr. Gwynn an amount of money at the time of 03:39:46p
9 the settlement agreement? 03:39:49p
10 A. Those were for these various expenses that he 03:39:50p
11 had not turned in, that dollar -- That check was for 03:39:53p
12 that. 03:39:57p
13 Q. Were these expenses that he incurred on behalf 03:39:57p
14 of Rabco as a WZ employee, "Yes" or "No"? 03:40:00p
15 MR. SMELTZER: Wait. 1t presupposes that 03:40:03p
16 it's only "Yes" or "No." He can not know. 03:40:05p
17 THE DEPONENT: 1 don't know. 03:40:09p
18 BY MR. LEYVA: 03:40:11p
19 Q. But you characterized -- 1'm going to ask you 03:40:11p
20 to characterize them one more time, and we can move 03:40:14p
21 on -- 03:40:16p
22 The kinds of expenses that you paid for at the 03:40:17p
23 time of the settlement agreement, there was a list of 03:40:21p
24 expenses, were there not? 03:40:24p
25 A. Yes. 03:40:25p

 

 

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Page 189

1 Q. And those expenses were paid on a condition 03:40:27p
2 that Mr. Gwynn would sign a settlement agreement; is 03:40:31p
3 that true? 03:40:34p
4 A. No, it wasn't a condition. 03:40:41p
5 Q. So you would have paid Mr. Gwynn those 03:40:44p
6 expenses even if he wouldn't have signed the settlement 03:40:47p
7 agreement? 03:40:49p
8 A. 1 always had. 03:40:50p
9 Q. 1t was not a condition of the agreement; is 03:40:54p
10 that correct? 03:40:55p
11 MR. SMELTZER: Asked and answered. 03:41:00p
12 THE DEPONENT: 1 don't -- 1 don't know that 03:41:01p
13 it would have been a total condition. 03:41:02p
14 BY MR. LEYVA: 03:41:13p
15 Q. Do you understand that the settlement 03:41:13p
16 agreement is a contract between the parties? 03:41:14p
17 A. The parties? 03:41:17p
18 Q. Rabco Leasing, 1nc., the parties that signed 03:41:18p
19 the settlement agreement, 03:41:21p
20 A. Yes. 03:41:22p
21 Q. Who were the parties that signed the 03:41:22p
22 settlement agreement? 03:41:24p
23 A. 1t would have been Rabco Leasing and Martin. 03:41:25p
24 Q. Correct. 15 it your understanding that 03:41:30p
25 settlement agreement is a private contract, it's a 03:41:33p

 

 

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1 contract between those two parties? 03:41:36p
2 A. 1 don't know that 1 understand that. 03:41:39p
3 Q. You don't understand the nature of a contract, 03:41:44p
4 from a business perspective? 03:41:46p
5 A. Probably not as well as an attorney, no. 03:41:48p
6 Q. No. 1 mean -- 03:41:50p
7 A. 1 mean -- 03:41:52p
8 Q. Didn't you enter into many contracts while you 03:41:53p
9 were President of Rabco? 03:41:56p
10 A. Not a lot. Not many. 03:41:58p
11 Q. Was a leasing agreement a contract? 03:42:00p
12 A. A leasing agreement would be a contract that 03:42:04p
13 could last 15 years and 1'd never look at it again, 03:42:07p
14 Q. But it's a contract, 03:42:10p
15 A. What is a contract? 03:42:12p
16 Q. But it was a contract, 1'm just asking -- 03:42:13p
17 MR. SMELTZER: 1'll object to the line -- 03:42:16p
18 BY MR. LEYVA: 03:42:17p
19 Q. 1'm asking if it was your understanding that 03:42:17p
20 that was a contract? 03:42:20p
21 MR. SMELTZER: Let me object to the line of 03:42:20p
22 questioning on relevance grounds. 1 don't see 03:42:22p
23 the relevance of any of this. 03:42:26p
24 THE DEPONENT: 1t was an agreement, 03:42:29p
25 BY MR. LEYVA: 03:42:34p

 

 

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Page 191

1 Q. And in the contracts that you've entered into 03:42:34p
2 as an executive, is there usually value exchanged in 03:42:38p
3 those types of agreements? You enter into an 03:42:43p
4 agreement, and one party gets something and the other 03:42:46p
5 party gets something; is that correct? 03:42:48p
6 A. Yeah. 03:42:51p
7 Q. Okay. And what was the value that Rabco got 03:42:52p
8 from the settlement agreement? 03:43:01p
9 A. The value that Rabco got ultimately was we got 03:43:05p
10 all that stuff that we paid for, all the shopping 03:43:10p
11 carts, the Earthlink stuff, the Constant Contact stuff, 03:43:15p
12 we got all that. 03:43:21p
13 Q. And what was the value that Mr. Gwynn got, 03:43:22p
14 from your perspective, from signing the settlement 03:43:25p
15 agreement? 03:43:27p
16 A. He got ninety-some hundred dollars. 03:43:30p
17 Q. How would you characterize those $9,600? 03:43:36p
18 A. $9,600 or so. 03:43:40p
19 Q. Of unreimbursed expenses? 03:43:42p
20 A. What do you mean, how would 1 characterize 03:43:44p
21 it? 03:43:47p
22 Q. Were they unreimbursed expenses? "Yes" or 03:43:47p
23 "No"? 03:43:49p
24 A. He was reimbursed. 03:43:49p
25 Q. He was reimbursed by the payment of the 03:43:51p

 

 

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1 $9,000? 03:43:53p
2 A. 1 would say. 03:43:54p
3 Q. Okay, that's fine. We can move on. 03:43:55p
4 1 want to ask you a little bit about access to 03:44:04p
5 HPT records. 03:44:07p
6 (Recess held at this time.) 03:44:23p
7 (Said deponent wished to read and sign the 05:58:03p
8 deposition, and the taking of this deposition 05:58:03p

9 was recessed at this point) 05:58:03p

 

 

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Page 193
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00 §§ O/Q®the undersigned authority, certify that

BRL{Q QRAB%ers?( ‘ly appeared before me on
August/$O h, O§éé),® aiQ9 4 a. m. and was duly sworn.

O/(W1111?@S$ my h§bd and official seal this
18th day of ALO@st, O%. ao
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Jerry/P. Q;fler[s|l

CSR RPR CRR CM

Notary Public - State of Florida
Commission No: DD553697

My Commission Expires: May 14, 2014

 

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Paqe 194
CER11F1CA1E OF COUR1 REPOR1ER

STATE OF FLORIDA

COUNTY OF PlNELLAS

1, Jerry P. Lefler, Court Reporter, certify that 1
was authorized to and did stenographically report the
deposition of BRUCE RABON; that a review of the
transcript was requested; and that the transcript is a
true and correct record of my stenographic notes.

1 FURTHER CERTIFY that 1 am not a relative,
employee, or attorney, or counsel of the parties, nor
am 1 a relative or employee of any of the parties'
attorneys or counsel connect with the action, nor am 1
financially interest in the action.

DA1ED this 18th day of Auqust, 2010.

Jerry P. Lefler RPR CRR CM

 

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PLEASE ATTACH TO THE DEPOSITION OF: BRUCE RABON
TAKEN ON AUGUST 18, 2010, lN THE CASE OF GWYNN VS RABCO
LEASING, ET AL

ERRATA SHEET

DO NOT WRITE ON TRANSCRIPT - ENTER CHANGES

 

Page No. Line No. Change Reason

 

 

 

 

 

 

 

 

 

 

 

 

Under penalties of perjury, 1 declare that 1 have
read the foregoing document and that the facts
stated therein are true.

 

DATE BRUCE RABON
Orig.: Carlos A. Leyva, Esg, Digital Business Law
Group, P.A., 1001 Starkey Road, #18, Largo, Florida
33771

 

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Page 196

EXecutive Reporting Service
13555 Automobile Boulevard, Suite 100
Clearwater, Florida 33762
(727) 823-4155

August 20, 2010

Mr. Robert Smeltzer, Esg.

Lowis & Gellen, LLP

200 W. Adams Street, Suite 1900
Chicago, 1llinois 60606

Re: Gwynn vs Rabco Leasing
Dear Mr. Smeltzer:

1he deposition of BRUCE RABON taken on
August 18, 2010, in the above-styled case is ready
for review. Please have your client make an
appointment to review the transcript in our office.

1n the alternative, if you have ordered a copy
of the transcript, and will be handling reading and
signing, have your client note any corrections on
the errata sheet provided.

1he review must be complete on or before
September 20, 2010, and the errata sheet returned
to: EXecutive Reporting Service, 13555 Automobile
Boulevard, Suite 100, Clearwater, Florida 33762, so
it may be included with the original transcript.

Please contact our office if there are any
questions you may have. 1hank you for your prompt
and careful attention to this matter.

Sincerely,

EXecutive Reporting Service

cc: Carlos A. Leyva, Esg, Digital Business Law
Group, P.A., 1001 Starkey Road, #18, Largo, Florida

 

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lN THE UNlTED STATES DlSTRlCT COURT
MlDDLE DlSTRlCT OF FLORIDA
TAMPA DlVlSlON
MARTIN GWYNN,
Plaintiff,
v. Case No.: 8:09-cv-02093
RABCO LEASING, lNC.,
BRUCE D. RABON,
ALTON CATES, VlRGlNlA HUNTER,
and HURRICANE PASS TRADERS,
lNC.,
Defendants.
/
VOLUME 11
DEPOSlTlON OF:
BRUCE RABON
1AKEN BY: Attorney for Plaintiff
DA1E: August 18, 2010
11ME: 9:04 a.m. - 5:57 p.m.
PLACE: Executive Reporting Services

13555 Automobile Boulevard
Clearwater, Florida 33762

Examination of the witness taken before:

Jerry Lefler CSR RPR CRR CM
Executive Reporting Service
Ulmerton Business Center
13555 Automobile Boulevard, Suite 100
Clearwater, Florida 33762

 

 

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Page 198
APPEARANCES:
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Chicago, 1llinois 60606
Attorney for Virginia Hunter
ALSO PRESENT:
Martin Gwynn
Virginia Hunter
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Read and Sign letter 259

 

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Page 199
1 E X H 1 B 1 1 S
2
MARK
3 Rabon
4 10 Email August 13, 2010, 5:40 pm, Subject: 230
Archiving
5
12 Series of engagement letters from Alton 232

6 Cates

 

 

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Page 200
THEREUPON,

BRUCE RABON
was adduced as the deponent herein, and being first
duly sworn upon oath, was questioned and testified
as follows:
DIRECT EXAMINATION (Cont'd)

BY MR. LEYVA:

Q. Mr. Rabon, you ready?
A. Yes.
Q. 1 would like to ask you some questions

surrounding the access to HP1, 1nc.'s, records that
Mr. Gwynn requested.

A. Okay.

Q. Did he request access to some records that

were denied by you?

A. 1 don't recall denying it.
Q. What do you recall?
A. 1 recall him pressing the HP1 business at this

whole culmination of his termination, and 1 said,
"Martin, let's give it a few days, let this settle
down. 1'll talk to you about it anytime."

Q. 1 understand that. But he asked to see
HP1, 1nc.'s, records as a 50 percent shareholder, made

a request. Did you deny that request?

A. 1 don't recall denying it. 1 recall he saw

 

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Page 201
them.

Q. Okay. Do you recall that Mr. Gwynn had to
invoke a Florida statute that requires access to
shareholder's books, before Mr. Gwynn got access?

A. Ask that one more time.

Q. Do you recall that Mr. Gwynn had to use the
authority provided by a Florida statute that allows for

shareholders to come and inspect books?

A. 1 remember he used it. 1 didn't remember he
had to.
Q. Because you were willing to give him access?

A. Absolutely.

Q. But on your own time frame, when you got ready
to.

A. No, just in a couple days. 1t was a lot going
on --

Q. 1s there an E-mail --

MR. SMEL1ZER: Wait, wait. Let him finish
his answer.

MR. LEYVA: Okay, that's fine.

1HE DEPONEN1: 1here was a lot going on. 1
was trying to get my life back in order, my
business in order.

MR. LEYVA: That's fine.

THE DEPONENT: And 1 simply asked a 50

 

Case 8:09-cv-02093-TGW Document 121 Filed 11/09/10 Page 202 of 259 Page|D 2856

 

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Page 202
percent partner, "Give me a few days."
BY MR. LEYVA:
Q. Now, is there an E-mail -- Are you aware of an

E-mail correspondence between you and Mr. Gwynn that
said, "1'll give you access when 1 get ready to give
you access"?

A. 1 don't recall that.

Q. Okay. Okay.

And when Mr. Gwynn did get access to HP1's
books, were there any Rabco staff that were provided to
assist the review?

A. 1he staff that would have been in the office
at that point.

Q. Were they available at the time that Mr. Gwynn
came to review the books, on the first occasion?

A. Sure.

Q. And on the second occasion, when he came with
counsel and his accounting team, and counsel requested
assistance from Rabco's staff, were any Rabco staff
present at Ms. Martini's office at the time?

A. 1here's some attorney/client privilege there
that 1 should have.

MR. SMEL1ZER: Well, read back the

question.

(Record read at this point.)

 

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MR. SMELTZER: All he's asking you is
whether any staff were present or not. 1ha
all he's asking.

1HE DEPONENT: None were there.

BY MR. LEYVA:
Q. Mr. Rabon, 1'm going to move to a diff

topic now and ask you some questions about a cr
complaint that you filed against Mr. Gwynn.
Can you describe to me the nature of t

criminal complaint, and why it was filed.

Page 203

t's

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iminal

hat

A. He had used Rabco property to try to gain

business for another client that he had, and 1

considered that theft of Rabco property.

Q. Specifically, what Rabco property?

A. 1n one particular case, the Constant Contact
account information.

Q. And in whose name was the Constant Contact

account held? 1n Rabco Leasing, 1nc.'s name or
Martin Gwynn's name?
MR. SMELTZER: Object to the form. 1t

presupposes it can only be those two.

in

1HE DEPONENT: 1t wasn't Rabco Leasing.

BY MR. LEYVA:

Q. 1t was not, correct?

A. Correct.

 

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Q. So it was not Rabco Leasing, 1nc., who had

that account?
MR. SMEL1ZER: Objection as to form.

BY MR. LEYVA:

Q. Was Rabco Leasing, 1nc.'s name on the Constant
Contact account that you're saying was Rabco's
property, or --

A. On the account, no.

Q. Okay. So what aspect -- 1here was something

contained within the account that was Rabco's property?
MR. SMEL1ZER: Objection as to form.
BY MR. LEYVA:
Q. Answer the question, please.
A. Ask the question again.
MR. LEYVA: Repeat the question for him.
(Record read at this point.)
THE DEPONENT: YeS.
BY MR. LEYVA:
Q. Now, were you aware that Martin had this
Constant Contact account?
MR. SMEL1ZER: Objection as to form, and
states facts not in evidence.
1HE DEPONEN1: No. 1 was aware there was

an account.

MR. LEYVA: Okay.

 

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Q. You were not aware of what type of account?

A. 1 thought its my account -- Rabco's account.
Sorry.

Q. Why would you think it was Rabco's account?

A. Well, 1 was billed every month for it that we
had it.

Q. Correct. You're not -- You don't contend that

every time you get billed for a service, you own the
property that you get billed for.

A. From an employee that is in charge of handling
that for me, yes.

Q. Were you aware that Mr. Gwynn was doing
business with a Constant Contact account with other
vendors?

A. No.

Q. 1s there not an E-mail where you asked
Mr. Gwynn for your Constant Contact list -- not the
account, but the list -- and you reference the fact
that he -- you know that he's using the list for Bobby
Chan? 1s there not an E-mail that you're aware of to

that effect?

A. 1hat 1 knew he was using it for Bobby Chan?
Q. 1s there an E-mail to that effect, yes?
A. Not to my knowledge, not that 1'm aware of.

Q. Okay. So, you filed a criminal complaint

 

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because you thought Mr. Gwynn had stolen your property;
is that correct?

A. Correct.

Q. Okay. And who did you meet with? Did you
file this with the Clearwater Police Department?

A. Yes.

Q. Who did you first meet with at the Clearwater
Police Department?

A. Detective Smith.

Q. Did you know Detective Smith prior to filing
the criminal complaint?

A. No.

Q. Did you know any of Detective Smith's

superiors?

A. Yes.

Q. Do you know Detective Smith's direct boss?
A. 1 wouldn't know that.

Q. Who did you know? Who of Detective Smith's

superiors at the Clearwater Police Department did you

know?
A. Dirk Curls.
Q. Can you spell the last name, please.
A. K-u-r-l-s, C-u-r-l-s.
Q. Did you contact Mr. Curls in reference to this

criminal complaint?

 

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A. 1 contacted Detective Curls about that, plus
over the years other items similar to this.

Q. You contacted Detective Curls. Was Detective
Curls a personal friend of yours?

A. 1'd known him.

Q. For how long?

A. 1've known him for -- 1 probably have known
him for 12 to 15 years. Probably see him once every
five years.

Q. Now, did Mr. Curls refer the complaint to
Detective Smith?

A. Did he refer it to him?

Q. Yes. Did he assign him the work?

A. 1'm assuming that's what he did, yeah.

Q. Did Detective Smith call you?

A. 1 don't recall if he called me or 1 called
him.

Q. Okay. Did you go down to the Clearwater

Police Department, and was there an interview conducted
and taped at the time that you filed the complaint?

A. 1 don't recall any -- 1 don't recall anything
being taped.

Q. Okay. Now, the Clearwater Police Department

eventually did not pursue this case; is that correct?

A. Yes.

 

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Q. Did they give you a reason as to why they did
not pursue the case?
A. No, not really a reason. 1hey just -- 1hey

just kind of wanted to wash their hands of it and told
me, "1f you've got a problem with him, handle it
civilly."

Q. During the conversations you had with
Detective Smith, did you share the fact that you and
Mr. Gwynn were 50/50 percent shareholders in Hurricane
Pass 1raders, 1nc.?

A. 1 don't recall that.

Q. Did you share the fact that Corporate Pride

hosted your 1nternet website?

A. 1 don't recall that.
Q. What do you recall?
A. 1 recall telling him that this was a private

list owned by Rabco Leasing that was used for financial
gain for other people than what the list was intended
for.
Our privacy statement says it will not be
shared with anybody else.
Q. 1hat's fine. Now, was part of this criminal
complaint cyber intrusion?

A. 1 don't know the legal term that you would

call it. 1 would describe what happened, and 1 don't

 

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know what the detective would label it.
Q. Okay. But from your understanding, was
someone trying to hack into your site?
A. Somebody was trying to gain access into the
shop -- the administrative area of the shopping cart.
Q. Let me ask you this: During this time, were

you in the process of having City Mine remove your

websites from Corporate Pride's server?

A. 1t was prior to that.

Q. What do you mean, "prior to that"?

A. City Mine --

Q. At what time? What do you mean, "prior to
that"?

A. City Mine was done. 1he attempts were after

City Mine had everything complete.

Q. And do you recall Detective Smith calling
Martin Gwynn, Jr., and asking him to delete some
information?

MR. SMELTZER: Objection as to foundation,
1HE DEPONENT: 1 don't recall exactly what
he asked his son.
/////////////////
BY MR. LEYVA:

Q. Do you recall -- Let me ask you the specific

question. Do you recall having a conversation with

 

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Detective Smith when Detective Smith informed you that
he was going to call Martin Gwynn, Jr. and have him
delete some information on Corporate Pride's servers
that allegedly was Rabco's property?

A. 1 can't recall what he would call him and ask
him. 1 don't recall that specifically.

Q. You and Detective Smith did not have a

conversation about this?

A. We had lots of conversations.

Q. No. About this particular topic.

A. 1 don't recall that.

Q. Do you recall following up with Martin Gwynn,

Jr., to ensure that said information had been deleted?

A. 1 don't remember an E-mail a year ago.

Q. Did you call him by phone?

A. Who?

Q. Martin Gwynn, Jr.

A. 1 don't recall that.

Q. Okay.

A. 1 don't know how or if 1 communicated with
him.

Q. Did Detective Smith ever share with you

information related to the fact that City Mine had not

cleaned up everything from the server, removed

everything from the server that they should have, and

 

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that was the reason that you were getting notifications
that you shouldn't have been getting? Did Detective
Smith ever share that with you?

A. No.

Q. He did not.

Mr. Rabon, let me ask you about how Rabco
gained control of Mr. Gwynn's Constant Contact
account --

MR. SMEL1ZER: Objection --

MR. LEYVA: -- that was registered --

MR. SMEL1ZER: -- form.

BY MR. LEYVA:
Q. Did Rabco eventually --

MR. SMEL1ZER: Misstates facts not in
evidence.

BY MR. LEYVA:
Q. -- take ownership of Mr. Gwynn's Constant
Contact account?

MR. SMEL1ZER: 1'll object to the
mischaracterization of the evidence, misstates
facts not in evidence.

MR. LEYVA: Answer the question.

1HE DEPONEN1: Ask it one more time.

(Record read at this point.)

MR. SMEL1ZER: Same objection. Also

 

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object, to the extent it calls for a legal
conclusion.

BY MR. LEYVA:

Q. Do you now have control of the account?

A. Yes.

Q. At what point in time did you gain control of
this account?

A. 1 believe it was sometime in August.

Q. And how did you gain control? Did you know
the user 1.D. and password? Did you -- how did you
gain control?

A. Our main E-mail address that our 1nternet

store used is Hurricane Pass at Earthlink.net. We use
that for communication with vendors, customers, any
communications they needed to do.

Q. Okay.

A. 1hat E-mail address was used as the E-mail
address to send a password recovery information to.
Rabco, the company that owned the Constant Contact
account, had the recovery password information that
Constant Contact sent us.

Q. Let me see if 1 understand this correctly.

You sent an E-mail to Constant Contact asking

for a user -- a password.

A. No.

 

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Q. No? Well, how did you get the password?

A. Have you ever signed up for an account and you
need to give it -- you need to give whatever you're
signing up for password -- you know, for recovery of

your password information, this is the address you want

to use?
Q. Correct.
A. 1hat's what that was. 1hat was set up with

Constant Contact, not by me.

Q. Well, how did you get --

A. We had it on file.

Q. At what point in time did you have the
password on file?

A. Well, there is an E-mail, that would be dated,
that we received it. 1 used it August 5th.

Q. And at what point in time prior to August 5th
did you have this password?

A. Well, it's in E-mail form. 1t's there from
whenever it was sent. 1 would have to have it in front
of me to see the date.

Q. And the entity that sent this password to you
was Constant Contact?

A. Yes.

Q. And the request, again, was how? How did you

request this?

 

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1 mean, they didn't just send it out of the

blue, right? How did you request them to send it to
you?
MR. SMEL1ZER: Objection as to form.
1HE DEPONEN1: 1 didn't request it.

BY MR. LEYVA:

Q. Well, how did they send it to you?

A. 1 don't recall how it was sent, or why.

Q. So your contention is that the password showed
up in your E-mail account out of the blue?

A. 1hat's not what 1 said.

Q. Well, 1'm asking you, how did you happen to
get the password?

A. 1 said 1 don't recall why or how.

Q. Okay. But it was prior to August -- on or
about August 5th; is that correct?

A. 1 don't know when that E-mail came.

Q. Okay. So Constant Contact sent the E-mail,
though, correct?

A. At some point.

Q. 1herefore, we presume there should be a
record, because 1 think they keep records of that sort
of thing, that it was sent.

And give me the name of, once again, please,

the name of where that password was sent. 1he E-mail

 

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address.
A. HurricanePass@Earthlink.net.
MR. SMEL1ZER: 1 think it's in our
production.
1HE DEPONENT: 1t's in the productions.
You've got it.
MR. SMELTZER: 1here's a hard copy of the
E-mail.
MR. LEYVA: With the password?
MR. SMEL1ZER: Yeah, 1 think it's -- yeah,
1 think it's actually on there.
1HE DEPONENT: Everything you need,
Everything you need,
BY MR. LEYVA:
Q. 1 just want to understand this one more time.

1here was no request made on your part to get this

E-mail.
A. 1hat's correct.
Q. Okay. So, usually there's two forms of

authentication that you have to provide when you get
access to an account. You have to provide a user 1.D.
and you have to provide a password, correct?

A. Correct.

Q. 1 mean, is that your experience --

A. Yeah, that would be the experience,

 

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1 Q. Okay. So, by what manner did you get the user
2 1.D. to the Constant Contact account?
3 MR. SMEL1ZER: Objection as to form. And
4 it presupposes that he's the one that did it,
5 gave the user -- got the E-mail.
6 BY MR. LEYVA:
7 Q. Rabco Leasing -- You've already said that
8 Rabco Leasing assumed control of this account and now
9 has control of the account. 1s that not correct?
10 A. Right.
11 Q. You said -- you stated that Constant --
12 A. 1 said Rabco has the account now.
13 Q. Correct. And you stated that Constant Contact
14 sent you the password via an E-mail in a document that
15 we allegedly have.
16 MR. SMELTZER: Not him. Rabco.
17 THE DEPONENT: Rabco.
18 HurricanePass@Earthlink.net.
19 BY MR. LEYVA:
20 Q. 1hey sent it to Rabco at Hurricane --
21 MR. SMEL1ZER: At some unknown point in
22 time.
23 MR. LEYVA: Okay.
24 MR. SMEL1ZER: So there's an E; mail -- 1'm
25 just cutting through, because we're going

 

 

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1 around -- So there's an E-mail sent. 1 don't
2 know if it's a month before August or whatever.
3 1t's just in your "1n" box.
4 MR. LEYVA: No, 1 understand.
5 MR. SMEL1ZER: From Constant Contact.
6 MR. LEYVA: 1'm moving on. 1 accept your
7 explanation of how you got the password, okay.
8 Q. My point is, there's two forms of
9 authentication that you usually have to have to get
10 access to an account.
11 A. Yes.
12 Q. One is a password.
13 A. Yes.
14 Q. 1he other is a user 1.D.
15 A. Yes.
16 Q. So, by what mechanism did Rabco obtain the
17 user 1.D. to the Constant Contact account to be able to
18 log in to the Constant Contact account?
19 MR. SMEL1ZER: Objection as to foundation.
20 You can answer, if you know.
2 1 THE DEPONENT: What ' s that?
22 MR. SMEL1ZER: 1 said objection as to
23 foundation, but you can answer, if you know.
24 1HE DEPONEN1: 1t's on the same document.
25 BY MR. LEYVA:

 

 

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Q. 1n this same E-mail?

A. Yes. As 1 recall.

Q. Okay. And -- Off the record.

(Discussion held off the record.)
MR. LEYVA: We can go back on the record.

Q. So, now you had the two pieces of
authentication you needed to gain access -- Rabco did,
not you personally -- to gain access to that account;

is that correct?

A.

it not?

BY MR.

IO

A.

Q.

Gain access to what?
1o gain access to the account.
My account, Rabco's account, yes.

Well, it was formerly Mr. Gwynn's account, was

MR. SMEL1ZER: Objection as to form.

LEYVA:

Who initially registered that account?
Probably Gwynn, on behalf of Rabco.
Who paid for that account?

1 did. Rabco. Sorry.

Did Mr. Gwynn pay for that account and you

reimbursed him?

A.

Q.

1hat did happen.

You're not saying that you paid -- that it was

Rabco's credit card that was associated with that

 

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account when Mr. Gwynn had control, are you?
A. No.
Q. Okay. So Mr. Gwynn was paying the monthly

fees at Constant Contact, and Rabco was reimbursing
him; is that correct?

A. Correct.

Q. Okay. And it was your understanding that
Mr. Gwynn only use the Constant Contact account, the

account, for Rabco business?

A. Yes.

Q. And for none other?

A. Yes.

Q. Not for Bobby Chan, not for any other
customer?

MR. SMELTZER: Objection, 1'll object to
lack of time frame.

1HE DEPONENT: 1 never knew there was
anything else on the list.

BY MR. LEYVA:

Q. What do you mean by "the list"?
A. 1he account.

MR. SMELTZER: 1hat's -- Why don't you read
back the question. 1hat's not the question.

(Record read at this point.)

MR. SMELTZER: 1he question was whether it

 

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was your understanding that Martin never used
the Constant Contact account for anybody else
other than Rabco. And 1 object to that question
because it lacks a time frame.
At what point are you asking for his
understanding?
BY MR. LEYVA:
Q. At any point prior to the time that Rabco
assumed control of the account via the mechanism that

you described.

A. Just days before,
Q. Can you explain?
A. Sometime maybe late July or early August.

Q. And what happened in late July or early
August?

A. 1he 1nternet store got some unsubscribe
E-mails, people opting out of Rabco's E-mail list.

Q. Right. Mr. Rabon, are you aware of the
fact -- do you understand how these E-mail marketing
accounts work?

A. Specifically how? What?

Q. Do you understand that a particular account
can have many lists on it?

A. Now 1 do.

Q. Do you recall an E-mail that you sent Martin

 

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asking for Rabco's list? And specifically Rabco's
list. Not Rabco's account, but Rabco's list. Do you

recall an E-mail?

A. 1 don't recall that E-mail.

MR. SMELTZER: You want to make a copy,
because 1 was going to give him this anyway and
clarify it afterwards.

MR. LEYVA: What'S that?

MR. SMELTZER: 10 refresh his recollection
with Exhibit G to the Amended Complaint. 1f you
want to make a copy, you can do it.

MR. LEYVA: 1 mean, it's Exhibit G, the
Bobby Chan.

MR. SMELTZER: Right. We referred to it.
We're going to show Mr. Rabon Exhibit G to the
Second Amended Complaint in this matter, which
is document number 34-7, and it's an E-mail
dated August 5th, 2009, and we'll see if that
refreshes his recollection.

1hen maybe we can read back the
question exactly.

THE DEPONENT: Okay.

MR. SMELTZER: Why don't you read back the

question, Jerry.

BY MR. LEYVA:

 

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Q.

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Are you done? We can make a copy. 1'd just

like to have a copy. Can we go off the record so we

can get that made?

(Recess held at this time.)

BY MR. LEYVA:

Q.

A.

Q.

You ready to proceed?
Ready.

1'm looking at Exhibit G here, and this is an

E-mail from you to Mr. Gwynn, is it not?

A.

Q.

Yes.

And it's dated -- Actually, it's dated

August 5th, 2000, 1 believe, the date sent; is that

correct?
A.
Q.
password
Constant
A.
Q.
the fact
that was

A.

Correct.

And you're asking for the user name and

and all log-in information pertaining to the
Contact account; is that correct?

Yes.

Now, we just had a long discussion regarding
that you had that information in this E-mail
sent, correct?

Correct.

1s that prior to this time?

1s this E-mail prior?

No. 1s the time of that E-mail where you got

 

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sent the user 1.D. and password, correct, to the
HurricanePass@Earthlink.net, from Constant Contact, was
that prior to this time?
MR. SMEL1ZER: 1 think you -- 1he E-mail
was from Constant Contact.
MR. LEYVA: Yes. No, no, right.

Q. All 1'm asking for is, this E-mail was sent
from Mr. Rabon to Mr. Gwynn, according to the header,
right, on August 5th, 2009,

A. Correct.

Q. My question is: Did you not have this E-mail
that was sent from Constant Contact, with the user 1.D.
and password, prior to that?

A. 1he E-mail, yes, it was sent before that, but

1 wasn't aware of it at that point.

Q. You didn't know you had it?

A. Right.

Q. Okay.

A. 1housands of E-Mails.

Q. Okay. Now, this second sentence -- 1 think
1'm just going to read and ask you a question. 1t

says, "As you recall, this was to be part of all the
information you were to give me when you received your

final payment for all expenses you personally incurred

while operating Rabco's websites. As you know, the

 

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Constant Contact bills you paid were in that payout to
you."
MR. SMEL1ZER: 1s that a question?
MR. LEYVA: Yes, 1'm sorry. 1 was thinking
here. 1t's getting a little late.
MR. SMEL1ZER: Yeah, 1 know.
BY MR. LEYVA:
Q. When you say "all the information that you

were to give me,' at any point in time, did Mr. Gwynn
say he was going to be turning over his entire Constant
Contact account to you -- to Rabco? Sorry, not to you.

A. Did he say he was going to turn over -- Read
it to me, please.

Q. 1'm going to read the second sentence again so

we're all clear.

A. Okay.
Q. "1 need the user name, password and all log-in
information." 1hen it goes on to say, "As you recall,

this was to be part of all the information you were to
give me when you received final payment for all
expenses you personally incurred," et cetera, et
cetera. Okay.

So 1 want to understand what "all the

information" means, and was that in a document

somewhere, captured?

 

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A. As 1 recall, the settlement agreement talked
about various types of accounts as they would be
related to Rabco's 1nternet business. "Any and all

accounts,' it says something to that language. 1t's
more defined than what 1'm saying.

Q. We would have to go back and review that. My
question is to you -- and you may not know and we may
have to go back and look at that.

As part of the settlement agreement, or at any
other time, did Mr. Gwynn agree to turn over not your
account list, okay, but his Constant Contact account
itself to Rabco?

MR. SMEL1ZER: 1 object to the

characterization of the account.

1HE DEPONEN1: He agreed to turn over the

Constant Contact account.

BY MR. LEYVA:

Q. Now, here, the last sentence, you say, "You
would be well aware, this list is proprietary to Rabco
Leasing and should not be used for other accounts you
have, such as Bobby Chan," correct?

A. Yes.

Q. You make a reference to a list. What list is

that in reference to?

A. 1hat would be the list of E-mail names,

 

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customers that signed up to receive our E-Mails.
Q. And this is the list that was maintained by

Mr. Gwynn on the Constant Contact account; is that your

understanding?

A. 1t was Rabco's list --

Q. Yes.

A. -- on the Constant Contact account.

Q. Yes, 1 understand that's what you were
referring to. 1t was Rabco's list on the Constant

Contact account.
MR. SMEL1ZER: Don't fight with him. Now
we're using neutral language about the Constant
Contact account. Just call it that. Accept the
olive branch.
BY MR. LEYVA:

Q. Do you recall an E-mail, E-mail correspondence
between you and Mr. Gwynn where apparently Mr. Gwynn
sent out an E-mail blast to the wrong list, and somehow

you got wind of it and you said, "Martin, 1 -- 1'm

paraphrasing -- what are you doing sending,' you know,
blah, blah, blah.

Do you recall an E-mail correspondence that
contained something like that?

A. Just give me a minute. And then 1'm going to

ask you to read it back.

 

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1 (Record read at this point.)

2 MR. SMEL1ZER: 1 just object to the form,

3 but you can answer if you --

4 1HE DEPONENT: 1 don't recall an E-mail in

5 that language.

6 BY MR. LEYVA:

7 Q. Do you recall an E-mail in any language --

8 A. 1 don't recall.

9 MR. SMEL1ZER: 1'll object to the form of

10 that.

11 MR. LEYVA: Let me finish my question.

12 Q. Do you recall an E-mail, in any language -- 1
13 don't want to paraphrase what the language is, because
14 1 don't have the E-mail in front of me -- where Martin
15 apparently sent out a blast from his Constant Contact
16 account -- 1t's got nothing to do with this. Okay?

17 MR. SMEL1ZER: 1he Constant Contact

18 account. We were getting there. 1he

19 Constant --
20 MR. LEYVA: Yes, the Constant Contact
21 account, okay.
22 Q. And apparently Martin sent it out to the wrong
23 list, and Rabco became aware of the fact that Martin
24 had sent it out to the wrong list and you called him on
25 it? You said, "What are you doing? You sent this --

 

 

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How come you sent this list, this blast to this list?"
Something to that effect.

Do you recall any E-mail correspondence like
that?

A. 1 don't recall E-mail correspondence about
that. 1t kind of resembles the last sentence here,
but --

Q. Okay.

A. But, you know, it says "1t should not be used
for other accounts you have, such as Bobby Chan."

Q. 1hat's fine. 1f you don't recall, you don't
recall. We're moving on. We're almost done here.

1 would like to introduce Exhibit 12. 1hese
are engagement letters from Alton Cates, 1 believe, to
HPT.

(Plaintiff's Exhibit 12 was marked for

identification.)

THE DEPONENT: Okay.

BY MR. LEYVA:

Q. Now, these represent engagement letters -- 1
think they're virtually identical -- sent from
Mr. Cates, starting in 2003, that describe the services
that he would provide to Hurricane Pass 1raders, 1nc.,

and they go through '09.

A. Okay.

 

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Q. Now, if we'd start on page 1 and go to page 2.
1s that your signature on page 2?

A. Yes.

Q. And you've flipped through these. 1s that
your signature on all these?

A. Yes.

Q. Mr. Rabon, were you the HP1, 1nc., corporate
officer that signed the HP1, 1nc., tax forms prepared
by Mr. Cates?

A. Yeah, 1 probably was, yes.

Q. Mr. Rabon, let me call your attention to the

fourth paragraph on the first page. Can you just read

it again. 1'm going to ask a question regarding it.
A. Okay.
Q. 1s it your understanding that Mr. Cates is

indicating here that management of HP1, 1nc., has final
responsibility for the tax return?

A. 1t says, "Final."

Q. And that the appropriate corporate official
should review the return carefully before an authorized
officer signs and files it.

A. Yes.

Q. Now, did you and Mr. Gwynn jointly review the
HP1, 1nc., tax forms before you signed it, or how did

that work?

 

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A. 1 don't know if he ever looked at them. 1
would look at them.

Q. Okay. So you reviewed them before you signed
them, right?

A. Yes.

Q. Okay. No further questions on this.

Mr. Rabon, we're almost home here. 1 would

like to ask you a few questions regarding your Celerant
point of sale system.

A. Good old Celerant.

MR. SMEL1ZER: Are we marking these
differently? We're just out of order.

MR. LEYVA: We're out of order.

MR. SMELTZER: Okay.

(Plaintiff's Exhibit 10 was marked for
identification.)

THE DEPONENT: Okay.

BY MR. LEYVA:

Q. So my question is, to start with is, how long
do you believe you have -- going back in time, how many
years of information do you believe you have on your
point of sale system today?

A. 1 don't know how much would be in there.

Q. Have you ever deleted any information?

A. No.

 

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Q.
in there.

A.

Q.

A.

Q.
business,
by which

A.

1 wouldn'

Q.

A.

Q.

records,

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Okay. So it should be as much as you ever put
1s that your understanding?
Yes, sir.
1 mean --
Yes.
Right? And in the ordinary course of
you didn't have -- or did you have a process
you went and deleted and archived?
Not that 1'm aware -- 1 don't recall that, and
t know how to do that.
No, that's fine.
Right.
1hat's, you know, when you get too many

sometimes that's required. You know what 1

mean? So my only question is --

A.

Q.

ever had

A.

Q.

Celerant

A.

1 don't --

You think you have all the records that you've
there.

My guess is yes.

And in what year did you first start using the
point of sale system?

1 don't recall.

But you can find out.

Yes.

1 mean, the system can probably tell us,

 

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right? Because it's going to have entries going back
in time to a particular point, correct?
A. Yes.
MR. LEYVA: 1hat's all the questions 1 have.
MR. SMEL1ZER: Okay. Why don't we take
another break, because 1 do have come
clarifications this time.
(Recess held at this time.)
CROSS EXAMINATION
BY MR. SMELTZER:
Q. Okay, we back on the record.

Mr. Rabon, earlier in response to Mr. Leyva's
questioning you were talking about Jenna Hunter
reporting to you as of the time that people first began
-- employees first began reporting to you at Shorts,
1nc. Do you recall that testimony?

A. Yes.
Q. At the time that you were speaking of, do you
know for sure whether Ms. Hunter was an employee of

Shorts, 1nc.?

A. 1 don't believe she was.

Q. Who do you think she was an employee of?
A. Southern Apparel or Fact-O-Let.

Q. Okay.

A. 1he same company.

 

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Q. 1s it fair to say that she was not reporting
to you as an employee of Shorts, 1nc.?
A. Yes.
Q. So in what capacity were you communicating
with her at that time?
A. 1f 1 saw her in the office to say, "Hello."

Q. Okay. How long did Shorts, 1nc., lease

computers from Mr. Gwynn?

A. Approximately a year.
Q. Do you recall what year that was?
A. 2003,

Q. And how do you know it was 2003?
A. 1 think there's a 1099 to that effect.
Q. Okay.
MR. LEYVA: Excuse me. Can you repeat the
question and answer, please.
(Record read at this point.)
BY MR. SMELTZER:
Q. Do you recall your earlier testimony about a
confirming agreement of the asset transfer from Shorts,

1nc., to Rabco Leasing, 1nc., in about 2002 to 2003?

A. Yes.
Q. Did anyone -- and you said that was executed
recently.

A. Yes.

 

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Q. Do you recall -- Well, 1'm sorry. You were

asked whether Mr. Bill Short executed that document on

behalf of Shorts, 1nc., and you said, "No." 1s that
correct?

A. 1hat's correct.

Q. Did anyone execute that document on behalf of

Shorts, 1nc.?

A. 1 did, Bruce Rabon.

Q. Anyone else execute it on --

A. Virginia Hunter.

Q. At the time of the asset transfer from Shorts,

1nc., to Rabco Leasing, 1nc., were you an officer of
Shorts, 1nc.?

A. Yes.

Q. And what position did you hold at that time?

A. President.

Q. And was Ms. Hunter an officer of Shorts, 1nc.,
at the time of that transfer?

A. Yes.

Q. What office did she hold?

A. Secretary.

Q. 1 want to redirect your attention to Exhibit
Number 2, if you could look at page 4 again. And who

is listed on this trademark registration as the owner

of the Hurricane Pass Outfitters and 1rading Company

 

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1 and design of a marlin sailfish?
2 A. Hurricane Pass Outfitters and 1rading Company.
3 Q. And was that an actual legal entity, Hurricane
4 Pass Outfitters and 1rading Company?
5 A. 1hat was a dba for William Short Clothiers.
6 Q. Also known as Shorts, 1nc.?
7 A. Shorts, 1nc..
8 Q. And turning your attention to page 7 of
9 Exhibit 2, who is listed as the applicant for the
10 trademark?
11 A. 1s this this page?
12 Q. Yes, we're looking at the same one.
13 A. 1he applicant name, Hurricane Pass Outfitters
14 and 1rading Company.
15 Q. And, again, at the time of this registration,
16 was that a legal entity?
17 A. 1t was a dba for Shorts, 1ncorporated.
18 Q. And the applicant's business address is listed
19 as 12420 73rd Court North, Largo, Florida. 1s that
20 accurate?
21 A. Correct.
22 Q. And whose business was located at that
23 address?
24 A. 1hat was Shorts, 1ncorporated's office.
25 Q. All right. What was your intent in filing

 

 

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this trademark registration on behalf of the applicant,
Hurricane Pass Outfitters and 1rading Company?

A. Ask that one more time.

Q. Well, let me ask it in this way: By filing
this application for a trademark registration, did you
intend a separate corporation, Hurricane Pass
Outfitters, 1nc., to own this Hurricane Pass trademark?

A. No.

Q. And what entity first used the trademark
"Hurricane Pass" or "Hurricane Pass Outfitters"?

A. Shorts, 1nc.

Q. And when did that occur, the first use of that
trademark?

A. '95. Could have been as early as perhaps '94.

MR. LEYVA: 1 object. 1t's asking for a
conclusion of law. "First use of trademark" is

a term of art.

MR. SMEL1ZER: Well, 1 can --
Q. 1'm asking in the sense of, as far as you're

aware, who actually used that name to do business?

A. Shorts, 1ncorporated.

Q. And you said that was in what time period?

A. '95 to perhaps even as early as '94.

Q. And did the corporation called Hurricane Pass

Outfitters, 1nc., that you organized, ever do any

 

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business?

A. No.

Q. Did it ever use that mark, "Hurricane Pass
Outfitters and 1rading Company," in any way?

A. No.

Q. Was there any period of time in which Shorts,
1nc., stopped using the Hurricane Pass trademark?

A. William Short -- Shorts, 1nc., would have

stopped using it when Rabco purchased all the assets
from Short's.

Q. Okay. Up until that late 2002, early 2003
time period, to your knowledge, did Shorts, 1nc., ever
discontinue its use of the Hurricane Pass --

A. No.

Q. -- trademark?

After the transfer of assets from Shorts,
1nc., to Rabco Leasing, and all the way up until the
time that Rabco Leasing ceased business, did Rabco ever
stop using the trademark "Hurricane Pass"?

A. No.

Q. Why did you incorporate a company called
Hurricane Pass Outfitters, 1nc.?

A. 1t was to preserve the name so that no one

else could use it.

Q. 1he corporate name? 1o what name do you

 

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refer?

A. Hurricane Pass, 1nc.

Q. Did Hurricane Pass Outfitters, 1nc., ever file
a tax return?

A. No.

Q. Did it ever have any employees?

A. No.

Q. Do you know for sure whether Hurricane Pass
Outfitters, 1nc., ever issued shares of stock?

A. No.

Q. 1 want to turn your attention to the group of

websites that Mr. Gwynn helped create while an employee
of Shorts, 1nc., and/or Rabco.

Did you ever see a copyright notice on any of
those sites that Mr. Gwynn created, the copyright
notice saying "Hurricane Pass Outfitters"?

A. Yes.

Q. Who was responsible for putting the copyright
notices on the websites that Mr. Gwynn helped create
while an employee of Shorts, 1nc. and/or Rabco?

A. Mr. Gwynn.

Q. Do you know of anybody else other than
Mr. Gwynn that could have put such a copyright notice
on any of those websites?

A. No.

 

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MR. LEYVA: Can you read back the question
and answer, please.

(Record read at this point.)

MR. LEYVA: 1 have an objection. 1t
assumes that he created it on behalf of said
organizations.

MR. SMEL1ZER: 1 said "while he was an
employee." 1 didn't say "on behalf." 1'm
trying to be neutral, but that's fine.

MR. LEYVA: Okay.

BY MR. SMELTZER:
Q. Now, you earlier testified about some of the
involvement that you had with the websites that

Mr. Gwynn helped create while an employee of Shorts,

1nc., and/or Rabco. Do you recall that testimony?
A. Yes.
Q. Did you ever help create any of the text used

on any of those websites?
A. Yes, we would discuss that.
Q. Okay. Did Mr. Gwynn ever come to you asking

for help in creating the text used on any of those

websites?
A. Yes.
Q. Was that a common occurrence, or how often did

it occur?

 

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A. Periodically, you know. Early on, 1 did
all -- a great deal of the text.
Q. 1 want to talk about the Zimmerman settlement

agreement and the $6,300, 1 believe it was, that
Mr. Gwynn paid to Ms. Zimmerman as part of that.

Do you know how long after Mr. Gwynn wrote
that check to Ms. Zimmerman that he was reimbursed?

A. 1 don't know the exact date, but 1 believe it
was within a few months, or pretty close.

Q. 1 want to go back to your testimony about the
expiration of the domain names belonging to -- or that
you said belonged to Rabco Leasing, 1nc., as of the
time of its Chapter 7 Petition.

At the time any of those domain names expired,

were you in control of any of Rabco Leasing, 1nc.'s

moneys?
A. No.
Q. At the time of the expiration, who was in

control of any money that Rabco Leasing had?

A. 1he 1rustee.

Q. Now, turning your attention back to your
testimony in response to Mr. Leyva's questions about
Corporate Pride hosting your servers. Did Rabco
Leasing, 1nc., own any servers other than its point of

sale server?

 

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A. No other servers.

Q. Okay. 1o the best of your knowledge, what
servers was Corporate Pride hosting on Rabco's behalf?

A. 1hey weren't hosting our servers.

Q. Well, 1 didn't say your servers. What servers
were they hosting on your behalf, regardless of who
owned them? What kinds of servers? Well, strike that.
Let me ask it to you this way.

Was Corporate Pride, as of late 2008, early
2009, hosting the server through which Rabco's E-mail
communications were going?

A. Yes.

Q. And it was hosting the server on which the
websites that you claim as Rabco's were resident?

A. Yes.

Q. Do you know who owned those -- who owned those
particular servers?

A. 1 believed it to be Gwynn, Jr.

Q. At the time that you terminated Mr. Gwynn's
employment with Rabco Leasing, were you aware of any
pending request for reimbursement for employee
expenditures on his part?

A. 1 knew he had some expenses.

Q. Had he submitted any documentation as of the

time of his termination to support those expenses?

 

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A. As 1 recall, it was -- it was just a list of
the various expenses and dollar amounts, and 1
requested specific receipts.
Q. Did he give you those receipts prior to the
time that you terminated him?
A. Yes, right at that time.
Q. 1'm not sure 1 understand your testimony when

you say "right at that time."

A. Well, ultimately 1 got all the receipts for
all the various expenses.

Q. My question really, though, is whether you had

any receipts prior to the time you --

A. No.

Q. -- let him know that he was being terminated.
A. No.

Q. And how much did you pay -- You paid Mr. Gwynn

$9,600 as part of the settlement?

A. 1hereabouts, yeah. 1 don't remember the exact
number, but that's about -- that's close to it.
Q. Do you know for sure whether Rabco owed

Mr. Gwynn all of the money it paid him pursuant to the
settlement agreement?
A. 1 don't know that.

MR. SMELTZER: Okay. 1hat'S all 1 have.

MR. LEYVA: Okay. 1 have a couple

 

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questions.
RED1REC1` EXAM1NA1`1ON
BY MR. LEYVA:
Q. 1 just want to understand, Mr. Rabon, this

confirming agreement and how it was executed and on
whose behalf it was executed. 1 just want to make sure
1 understood the testimony correctly.

Did you say you executed it -- you personally,

as an officer of Rabco, on behalf of Rabco? 1s that --

A. As the President of Rabco.

Q. Yes.

A. Yes.

Q. So, on the Rabco side of the agreement, this

confirming agreement, you executed it on behalf of

Rabco.
A. Yes.
Q. As the President of Rabco; is that correct?
A. Yes.
Q. Okay. And on the WSC side of the execution --

Again, 1'm trying to understand how this worked. On
the WSC side of the execution of this agreement, you
again executed it as a former officer of WSC?

A. As President.

Q. Former officer and President of WSC, right?

At the time that you executed this agreement,

 

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you were not a -- you were no longer a WSC employee,

were you?

A. Correct.

Q. So it would be former President --
A. Correct.

Q. -- of WSC.

And Ms. Hunter also executed this agreement as

a former what of WSC?

A. Secretary.

Q. She was an officer of WSC?

A. Yes.

Q. She had the title of Secretary?
A. Yes.

MR. SMEL1ZER: Big "S" Secretary.
BY MR. LEYVA:

Q. 1 have a follow-up question. 1'm not going to
go back into the details; 1 think we've beat it to
death. But 1 do want to ask you a question as to
intent.

1f you intended to protect this name on behalf
of WSC, why, then, did you not file it on behalf of
WSC?
MR. SMEL1ZER: Objection,
mischaracterization of who he filed it on behalf

of.

 

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MR. LEYVA: Counsel, you raised the
question as to intent, and 1'm asking the
question as to intent to protect the name.

THE DEPONENT: Well, it -- it was --

MR. SMEL1ZER: Same objection.

1HE W11NESS: 1t was clearly used for -- in
the William Short Clothiers store.

MR. LEYVA: Correct.

1HE DEPONEN1: And that was the intent.

BY MR. LEYVA:

Q. No, 1 understand that you had an intent to

protect the name.

My question is, if you had such an intent, why
did you not just file it under the corporate name of
WSC?

A. 1 can't answer that now.
Q. Okay, that's fine. 1hat's fine.

Now, Counsel asked you some questions about
the use of the "Hurricane Pass" trademark, correct, and
first use and whatever. And 1 don't want to confuse
you with the terminology, but 1 do want to try to
understand, at that point in time when you were
answering the first-use question, all right -- and this

was related to WSC, correct -- what sorts of goods and

services was that trademark used in conjunction with?

 

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1 A. 1he trademark William -- 1 mean "Hurricane
2 Pass Outfitters and 1rading Company"?
3 Q. No. Hurricane Pass, sir. 1 believe we were
4 talking about Hurricane Pass. 1 believe counsel was
5 talking about Hurricane Pass.
6 MR. SMELTZER: Well, just to let you know
7 what 1 was talking about --
8 MR. LEYVA: Okay.
9 MR. SMELTZER: Since the formal name is
10 Hurricane Pass Outfitters and 1rading Company,
11 and that's what was in the trademark
12 application, and the other stuff was disclaimed.
13 MR. LEYVA: Excluded, yes, exactly.
14 MR. SMELTZER: 1 was only -- 1 was saying
15 that "Hurricane Pass" is the operative part of
16 that Hurricane Pass --
17 MR. LEYVA: We're in agreement on that.
18 MR. SMELTZER: Right.
19 MR. LEYVA: 1t is the operative part of it.
20 MR. SMELTZER: Right.
21 BY MR. LEYVA:
22 Q. 1hat's why 1'm saying the "Hurricane Pass"
23 part, because the other part was excluded in the
24 application,
25 A. Yes.

 

 

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Q. So my question is, during this time of first
use, or when William Short used it in commerce, all
right, what goods was that trademark associated with?

What kind of goods?

A. 1he Hurricane Pass Outfitters and 1rading
Company?
Q. No. Just Hurricane Pass.
MR. SMEL1ZER: 1hat's -- Object to the

form. 1t's the same thing.
MR. LEYVA: Okay.

Q. Was the mark, as used on goods and services --
1his is a more specific question. 1t's a different
question.

Was the mark, as used on goods by WSC, did it
contain the entire "Hurricane Pass Outfitters and

1rading Company, or was it just "Hurricane Pass"?

MR. SMEL1ZER: 1 object to the form. 1
don't think he said --

1HE DEPONEN1: 1 don't understand the
question.

MR. SMEL1ZER: -- what it was used on,
necessarily.

MR. LEYVA: Okay. 1t's an important

question. Counsel raised it, so 1'm trying to

clarify.

 

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Q. 1rademarks -- 1s it your understanding that
trademarks are used in conjunction with goods or
services?

A. Yes.

Q. All right.

A. Yes.

Q. 1f they're used with services, they're called

"service marks," but for all intents and purposes, they
function the same.

But a trademark is assigned a particular

class. 1s that your understanding? A class of goods.
A. Okay.
Q. 1n this case, in this application, it was

Class 25. 1 really don't know, 1 mean, if this
description of "Clothing" is the description of the
entire class, you know. But there is a Class 25, and
1'm sure the State of Florida has a Class 25 and
there's a listing of goods that are related to Class
25. Okay?

And so my question is, since we can't
determine from this, is at the time that it was used --
the mark -- what kinds of goods was the mark associated
with?

MR. SMEL1ZER: Well, 1 object to the

characterization that you can't tell what kind

 

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of uses it had from this document. 1he document
very clearly says what kind --

MR. LEYVA: Clothing.

MR. SMELTZER: Yeah.

MR. LEYVA: 1 mean, clothing and --

MR. SMELTZER: And labels, brochures,
embroidery, screen prints, newspaper, postcards,
magazines, advertisements.

MR. LEYVA: Well, that was the mode and
manner in which it was used.

MR. SMELTZER: Right.

MR. LEYVA: So that's the mode and manner,
and "Class" apparently here is clothing. All
1'm saying is, we have no way of telling from
this what Class 25 is.

1s Class 25 clothing, or has it got
some other description? 1 don't know. 1 don't
think we can answer that question.

THE DEPONENT: Yeah, 1 don't know.

BY MR. LEYVA:

Q. But my question is, given all that, a mark, a

trademark -- 1t's not like a copyright that you get

when you put something, a fixed tangible medium.

MR. SMELTZER: Well, 1'm going to object,

Carlos. You're really making statements,

 

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MR. LEYVA: Okay. 1'm trying to clari
You raised the question.

MR. SMELTZER: Just ask him how it was
used.

MR. LEYVA: Okay. 1hat's what 1'm try
to ask him.

MR. SMELTZER: You're going around the
mulberry bush a little bit.

BY MR. LEYVA:

Q. How was the mark used by William Short
Clothiers?

A. 1his mark here?

Q. Yes.

A. 1t was a dba for William Short Clothie
was a department in the store, there was a dba
William Short Clothiers.

Q. No. A trademark is associated with a
goods. 1n this case, it's goods Class 25. 1t'
label that you put on a store, you know. 1t's
associated -- it's associated --

MR. SMEL1ZER: 1'm objecting. Again,
you're testifying about -- and you're wrong

about it.

MR. LEYVA: 1'm not wrong about it.

MR. SMELTZER: A trademark can be -- W

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store uses that name in conjunction with its
overall operations, its overall clothing retail,
it's being used in association with all of its
goods and services --
MR. LEYVA: Correct.
MR. SMEL1ZER: -- as a store name. And it
doesn't mean that the store name is a trademark.
MR. LEYVA: Correct.
MR. SMEL1ZER: 1t's an indicator of the
source.
BY MR . LEYVA:

Q. My question 1'm trying to get answered,
though, during the first use, what was that first use?
Was it associated with goods? Was it associated with a
store name? What was the first use of the mark by WSC?

A. 1he first use of the mark was to describe the
goods that was in this department in William Short
Clothiers.

Q. And where was that description? Where was
that description?

A. Well, we had advertisement -- placards in the
store or advertisements in the paper, postcards.

Q. Okay. And it was a description of a

particular type of goods --

A. 1hose goods that that represented, yes.

 

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Q.

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Okay. Now, Counsel said that this mark was

used continually over time, correct?

A.

Q.

Correct.
WSC used it; Rabco used it, et cetera.

1he use over time, did the use change to a

different type of good, or was it always the same good

products that were --

A.

Q.

A.

Q.

mean?

A.

know,

Q.

A.

Q.

Merchandise?
Yes.
Very similar merchandise over the years.

What does that mean? What does "very similar"

Well, resort tropical sportswear and any, you
sportswear that we brought in.

So, 1-shirts?

Jimmy Buffet 1-shirts, yep.

Okay. And what do you mean by "sportswear"?

Just outdoor wear?

A.

Q.

Sportswear, you know.

What about the Max Slacks stores? Was the

trademark used for that?

A.

1t would not be used for that.
Because that was in a different demographic.

Right.

Okay. 1 want to ask you a little bit about

 

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when you said you assisted Mr. Gwynn in creating text
for the websites.
Would you actually -- First, what do you mean

by "text"? 1 just want to make sure that we're --

A. Well, Martin called me the Director of Words.
Q. Okay.
A. So when he would put an image on the website,

he would say, "Go at it, you're the Director of Words,"
so 1 would go in there and begin to type in the
description of the product, the description of the

lifestyle of the product, what that product

represented.
Q. Okay. So you actually created the copy --
A. On a number of occasions.
Q. -- right? 1hat would be like ad copy. You

actually created that.

A. Yes.
Q. Okay. 1 want to ask you a question about at
the time -- the question Counsel raised at the time

that some of these domain names expired, and you had --
1 don't want to mischaracterize, but 1 think your
answer was you had no control of Rabco funds at the
time --

A. Correct.

Q. -- is that correct? But that the 1rustee

 

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had --

A. Correct.

Q. -- control of Rabco's funds at the time.

Are you aware of the amount of funds that the
1rustee had in control on behalf of Rabco at the time?

A. Ballpark.

Q. 1ell me the ballpark.

A. You know, maybe close to 50,000.

Q. Okay. 1'm going to move on to -- and just try
to clarify here Corporate Pride, the Rabco servers,
Corporate Pride servers.

1 mean, it was your understanding that your

websites were hosted at Corporate Pride; is that right?

A. Correct.

Q. You didn't have any physical boxes, servers
that Rabco owned that were hosted at -- or did you?
A. We did not have servers hosted on their

server.
Q. 1hat's correct, that's my understanding.

And you don't know for a fact, do you, whether
those were -- the servers that your websites ran on,
whether they were Corporate Pride-owned servers or
Corporate Pride leased them from a third party.

A. 1 don't know. 1 paid Corporate Pride.

MR. LEYVA: Right, right. Okay. 1hat's

 

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1 all 1 have.
2 MR. SMELTZER: Okay. We'll reserve.
3 (Said deponent wished to read and sign the
4 deposition, and the taking of this deposition

5 was concluded at 5:57 p.m.)

 

 

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CSR RPR CRR CM

Notary Public - State of Florida
Commission No: DD553697

My Commission Expires: May 14, 2014

 

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CER11F1CA1E OF COUR1 REPOR1ER

STATE OF FLORIDA

COUNTY OF PlNELLAS

1, Jerry P. Lefler, Court Reporter, certify that 1
was authorized to and did stenographically report the
deposition of BRUCE RABON; that a review of the
transcript was requested; and that the transcript is a
true and correct record of my stenographic notes.

1 FURTHER CERTIFY that 1 am not a relative,
employee, or attorney, or counsel of the parties, nor
am 1 a relative or employee of any of the parties'
attorneys or counsel connect with the action, nor am 1
financially interest in the action.

DA1ED this 18th day of Auqust, 2010.

Jerry P. Lefler RPR CRR CM

 

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PLEASE ATTACH TO THE DEPOSITION OF: BRUCE RABON
VOLUME ll, TAKEN ON AUGUST 18, 2010, lN THE CASE OF
GWYNN VS RABCO LEASING, ET AL

ERRATA SHEET

DO NOT WRITE ON TRANSCRIPT - ENTER CHANGES

 

Page No. Line No. Change Reason

 

 

 

 

 

 

 

 

 

 

 

 

Under penalties of perjury, 1 declare that 1 have
read the foregoing document and that the facts
stated therein are true.

 

DATE BRUCE RABON
Orig.: Carlos A. Leyva, Esg, Digital Business Law
Group, P.A., 1001 Starkey Road, #18, Largo, Florida
33771

 

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EXecutive Reporting Service
13555 Automobile Boulevard, Suite 100
Clearwater, Florida 33762
(727) 823-4155

August 20, 2010

Mr. Robert Smeltzer, Esg.

Lowis & Gellen, LLP

200 W. Adams Street, Suite 1900
Chicago, 1llinois 60606

Re: Gwynn vs Rabco Leasing
Dear Mr. Smeltzer:

1he deposition of BRUCE RABON taken on
August 18, 2010, in the above-styled case is ready
for review. Please have your client make an
appointment to review the transcript in our office.

1n the alternative, if you have ordered a copy
of the transcript, and will be handling reading and
signing, have your client note any corrections on
the errata sheet provided.

1he review must be complete on or before
September 20, 2010, and the errata sheet returned
to: EXecutive Reporting Service, 13555 Automobile
Boulevard, Suite 100, Clearwater, Florida 33762, so
it may be included with the original transcript.

Please contact our office if there are any
questions you may have. 1hank you for your prompt
and careful attention to this matter.

Sincerely,

EXecutive Reporting Service

cc: Carlos A. Leyva, Esg, Digital Business Law
Group, P.A., 1001 Starkey Road, #18, Largo, Florida
33771

 

